            Case 2:18-cv-00924-PD             Document 15-11           Filed 05/03/18        Page 1 of 160



                                                  Mercy Fitzgerald Hospital
                                                       Cardiology Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247
ACCT: FA1307223089                               ADMIT DATE: 10/07/16
REPORT#: 1027-0188                               DOB: 03/06/1979
ROOM/BED: 506-01
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                                  *** Signed Status ***

Subjective
Encounter Date & Time
10/27/16 10:29
Subjective
Not eating very much. Has pain at the surgical site in the right lateral chest. Denies worsening shortness of breath.

Objective
Medications

                                                        Medications Active List
Enoxaparin Sodium 40 mg DAILY Last administered on 10/27/16at 08:26; Start 10/11/16 at 10:45
Insulin Human Regular SS LOW DOSE LOW INTENSITY SCALE: Bl. .. Q6 Last administered on 10/22/16at 18:50;
Start 10/12/16 at 07:45
Dextrose 16 gm PRN PRN Last administered on 10/12/16at 12:41; start 10/12/16 at 11 :45
DextroseM'ater 12.5gm PRN PRN; Start 10/12/16at 11:45
Risperidone 2 mg BID Last administered on 10/27/16at 08:26; Start 10/15/16 at 12:15
Haloperidol Lactate 5 mg Q6 PRN Last administered on 10/21/16at 04:22; Start 10/17/16 at 11 :15
Clonazepam 1 mg BID Last administered on 10/27/16at 08:26; Start 10/19/16 at 10:45
Polyethylene Glycol 17 gm DAILY Last administered on 10/27/16at 08:25; start 10/20/16 at 11 :00
Senna/Docusate Sodium 1 tab BID Last administered on 10/27/16at 08:26; Start 10/23/16 at 10:45
Hydromorphone HCI 1 mg Q3H PRN Last administered on 10/26/16at 14:06; Start 10/24/16 at 17:45
Hydromorphone HCI 1.5 mg Q3H PRN Last administered on 10/27/16at01:37; start 10/24/16at 17:45
Folic Acid 1 mg DAILY Last administered on 10/27/16at 08:26; Start 10/26/16 at 09:00
Thiamine HCI 100 mg DAILY Last administered on 10/27/16at 08:26; start 10/26/16 at 09:00
Multivitamins Therapeutic 1tab1 tab DAILY Last administered on 10/27/16at 08:26; Start 10/26/16 at 09:00
Ceftriaxone Sodium 100 ml@ 100 mis/hr DAILY Last administered on 10/27/16at 08:26; start 10/27/16 at 09:00
Nystatin 500 mu 500 mu QID Last administered on 10/27/16at 08:26; Start 10/26/16 at 17:00
Metronidazole/ Sodium Chloride 100 ml@ 200 mis/hr QB Last administered on 10/27/16at 05:41; Start 10/26/16 at
21:00
Acetaminophen 650 mg Q4H PRN Last administered on 10/27/16at 08:51: Start 10127/16 at 08:30
Patient Data
                                           Vital Signs, Last Documented
         Date Time        Temp     Pulse   Resp B/P          Pulse Ox 02 Deliverv         02 Flow Rate     Fi02
        10127/16 10:00              121      31 129/105            97 Room Air
        10/27/16 09:00                                                                              2.00
        10/27/16 08:00     37.7
        10125/16 11 :00                                                                                       40



PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1027-0188
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD           Document 15-11         Filed 05/03/18       Page 2 of 160


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                        Mercy Fitzgerald Hospital
                               Cardiology Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



Weight in Kg
80_00
                                                         Bedside Blood Glucose
10/27/16 05:14: POC Glucose 127

Physical Exam
NAO, MMM
NoJVD
Decreased breath sounds on the right
Tachycardia but regular rhythm, S1 and S2 preserved, no murmur, rub or gallop
No lower extremity edema
Normoactive bowel sounds, soft, nontender
lntegumentary is warm and well-perfused

Results
                                                         Lab Results, CBC Diagram
10/27/16 06:05




                                                         Lab Results, BMP Diagram
10/27/16 06:05


                                          ~16
                                          4:i'.3CI 1.0
                                                         PT/PTT/INR
10/26/1612:38: Activated Partial Thromboplast Time 37-4
10/27/16 06:05:
Prothrom bin Time 15.8, Prothromb Time International Ratio 1.3
Diagnostics Reviewed: Yes
Diagnostic Tracings
Telemetry: Sinus tachycardia

Impression and Plan
Problem List:
(1) Drug overdose
(2) Aspiration pneumonia
(3) Pleural effusion
(4) Abscess of lung with pneumonia
(5) SIP thoracotomy
(6) Tachycardia
Chronic Problems:


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1027-0188
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD                 Document 15-11      Filed 05/03/18        Page 3 of 160


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                        Mercy Fitzgerald Hospital
                                  Cardiology Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



Plan
Loculated pleural effusion, pulmonary abscess and bacteremia: Cultures repeatedly growing strep species No
evidence of infectious endocarditis on TEE.

Mildly reduced biventricular ventricular systolic function: This may be a stress-induced decreased in biventricular
function. Clinically he appears euvolemic. He will need a repeat echocardiogram in 2-3 months or sooner if he
decompensates after discharge to further evaluate and to determine if further workup is needed.

Tachycardia: This is sinus tachycardia and likely physiologic in this setting. He is not responding to fluid bolus
challenges. He does not appear to be significantly dehydrated on exam. I agree with ruling out pulmonary emboli with
CT angiogram. Si nee his tachycardia is persistent, add low-close metoprolol tartrate 6.25 mg twice daily.


MENETREY,JAMMIE E 00                                                            Oct 27, 2016 10:34

        <Electronically signed by JAMMIE E MENETREY, DO> 10/27/16 1037




MENEJA I JEM I DD 10/27/161034 /OT 10/27/161034




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1027-0188
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD            Document 15-11           Filed 05/03/18       Page 4 of 160



                                                 Mercy Fitzgerald Hospital
                                                      Infectious Disease Progress No

PATIENT: EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247
ACCT: FA1307223089                               ADMIT DATE: 10/07/16
REPORT#: 1027-0259                               DOB: 03/06/1979
ROOM/BED: 417-02
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                 ***Signed Status***


Subjective
Encounter Date & Time
10/27/16 13:49
Service: Infectious Disease
Subjective
Pt alert, tolerating enteral via kaofeed tube, no fever increased chest pain or abdominal discomfort

Objective
Patient Data
                                            Vital Signs, Last Documented
           Date Time        Temp    Pulse   Resp B/P          Pulse Ox 02 Deliverv      02 Flow Rate     Fi02
          10/27/16 11:00             126       32 157fl9            97 Room Air
          10/27/16 09:00                                                                          2.00
          10/27/16 08:00     37.7
          10/25/16 11 :00                                                                                   40

Weight in Kg
80.00
                                                           Bedside Blood Glucose
10/27/1611:14: POC Glucose 118

Physical Exam
Tm 98.8


anicteric no stridor or meningismus right CT intact abd active bs nontender no guarding or pulsating iv access intact
Neuro no tremor appreciated en intact ms 5/5 uper and lower plantars down

Results
                                                           Lab Results, CBC Diagram
10/27/16 06:05




                                                           Lab Results, BMP Diagram



PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1027-0259
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD                Document 15-11      Filed 05/03/18       Page 5 of 160


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                         Mercy Fitzgerald Hospital
                                   Infectious Disease Progress No

PATIENT: EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247



10/27/16 06:05


                                                  ~16
                                                  4:i30 1.0
                                                           PT/PTT/INR
10/27/16 06:05:
Prothrombin Time 15.8, Prothromb Time International Ratio 1.3
reviewed
Imaging
reviewed

Impression and Plan
Plan

bacteremia: strep mitis, repeat blood c/ sterile, TEE= no vegetations or valvular abnormality,
pneumonia: aspiration, resolving
right pleural effusion: sip decortication and drainage 10/24
HIVD: moderately advanced, CD4 240-300
elevated temperature: recurrent, presently resolved, new c/s sterile
confusion: resolving
leukocytosis: follow response to intervention
candidiasis: oropharyngeal switch to topical clotrimazole
abx mgmt:recommend discontinue metronidazole in 72 hrs, continue parental ceftriaxone


GILBERT.MARK, MD                                                              Oct 27, 2016 13:53

        <Electronically signed by MARK GILBERT, MD> 10/27/16 1353




GILBMA /MG I DD 10f27/161353 I OT 10f27/16 1353




PATIENT: EFUNNUGAOLUTOKUNBO
cc:
REPORT#: 1027-0259
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD            Document 15-11          Filed 05/03/18         Page 6 of 160



                                                 Mercy Fitzgerald Hospital
                                                     Internal Med Progress Note
PATIENT: EFUNNUGA,OLUTOKUNBO                                  MR#: F001250247
ACCT: FA1307223089                              ADMIT DATE: 10/07/16
REPORT#: 1028-0062                              008: 03/06/1979
ROOM/BED: 411-02
SEX: M
ATTENDING: LITTMAN,MARIO, MD
PCP: DOCTOR,NONE (FAMILY)

                                                 ***Signed Status***


Subjective
Encounter Date & Time
10/28/16 07:18
Subjective
Patient seen, resting comfortably this morning, no new issues or events, chart reviewed

Objective
Patient Data
                                          Vital Signs, Last Documented
        Date Time       Temp     Pulse   Resp B/P         Pulse Ox 02 Deliverv            02 Flow Rate   Fi02
       10/27/16 23:29    37.2     110       18 139175          100 Nasal cannula                  2.00
       10/25/1611:00                                                                                      40

Weight in Kg
80.00
                                                          Bedside Blood Glucose
10/28/16 05:55: POC Glucose 117
Appearance: : No Acute Distress
Thorax: : Decreased Breath Sounds
Cardiovascular: : Regular Rate Rhythm
Abdominal Inspection: : Normal
Abdomen: : Bowel Sounds Noted

Impression and Plan
Problem List:
(1) Empyema
Impression and Plan: status post Mini thoracotomy, decortication, unroofing of pulmonary abscess, plan to
continue with Rocephin and Flagyl and postop care
(2) Acute respiratory failure with hypoxia and hypercapnia
Impression and Plan: stable, continue to monitor oxygenation
(3) AKI (acute kidney injury)
Impression and Plan: Resolved
Chronic Problems:


HAMID.SAMMY. MD                                                               Oct 28, 2016 07:21


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1028-0062
REPORT STATUS: Signed
               Case 2:18-cv-00924-PD                 Document 15-11     Filed 05/03/18    Page 7 of 160

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                           Mercy Fitzgerald Hospital
                                      Internal Med Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247




         <Electronically signed by SAMMY HAMID, MD> 10/31/16 0611




HAM ISA I SH I DD 10/28/16 0721 I DT 10/28/16 0721




PATIENT; EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1028-0062
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD            Document 15-11         Filed 05/03/18        Page 8 of 160



                                                Mercy Fitzgerald Hospital
                                                    Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT: FA1307223089                             ADMIT DATE: 10/07/16
REPORT #: 1028-0122                            OOB: 03/06/1979
ROOM/BED: 411-02
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                                *** Signed Status ***

Subjective
Encounter Date & Time
10/28/16 08:38
Service: Internal Medicine
Subjective
Patient was examined bedside. He states that his chest discomfort has reduced. Also wonders when the feeding tube
tube can be removed. His shortness of breath has improved. No new complaints. Night was uneventful.
Appetite: Good
Sleep: Fairly Good

Objective

                                          Vital Signs, Last Documented
        Date Time        Temo    Pulse   Re so B/P        Pulse Ox 02 Deliverv        02 Flow Rate    Fi02
       10/27/16 23:29     37.2    110       18 139/75          100 Nasal Cannula              2.00
       10/25/16 11 :00                                                                                    40

Weight in Kg
80.00
                                                         Bedside Blood Glucose
10/28/16 07:19: POC Glucose 98
Physical Exam
General: no apparent distress, appears stated age
HNT: moist mucous membranes
Eyes: sclera anicteric
Thorax: clear to auscultation bilaterally, equal expansion
cardiovascular: no jugular venous distension, no murmurs, pulse regular rate and rhythm
Abdomen: soft, non-tender. non-distended. bowel sounds noted
Extremities: no cyanosis, pulses 2+ bilaterally
Neurologic: alert/awake/oriented, grossly no abnormalities
Current Meds Reviewed: Yes
Medications

                                                         Medications Active List
      Medications            Dose                     Sig/Sch     Start Time         Status   LastAdmin
                             Ordered                              StooTime
      Enoxaparin Sodium      40mg                     DAILY        10/11/1610:45              10/28/16 08:31




PATIENT: EFUNNUGAOLUTOKUNBO
cc:
REPORT#: 1028-0122
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD         Document 15-11       Filed 05/03/18     Page 9 of 160

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                        Mercy Fitzgerald Hospital
                                Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                    MR#: F001250247



      Insulin Human          SS LOW DOSE LOW     Q6            10/12/16 07:45        10/22/1618:50
      Regular                INTENSITY
                             SCALE: Bl. ..
      Dextrose               16gm                PRN PRN       10/12/16 11 :45       10/12/1612:41

      Dextrose/Water         12.5 gm             PRN PRN       10/12/1611:45

      Risperidone            2 mg                BID           10/15/16 12:15        10/28/16 08:30

      Clonazepam             1 mg                BID           10/19/1610:45         10/28/16 08:30

      Polyethylene           17 gm               DAILY         10/20/16 11 :00       10/28/16 08:31
      Glycol
      Senna/Docusate         1 tab               BID           10/23/16 10:45        10/28/16 08:31
      Sodium
      Hydromorphone HCI      1 mg                Q3H PRN       10124/1617:45         10/28/16 05:31

      Hydromorphone HCI      1.5 mg              Q3H PRN       10124/16 17 :45       10/27/16 01 :37

      Felic Acid             1 mg                DAILY         10/26/16 09:00        10/28/16 08:31

      Thiamine HCI           100 mg              DAILY         10/26/16 09:00        10/28/16 08:31

      Multivitamins          1 tab               DAILY         10/26/16 09:00        10/28/16 08:31
      Therapeutic 1 tab
      Ceftriaxone Sodium     100 ml@             DAILY         10127/16 09:00        10/28/16 08:32
                             100 mis/hr
      Metronidazole/         100 ml@             QB            10/26/16 21 :00       10/28/16 05:31
      Sodium Chloride        200 mis/hr
      Acetaminophen          650 mg              Q4H PRN       10127/16 08:30        10127/16 08:51

      Metoprolol             6.25 mg             012           10/27/1621:00         10/28/16 08:31
      Tartrate
      Clotrimazole           10 mg               5XD           10/27/16 16:00        10/28/16 08:31


Labs Reviewed: Yes
                                                      Lab Results, BMP Diagram
10/28/16 06:20


                                          ~11
                                          4124# 0.8
Diagnostics Reviewed: Yes

Quality

PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1028-0122
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                                Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



Discussed Care Plan with: Patient
Code Status: Full Code
Line Necessity Addressed: Yes
VTE Prophylaxis Ordered: Yes
Indwelling Foley catheter: No

Impression and Plan
Assessment
Problem List:
(1) Aspiration pneumonia
Impression and Plan: -SWallow video studies done yesterday_
-Patient much more conscious than before( according to last notes)
-Patient therapy on board and recommend--
Continue moist Puree diet level with Nectar thick liquids and extra gravy. ENT evaluation for right vocal cord
dysfunction.
-Continue on IV ceftriaxone and metronidazole(D2) . Will stop metronidazole on 03 according to infectious disease
recommendations.
(2) Suicide and self-inflicted poisoning by drugs and medicinal substances
Impression and Plan: -Patient came in with TCA overdose and suicidal attempt.
-Patient had acute hepatic failure and elevated liver enzymes.
-Patient continues to be in police custody with forelimbs handcuffed due to the same and some criminal history.
-Continue on one-on-one, patient has been 302 ed.
-Psychiatry on board appreciate their recommendations.
(3) Loculated pleural effusion
Impression and Plan: Patient underwent VATS procedure thoracotomy and decortication.
Surgery on board and have discontinued the thoracostomy tubes yesterday.
The effusion fluid grew--
    Organism 1              BET A HEMOLYTIC STREP C
      GROWTH                 MODERATE
    Organism 2              STAPHYLOCOCCUS AU REUS
      GROWTH                 RARE
    Organism 3              CULTURE IN PROGRESS

              STAAUREUS
              M.l.C. RX

    TRIMET/SULFA <=10           S
    CLINDAMYCIN 0.25           S
    ERYTHROMYCIN <=0.25 S
    GENTAMICIN        <=0.5    S
    LEVOFLOXACIN 0.25           S
    LINEZOLID      2       S
    OXACILLIN      0.5      S
    TETRACYCLINE >=16            R
   VANCOMYCIN          1      S
Lorazepam for agitation.

PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1028-0122
REPORT STATUS: Signed
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                          Mercy Fitzgerald Hospital
                                     Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



Pain management--
- Acetaminophen 650 mg Q4 for mild pain ( 1-3)
                - Hydromorphone 1 mg Q3 for moderate pain ( 4 -6 )
                - Hydromorphone 1.5 mg Q3 for severe pain (7-10)
        Risperidone 2 mg BID PO.
(4) Oral thrush
Impression and Plan: -Resolving DC now statin and had topical clotrimazole.
(5) Bacteremla
Impression and Plan:
 continue IV abx
TEE- no vegetations.

(6) HIV (human immunodeficiency virus infection)
Impression and Plan: Patienfs CD4 count is 254. We will continue HAART after he stabilizes. Infectious disease on
board,
Chronic Problems:


JADHAV,GAURAV P MD                                                             Oct 28, 2016 08:43

         <Electronically signed by GAU RAV P JADHAV, MD> 10/29/16 2014




JADHGA I GJ I DD 10/28/16 0843 / DT 10/28/16 0843




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1028-0122
REPORT STATUS: Signed
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                                                 Mercy Fitzgerald Hospital
                                                     Cardiology Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                  MR#: F001250247
ACCT: FA1307223089                              ADMIT DATE: 10/07/16
REPORT#: 1028-0155                              DOB: 03/06/1979
ROOM/BED: 417-02
SEX: M
ATTENDING: LITTMAN, MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                 ***Signed Status***


Subjective
Encounter Date & Time
10/28/16 09:28
Subjective
Breathing and voice continue to improve. Chest pain is under better control at the surgical site. Denies abd pain.

Objective
Medications

                                                         Medications Active List
Enoxaparin Sodium 40 mg DAILY Last administered on 10/28/16at 08:31; Start 10/11/16 at 10:45
Insulin Human Regular SS LOW DOSE LOW INTENSITY SCALE: 81 ... Q6 Last administered on 10/22/16at 18:50;
Start 10/12/16 at 07:45
Dextrose 16 gm PRN PRN Last administered on 10/12/16at 12:41; Start 10/12/16 at 11 :45
Dextrose/Water 12.5 gm PRN P RN; Start 10/12/16 at 11 :45
Risperidone 2 mg BID Last administered on 1D/28/16at 08:30; Start 10/15/16 at 12:15
Clonazepam 1 mg BID Last administered on 10/28/16at 08:30; Start 10/19/16 at 10:45
Polyethylene Glycol 17 gm DAILY Last administered on 10/28/16at 08:31; Start 10/20/16 at 11 :DO
Senna/Docusate Sodium 1 tab BID Last administered on 10/28/16at 08:31; Start 10/23/16 at 10:45
Hydromorphone HCI 1 mg Q3H PRN Last administered on 10/28/16at 05:31; Start 10/24/16at17:45
Hydromorphone HCI 1.5 mg Q3H PRN Last administered on 10/27/16at 01 :37; Start 10/24/16 at 17:45
Folic Acid 1 mg DAILY Last administered on 10/28/16at 08:31; Start 10/26/16 at 09:00
Thiamine HCI 100 mg DAILY Last administered on 10/28/16at 08:31; Start 10/26/16 at 09:00
Multivitamins Therapeutic 1 tab 1 tab DAILY Last administered on 10/28/16at 08:31; Start 10/26/16 at 09:00
Ceftriaxone Sodium 100 ml@ 100 mis/hr DAILY Last administered on 10/28/16at 08:32; Start 10/27/16 at 09:00
Metronidazole/ Sodium Chloride 100 ml@ 200 mis/hr Q8 Last administered on 10/28/16at 05:31; start 10126/16 at
21:00
Acetaminophen 650 mg Q4H PRN Last administered on 10/27/16at 08:51; Start 10127/16 at 08:30
Metoprolol Tartrate 6.25 mg Q12 Last administered on 10/28/16at 08:31; start 10127/16 at 21 :oo
Clotrimazole 10 mg 5XD Last administered on 10/28/16at 08:31; Start 10/27/16 at 16:00
Patient Data
                                           Vital Signs, Last Documented
        Date Time                Pulse    Res     B/P      Pulse Ox 02 Delive            02 Flow Rate     Fi02
       10/28/16 08:00             110        18 148/75           98 Nasal Cannula                2.00       40

Weight in Kg
80.00
                                                           Bedside Blood Glucose


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1028-0155
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD             Document 15-11           Filed 05/03/18        Page 13 of 160

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                        Mercy Fitzgerald Hospital
                                Cardiology Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



10/28/16 07:19: POC Glucose 98

Physical Exam
NAO, MMM
NoJVD
Decreased breath sounds on the right
Tachycardic but regular rhythm, 81 and 82 preserved, no murmur, rub or gallop
No lower extremity edema
Normoactive bowel sounds, soft, nontender
lntegumentary is warm and well-perfused

Results
                                                            Lab Results, CBC Diagram
10/28/16 06:20


                                               13.5


                                                            Lab Results, BMP Diagram
10/28/16 06:20


                                            ~11
                                            4124# 0.8
Diagnostics Reviewed: Yes
Diagnostic Tracings
Telemetry: Sinus tach in the 130s

Impression and Plan
Problem List:
(1) Drug overdose
(2) Aspiration pneumonia
(3) Pleural effusion
(4) Abscess of lung with pneumonia
(5) SIP thoracotomy
(6) Tachycardia
Chronic Problems:
Plan
Loculated pleural effusion, pulmonary abscess and bacteremia: Cultures repeatedly growing strep species. No
evidence of infectious endocarditis on TEE.

Mildly reduced biventricular ventricular systolic function: This may be a stress-induced decreased in biventricular
function. Clinically he appears euvolemic. He will need a repeat echocardiogram in 2-3 months or sooner if he
decompensates after discharge to further evaluate and to determine if further workup is needed.


PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1028-0155
REPORT STATUS: Signed
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                          Mercy Fitzgerald Hospital
                                    Cardiology Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                              MR#: F001250247




Tachycardia: This is sinus tachycardia and likely physiologic in this setting. He is not responding to fluid bolus
challenges. He does not appear to be significantly dehydrated on exam. I agree with ruling out pulmonary emboli with
CT angiogram. Metoprolol tartrate 6.25 mg twice daily wad started today (pt refused dose yesterday); up-titrate beta
blocker for heart rate control as BP wil I allow.


MENETREY,JAMMIE E DO                                                            Oct 28, 2016 09:32

         <Electronically signed by JAMMIE E MENETREY, DO> 10/28/16 0932




MENEJA I JEM I DD 10/28116 0932 / DT 10/28116 0932




PATIENT: EFUNNUGAOLUTOKUNBO
cc:
REPORT#: 1028-0155
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD            Document 15-11           Filed 05/03/18      Page 15 of 160



                                                Mercy Fitzgerald Hospital
                                                    Pulmonology Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                  MR#: F001250247
ACCT: FA1307223089                              ADMIT DATE: 10/07/16
REPORT #: 1028-0246                             DOB: 03/06/1979
ROOM/BED: 417-02
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                ***Signed Status***


Subjective
Encounter Date & Time
10/28/16 12:59
Service: Pulmonology
Subjective
Denies significant restaurant complaints, chest pain improved. Chest tube now discontinued

Objective
Active Meds Reviewed: Yes
Patient Data
                                          Vital Signs, Last Documented
        Date Time       Temo     Pulse   Re so B/P        Pulse Ox 02 Deliverv         02 Flow Rate   Fi02
       10/28/16 12:44             107
                                  114
       10/28/16 08:00    37.2              18    148/75         98    Nasal Cannula            2.00     40

Weight in Kg
80.00
                                                          Bedside Blood Glucose
10/28/16 07:19: POC Glucose 98
Appearance: : Lethargic: No Acute Distress
Thorax: : CTA Bilateral: Decreased Breath Sounds (right-side): No Accessory Muscle Use
cardiovascular: : No JVD: Regular Rate Rhythm

Results
                                                          Lab Results, CBC Diagram
10/28/16 06:20




                                                          Lab Results, BMP Diagram
10/28/16 06:20


                                          ~11~
                                          4124# 0.8 115
PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1028-0246
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD                Document 15-11        Filed 05/03/18        Page 16 of 160

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                         Mercy Fitzgerald Hospital
                                   Pulmonology Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247




Imaging
Chest x-ray reviewed personally, significant improvement in bilateral lung opacification.

Impression and Plan
Problem List:
(1) Aspiration pneumonia
(2) Bacteremia
(3) Empyema
(4) SIP thoracotomy
Impression and Plan: Chest tube discontinued
(5) Acute respiratory failure with hypoxia and hypercapnia
(6) Suicidal overdose
(7) Polysubstance abuse
(8) Antisocial personality disorder in adult
(9) HIV (human Immunodeficiency virus Infection)
Chronic Problems:
Plan
Complete IV antibiotics, follow temp. Incentive spirometry. Out of bed as tolerated. Follow chest x-ray. Will sign off,
please call with questions.
Condition: Guarded


PILLAI.AJAY R, MD                                                                Oct 28, 2016 13:01

        <Eledronically signed by AJAY R PILLAI, MD> 10/28/16 1301




PILLAJ I ARP I DD 10/281161301/DT10128/16 1301




PATIENT: EFUNNUGAOLUTOKUNBO
cc:
REPORT#: 1028-0246
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD          Document 15-11             Filed 05/03/18    Page 17 of 160



                                                Mercy Fitzgerald Hospital
                                                       Otolaryngology Progress Note
PATIENT: EFUNNUGA,OLUTOKUNBO                                  MR#: F001250247
ACCT: FA1307223089                              ADMIT DATE: 10/07/16
REPORT#: 1028-0326                              DOB: 03/06/1979
ROOM/BED: 411-02
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                                ***Signed Status***

Subjective
Encounter Date & Time
10/28/16 16:09
Subjective
318986 consult done and dictated

Objective
Patient Data
                                         v·t
                                          1a1s·1gns, LastDo cumen t ed
         Date Time       Temp    Pulse   Resp    B/P       Pulse Ox    02 Deliverv     02 Flow Rate      Fi02
        10/28/1612:44             107
                                  114
        10/28/16 08:00    37.2             18    148175         98     Nasal Cannula              2.00     40

Weight in Kg
80.00
                                                          Bedside Blood Glucose
10/28/16 07:19: POC Glucose 98

Results
                                                          Lab Results, CBC Diagram
10/28/16 06:20




                                                          Lab Results, BMP Diagram
10/28/16 06:20


                                         ~11~
                                         4124# 0.8 115

GHADERI, MAHMOUD DO                                                          Oct 28, 2016 16:10


PATIENT: EFUNNUGAOLUTOKUNBO
CC:
REPORT#: 1028-0326
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD                Document 15-11      Filed 05/03/18     Page 18 of 160

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                        Mercy Fitzgerald Hospital
                                 Otolaryngology Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247




        <Eledronically signed by MAHMOUD GHADERI, DO> 10/31/16 1321




GHADMA I MG I DD 10128/161610/ DT 10/281161610




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1028-0326
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD             Document 15-11            Filed 05/03/18      Page 19 of 160



                                                 Mercy Fitzgerald Hospital
                                                     Infectious Disease Progress No

PATIENT: EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247
ACCT: FA1307223089                               ADMIT DATE: 10/07/16
REPORT #: 1028-0350                              DOB: 03/06/1979
ROOM/BED: 417-02
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                                 ***Signed Status***


Subjective
Encounter Date & Time
10/28/16 17:14
Service: Infectious Disease
Subjective
Pt alert, CT removed, local chest discomfort diminished, no fever, sore throat increased dyspnea or stool formation

Objective
Patient Data

                                          Vital Signs, Last Documented
        Date Time       Temp     Pulse   Re so B/P        Pulse Ox 02 Deliverv           02 Flow Rate    Fi02
       10/28/16 12:44             107
                                  114
       10/28/16 08:00     37.2              18    148175          98    Nasal Cannula             2.00      40

Weight in Kg
80.00
                                                           Bedside Blood Glucose
10/28/16 07:19: POC Glucose 98

Physical Exam
Tm 98.8


anicteric no stridor or meningismus decreased bs right lung bases abd active bs nontender no guarding or pulsation iv
access intact no edema sir intact Neuro no tremor appreciated

Results
                                                           Lab Results, CBC Diagram
10/28/16 06:20




                                                           Lab Results, BMP Diagram
10/28/16 06:20


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1028-0350
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD                Document 15-11      Filed 05/03/18        Page 20 of 160

                                                        Page 2 of 2

                         Mercy Fitzgerald Hospital
                                   Infectious Disease Progress No

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247




                                                  ~11
                                                  4124# 0.8
Imaging
reviewed

Impression and Plan
Plan

bacteremia: strep mitis, repeat blood c/ sterile, TEE= n o vegetations or valvular abnormality,
pneumonia: aspiration. resolving
right pleural effusion: sip decortication and drainage 10124
HIVD: moderately advanced, CD4 240-300
elevated temperature:recurrent, presently resolved, new c/s sterile
confusion: resolving
leukocytosis: follow response to intervention
candidiasis: oropharyngeal switch to topical clotrimazole
abx mgmt:recommend discontinue metronidazole in 72 hrs, continue parental ceftriaxone
discussed clinical presentation with pt


GILBERT.MARK, MD                                                               Oct 28, 2016 17:18

         <Electronically signed by MARK GILBERT, MD> 10/28/16 1718




GILBMA I MG I DD 10128/161718 IDT 10/28/16 1718




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1028-0350
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD            Document 15-11         Filed 05/03/18       Page 21 of 160



                                               Mercy Fitzgerald Hospital
                                                    General Surgery Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT: FA1307223089                             ADMIT DATE: 10/07/16
REPORT #: 1028-0364                            DOB: 03/06/1979
ROOM/BED: 411-02
SEX: M
ATTENDING: LITTMAN, MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                               ***Signed Status***


Subjective
Encounter Date & Time
10/28/16 18:27
Service: General Surgery
Subjective
Patient was seen and examined. No acute events overnight. Patient resting comfortably in bed. Chest tubes were
removed yesterday. Tolerating diet without any nausea or vomiting. Urinating.

Objective
Patient Data
                                          Vital Signs, Last Documented
        Date Time       Temp     Pulse   Resp B/P         Pulse Ox 02 Delivery        02 Flow Rate    Fi02
       10/28/16 17:00    36.8     108      20 130/78
       10/28/16 08:00                                           98 Nasal Cannula               2.00     40

Weight in Kg
80.00
                                                         Bedside Blood Glucose
10/28/16 07:19: POC Glucose 98

Physical Exam
Right sided chest tube incision clean dry and intact
Chest tube site dressings clean with minimal soilage
Appearance: : Alert: Appears stated Age: No Acute Distress
Head Exam: : Atraumatic: Normocephalic: Symmetric
Eyes: : EOMI: Sciera Anicteric
Ears Nose Throat: No: Muffled Hoarse Voice
Thorax: : No Accessory Muscle Use
Cardiovascular: : Regular Rate Rhythm
Abdomen: : Non-tender: SoftNo: Distended
Extremity Appearance: LUE: Normal, RUE: Normal, LLE: Normal, RLE: Normal
Skin: : Skin Color Normal: Skin Temperature Normal
Neurologic: : Oriented x 3
Affect: : Normal

Results
                                                         Lab Results, CBC Diagram


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1028-0364
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD             Document 15-11           Filed 05/03/18        Page 22 of 160


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                        Mercy Fitzgerald Hospital
                                 General Surgery Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



10/28/16 06:20




                                                            Lab Results, BMP Diagram
10/28/16 06:20


                                            ~11
                                            4:124# 0.B

Quality
Code Status: Full Code
Line Necessity Addressed: Yes
VTE Prophylaxis Ordered: Yes
Indwelling Foley Catheter: No
Central Venous Catheter: No

Impression and Plan
Assessment
Problem List:
(1) Loculated pleural effusion
Chronic Problems:

Management Plan
Plan
37M with past history of HIV, anxiety, and polysubstance abuse who was admitted after being found unresponsive at
home. He has intubated on arrival on 10/17/16 and was extubated on 10/15/16. Since that time his chest x-rays have
demonstrated right lower lobe consolidation and an increasing right pleural effusion, leading to failed attempts at IR
drainage. Chest CT performed on 10/20/16 demon st rates a small to mode rate loculated right effusion. Thoracic
surgery is being consulted for evaluation and possible intervention for the patient's right loculated pleural
effusion.Failed IR thoracentesis due to loculated pleural effusion

Continue care per primary team
Continue antibiotics
Diet as tolerated
continue to monitor respiratory status
Encourage out of bed and incentive spirometer
Follow-up labs replete as needed
DVT prophylaxis

Thank you for consulting us on this patient's medical care. We will sign off now, please call back with any further
questions or concerns.


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1028--0364
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD                 Document 15-11      Filed 05/03/18     Page 23 of 160


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                         Mercy Fitzgerald Hospital
                                    General Surgery Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247




MARCOE,JEFFREY P MD                                                           Oct 28, 2016 18:29

        <Electronically signed by JEFFREY P MARCOE, MD> 10/28/16 1829
        <Electronically signed by HA.JIM SHARIFF, MD> 11/18/16 1301




MARCJE I JM I DD 10/28/161829 / DT 10/28/16 1829




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1028-0364
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD                 Document 15-11      Filed 05/03/18        Page 24 of 160



                                        Mercy Fitzgerald Hospital
                                                   Progress Note

Patient: EFUNNUGA,OLUTOKUNBO                             MR#   F001250247
DOB: 03/06/1979            Sex: M                        Acct# FA1307223089
Date: 10/29/16                                           Room/Bed: 411-02
Report# 1029-0108

                                          *** Signed Status***
DATE OF SERVICE: 10/29/2016

SUBJECTIVE:
Patient seen and examined, resting quietly. No adverse events overnight.

OBJECTIVE:
VITAL SIGNS: Blood pressure 130/82, temperature 37.2.
GENERAL: Patient appears to be in no acute distress.
LUNGS: Decreased breath sound, posterior chest wall.
HEART: S1, S2.
ABDOMEN: Soft, normoactive bowel sounds.
EXTREMITIES: Without calf tenderness.

LABORATORY DATA:
CBC: WBC14.1, hemoglobin 10.1, hematocrit29.1, plateletcount581. SMA-6: Sodium 129, potassium
4.3, chloride 95, C02 25, BUN 12, creatinine 0.9, blood glucose 103.

IMAGING STUDIES:
Chest x-ray (10/28/2016) shows bilateral small pleural effusions, no pneumothorax.

ASSESSMENT AND PLAN:
1. Empyema, status post mini thoracotomy with decortication, unroofing a pulmonary abscess. Continue
postoperative care (chest tube is out) as well as antimicrobial therapy (Flagyl and ceftriaxone per Infectious
Disease).
2. Acute respiratory failure with hypoxia and hypercapnia, stable.
3. Acute kidney injury, now with stable creatinine.
4. Toxic encephalopathy.



DICTATED BY: Mario Littman, MD

Job #:319711 Doc #:688532

                                     <Electronically signed by MARIO LITTMAN, MD> at 10/291161355

                                                         LITTMAN, MARIO MD
LITTMAR IN EI DD 10/29116 0937 IDT 10/29/16 1057




CC: LITTMAN.MARIO, MD
REPORT#: 1029-0108
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD            Document 15-11          Filed 05/03/18         Page 25 of 160



                                                Mercy Fitzgerald Hospital
                                                    Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                  MR#: F001250247
ACCT: FA1307223089                              ADMIT DATE: 10/07/16
REPORT#: 1029-0138                              DOB: 03/06/1979
ROOM/BED: 411-02
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                ***Signed Status***


Subjective
Encounter Date & Time
10/29/16 11 :43
Service: Internal Medicine
Subjective
Patient was examined bedside. He states that he feels much more energetic today than the day before. No new
complaints. Night was uneventful
Appetite: Good
Sleep: Fairly Good

Objective
                                          Vital Signs, Last Documented
        Date Time       Temp    Pulse    Resp B/P         Pulse Ox 02 Deliverv            02 Flow Rate   Fi02
       10/29/1610:36                                               Nasal Cannula                  2.00     40
       10/29/16 07:00    37.2      110           130/82        100
                                    20
       10/29/16 02:35                      16

Weight in Kg
80.00
                                                         Bedside Blood Glucose
10/29/1611:16: POC Glucose 107
Physical Exam
General: no apparent distress, appears stated age
HNT: moist mucous membranes
Eyes: sclera anicteric
Thorax: clear to auscultation bilaterally, equal expansion
Cardiovascular: no jugular venous distension, no murmurs, pulse regular rate and rhythm
Abdomen: soft, non-tender, non-distended, bowel sounds noted
Extremities: no cyanosis, pulses 2+ bilaterally
Neurologic: alert/awake/oriented, grossly no abnormalities
Current Meds Reviewed: Yes
Medications

                                                         Medications Active List
      Medications           Dose                     Sig/Sch       Start Time         Status     Last Admin
                            Ordered                                Sto Time



PATIENT: EFUN NUGA,OLUTOKUNBO
cc:
REPORT#: 1029-0138
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD         Document 15-11       Filed 05/03/18     Page 26 of 160

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                        Mercy Fitzgerald Hospital
                               Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247



      Enoxaparin Sodium     40mg               DAILY          10/11/1610:45          10/29/16 09:02

      Dextrose              16 gm              PRN PRN        10/12/1611:45          10/12/1612:41

      Dextrose/Water        12.5 gm            PRN PRN        10/12/16 11 :45

      Risperidone           2 mg               BID            10/15/1612:15          10/29/16 09:01

      Polyethylene          17 gm              DAILY          10/20/16 11 :DO        10/29/16 09:05
      Glvcol
      Senna/Docusate        1 tab              BID            10/23/16 10:45         10/29/16 09:01
      Sodium
      FolicAcid             1 mg               DAILY          10/26/16 09:00         10/29/16 09:01

      Thiamine HCI          100 mg             DAILY          10/26/16 09:00         10/29/16 09:02

      Multivitamins         1 tab              DAILY          10/26/16 09:00         10/29/16 09:01
      Theraoeutic 1 tab
      Ceftriaxone Sodium    100 ml@            DAILY          10/27/16 09:00         10/29/16 09:02
                            100 mis/hr
      Acetaminophen         650mg              04H PRN        10/27/16 08:30         10/29/16 04:44

      Metoprolol            6.25 mg            012            10/27/16 21 :OD        10/29/16 09:02
      Tartrate
      Clotrimazole          10 mg              5XD            10/27/1616:00          10/29/16 09:01

      Clonazepam 1 mg       1 mg               012H PRN       10/28/16 21 :00        10/28/16 21 :21

      Metronidazole/        100 ml@            08             10/28/16 21 :00        10/29/16 04:44
      Sodium Chloride       200 mis/hr                        10/31/16 06:00
      Insulin Human         SS LOW DOSE LOW    ACHS           10/29/1611 :00
      Lis pro               INTENSITY
                            SCALE: Bl. ..

Labs Reviewed: Yes
                                                     Lab Results, CBC Diagram
10/29/16 06:26




                                                     Lab Results, BMP Diagram
10/29/16 06:26




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT #: 1029-0138
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD             Document 15-11          Filed 05/03/18       Page 27 of 160

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                        Mercy Fitzgerald Hospital
                               Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247




Diagnostics Reviewed: Yes

Quality
Discussed care Plan with: Patient
Code Status: Full Code
Line Necessity Addressed: Yes
VTE Prophylaxis Ordered: Yes
Indwelling Foley catheter: No

Impression and Plan
Assessment
Problem List:
(1) Aspiration pneumonia
Impression and Plan: -Swallow video studies done yesterday.
-Patient much more conscious than before(according to last notes)
-Patient therapy on board and recommend--
Continue moist Puree diet level with Nectar thick liquids and extra gravy.
-ENT evaluated the patient yesterday and states that no intervention is required currently.
-Continue on IV ceftriaxone and metronidazole(D3) . Will stop metronidazole on 03 according to infectious disease
recommendations.
(2) Suicide and self-inflicted poisoning by drugs and medicinal substances
Impression and Plan: -Patient came in with TCA overdose and suicidal attempt.
-Patient had acute hepatic failure and elevated liver enzymes.
-Patient continues to be in police custody with forelimbs handcuffed due to the same and some criminal history.
-Continue on one-on-one, patient has been 302 ed .
-Psychiatry on board appreciate their recommendations.
(3) Loculated pleural effusion
Impression and Plan: Patient underwent VATS procedure thoracotomy and decortication.
Surgery on board and have discontinued the thoracostomy tubes yesterday.
The effusion fluid grew--
    Organism 1              BET A H EMOL YT IC STREP C
      GROWTH                 MODERATE
    Organism 2              STAPHYLOCOCCUS AUREUS
      GROWTH                 RARE
    Organism 3              CULTURE IN PROGRESS

              STA AUREUS
              M.l.C. RX

      TRIMET/SULFA      <=10    S
      CLINDAMYCIN       0.25   S


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1029-0138
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD              Document 15-11      Filed 05/03/18      Page 28 of 160

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                        Mercy Fitzgerald Hospital
                                 Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                        MR#: F001250247



    ERYTHROMYCIN <=0.25            S
    GENTAMICIN        <=O 5    S
    LEVOFLOXACIN 0.25           S
    LINEZOLID      2       S
    OXACILLIN      0.5      S
    TETRACYCLINE >=16            R
    VANCOMYCIN         1      S
Lorazepam for agitation.
Pain management--
- Acetaminophen 650 mg Q4 for mild pain ( 1-3)
                - Hydromorphone 0. 5 mg Q3 for moderate pain ( 4 -6 )
                - Hydromorphone 1 mg Q3 for severe pain (7-10)
        Risperidone 2 mg BID PO.
(4) Oral thrush
Impression and Plan: -Resolving DC now statin and had topical clotrimazole.
(5) Bacteremia
Impression and Plan:
 continue IV abx
TEE- no vegetations.


(6) HIV (human immunodeficiency virus infection)
Impression and Plan: Patients CD4 count is 254. We will continue HAART after he stabilizes. Infectious disease on
board,
Chronic Problems:


JADHAV,GAURAV P MD                                                         Oct 29, 2016 11 :46

        <Electronically signed by GAU RAV P JADHAV, MD> 10/29/16 2014




JADHGA/GJ I DD 10/29/161146/ OT 10/291161146




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1029-0138
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD                 Document 15-11   Filed 05/03/18    Page 29 of 160



                                        Mercy Fitzgerald Hospital
                                                   Progress Note

Patient: EFUNNUGA,OLUTOKUNBO                             MR#   F001250247
DOB: 03/06/1979            Sex: M                        Acct# FA1307223089
Date: 10/30/16                                           Room/Bed: 411-02
Report# 1030-0151

                                          *** Signed Status***
DATE OF SERVICE: 10/30/2016

SUBJECTIVE:
Patient seen, examined, seemingly more energetic and responsive. No adverse events overnight.

OBJECTIVE:
VITAL SIGNS: Blood pressure 120/60, heart rate of 100, temperature 36.7.
GENERAL: He appears to be in no respiratory distress.
HEENT: Moist mucous membranes.
LUNGS: Clear to auscultation bilaterally.
HEART: S1, S2.
ABDOMEN: Soft, normoactive bowel sounds.
EXTREMITIES: 2+ pulses bilaterally.
NEUROLOGIC EXAM: No gross abnormalities.

ASSESSMENT AND PLAN:
1. Aspiration pneumonia. Continue ceftriaxone and Flagyl for now.
2. Empyema status post mini-thoracotomy and decortication, unroofing of pulmonary abscess
3. Acute respiratory failure with hypoxia, hypercapnia stable.
4. Acute kidney injury with resolution.



DICTATED BY: Mario Littman, MD

Job #:320818 Doc #:689645

                                     <Electronically signed by MARIO LITTMAN, MD> at 10/31/16 0555

                                                         LITTMAN, MARIO MD
LITTMAR I NE I DD 10/30/161111 IDT 10130/16 1201




CC: LITTMAN.MARIO, MD
REPORT#: 1030-0151
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD            Document 15-11          Filed 05/03/18       Page 30 of 160



                                                Mercy Fitzgerald Hospital
                                                     Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                  MR#: F001250247
ACCT: FA1307223089                              ADMIT DATE: 10/07/16
REPORT #: 1030-0200                             DOB: 03/06/1979
ROOM/BED: 411-02
SEX: M
ATTENDING: LITTMAN, MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                *** Signed Status ***

Subjective
Encounter Date & Time
10/30/16 13:50
Service: Hospitalist
Subjective
Patient seen and examined. Patient reports no change in SOB at rest.

Objective
                                              Vital Signs 24 Hours
        Date Time       Temp     Pulse   Resp   B/P      Pulse Ox 02 Delivery           02 Flow Rate     Fi02
       10/30/16 08:30                                              Nasal cannula                2.00
       10/30/16 08:01                                              Nasal cannula
       10/30/16 07:50     36.7     100      18 120/60         100 Room Air
       10/30/16 02:42                                              Nasal cannula                 2.00
       10/29/16 20:00     36.7      53      18 127/89          97 Room Air
       10/29/1615:46      37.6     110      22 113179         100 Room Air

                                          Vital Signs, Last Documented
        Date Time       Temp     Pulse   Resp B/P         Pulse Ox 02 Delivery          02 Flow Rate     Fi02
       10/30/16 08:30                                              Nasal cannula                2.00
       10/30/16 07:50     36.7     100      18 120/60          100
       10/29/1610:36                                                                                       40

Weight in Kg
80.00
                                                           Bedside Blood Glucose
10/29/16 20:46: POC Glucose 103
Physical Exam
General: no apparent distress, appears stated age
HNT: moist mucous membranes
Eyes: sclera anicteric
Thorax: clear to auscultation bilaterally, equal expansion
Cardiovascular: no jugular venous distension, no murmurs, pulse regular rate and rhythm
Abdomen: soft, non-tender, non-distended, bowel sounds noted, right para umbilical pain with palpation
Extremities: no cyanosis, no pedal edema
Neurologic: alert/awake/oriented, grossly no abnormalities
Current Meds Reviewed: Yes
Medications


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1030-0200
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD         Document 15-11       Filed 05/03/18      Page 31 of 160


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                        Mercy Fitzgerald Hospital
                               Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247




                                                   Medications Active List
      Medications           Dose               Sig/Sch       Start Time         Status   Last Admin
                            Ordered                          Stoo Time
      Enoxaparin Sodium     40 mg              DAILY         10/11/16 10:45              10/30/16 08:21

      Dextrose              16 gm              PRN PRN        10/12/16 11 :45            10/12/1612:41

      Dextrose/Water        12.5 gm            PRN PRN        10/12/16 11 :45

      Risperidone           2 mg               BID            10/15/1612:15              10/30/16 08:25

      Polyethylene          17 gm              DAILY          10/20/16 11 :00            10/30/16 08:30
      Glycol
      Senna/Docusate        1 tab              BID            10/23/1610:45              10/30/16 08:26
      Sodium
      Folic Acid            1 mg               DAILY          10/26/16 09:00             10/30/16 08:25

      Thiamine HCI          100 mg             DAILY          10/26116 09:00             10/30/16 08:25

      Multivitamins         1 tab              DAILY          10/26/16 09:00             10/30/16 08:26
      Theraoeutic 1 tab
      Ceftriaxone Sodium    100 ml@            DAILY          10/27/16 09:00             10/30/16 08:20
                            100 mis/hr
      Acetaminophen         650mg              Q4H PRN        10/27116 08:30             10/30/16 06:15

      Metoprolol            6.25 mg            012            10/27/16 21 :DO            10/30/16 08:26
      Tartrate
      Clotrimazole          10 mg              5XD            10/2711616:00              10/30/1611 :31

      Clonazepam 1 mg       1 mg               Q12H PRN       10/28116 21 :00            10/30/16 11 :31

      Metronidazole/        100 ml@            QB             10/28116 21 :DO            10/30/1612:10
      Sodium Chloride       200 mis/hr                        10/31/16 06:00
      Insulin Human         SS LOW DOSE LOW    ACHS           10/29/1611 :00
      Lispro                INTENSITY
                            SCALE: Bl. ..
      Tramadol HCI          50 mg              Q4H PRN        10/29/1617:30              10/30/16 02:09


                                                     Lab Results, CBC Diagram
10/30/1611:18




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1030-0200
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD             Document 15-11          Filed 05/03/18       Page 32 of 160

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                        Mercy Fitzgerald Hospital
                               Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247



                                                          Lab Results, BMP Diagram
10/30/16 06:28


                                           ~14
                                            ~0.9


Quality
Discussed Care Plan with: Patient
Code Status: Full Code

Impression and Plan
Management Plan
Plan
(1) Aspiration pneumonia
Impression and Plan: -Swallow video studies done yesterday.
-Patient much more conscious than before(according to last notes)
-Patient therapy on board and recommend--
Continue moist Puree diet level with Nectar thick liquids and extra gravy.
-ENT evaluated the patient yesterday and states that no intervention is required currently.
-Continue on IV ceftriaxone and metronidazole(D3) . Will stop metronidazole on 03 according to infectious disease
recommendations. stop on 10/31/16
(2) Suicide and self-inflicted poisoning by drugs and medicinal substances
Impression and Plan: -Patient came in with TCA overdose and suicidal attempt.
-Patient had acute hepatic failure and elevated liver enzymes.
-Patient continues to be in police custody with forelimbs handcuffed due to the same and some criminal history.
-Continue on one-on-one, patient has been 302 ed .
-Psychiatry on board appreciate their recommendations.
(3) Loculated pleural effusion
Impression and Plan: Patient underwent VATS procedure thoracotomy and decortication.
Surgery on board and have discontinued the thoracostomy tubes yesterday.
The effusion fluid grew--
    Organism 1              BET A HEMOLYTIC STREP C
      GROWTH                 MODERATE
    Organism 2              STAPHYLOCOCCUS AUREUS
      GROWTH                 RARE
    Organism 3              CULTURE IN PROGRESS

              STAAUREUS
              M.l.C. RX

      TRIMET/SULFA <=10   S
      CLINDAMYCIN  0.25  S
      ERYTHROMYCIN <=0.25   S


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1030-0200
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD              Document 15-11      Filed 05/03/18      Page 33 of 160


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                        Mercy Fitzgerald Hospital
                                 Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                         MR#: FOD1250247



    GENTAMICIN        <=0.5    S
    LEVOFLOXACIN 0.25           S
    LINEZOLID      2        S
    OXACILLIN      0.5      S
    TETRACYCLINE >=16            R
    VANCOMYCIN         1      S
Lorazepam for agitation.
Pain management--
- Acetaminophen 650 mg 04 for mild pain ( 1-3)
                - Hydromorphone 0.5 mg Q3 for moderate pain ( 4 -6)
                - Hydromorphone 1 mg Q3 for severe pain (7-10)
        Risperidone 2 mg BID PO.
(4) Oral thrush
Impression and Plan: -Resolving DC nOVV' statin and had topical clotrimazole.
(5) Bacteremia
Impression and Plan:
 continue IV abx
TEE- no vegetations.

(6) HIV (human immunodeficiency virus infection)
Impression and Plan: Patienrs CD4 count is 254. We will continue HAART after he stabilizes. Infectious disease on
board,


LAMBERT, PETER C MD                                                         Oct 30, 2016 13:53

        <Electronically signed by PETER C LAMBERT, MD> 10/31/16 1824




LAMBPE /PL/ DD 10/30/161353/ OT 10/30/161353




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1030-0200
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD             Document 15-11           Filed 05/03/18        Page 34 of 160



                                                 Mercy Fitzgerald Hospital
                                                      Internal Med Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247
ACCT: FA1307223089                               ADMIT DATE: 10/07/16
REPORT#: 1031-0015                               DOB: 03/06/1979
ROOM/BED: 411-02
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                 *** Signed Status ***

Subjective
Encounter Date & Time
10/31/16 06:15
Subjective
Patient seen, resting comfortably this morning, no new issues noted, full chart reviewed at length

Objective
Patient Data
                                           Vital Signs, Last Documented
         Date Time        Temo     Pulse   Reso B/P          Pulse Ox 02 Deliverv       02 Flow Rate        Fi02
        10/30/16 21 :04    37.0     107             124/59         93 Room Air
        10/30/16 16:00                        16
        10/30/16 08:30                                                                               2.00
        10/29/16 10:36                                                                                        40

Weight in Kg
80.00
                                                           Bedside Blood Glucose
10/30/16 16:54: POC Glucose 100
Appearance: : No Acute Distress
Thorax: : Decreased Breath Sounds
Cardiovascular: : No JVD: Regular Rate Rhythm
Abdomen: : Bowel Sounds Noted: Soft

Results
                                                           Lab Results, CBC Diagram
10/30/1611:18




10/31/16 04:00




PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1031-0015
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD                 Document 15-11      Filed 05/03/18     Page 35 of 160


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                          Mercy Fitzgerald Hospital
                                    Internal Med Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



                                                             Lab Results, BMP Diagram
10/30116 06:28


                                                   ~14
                                                   ~0.9

10/31/16 04:00




Impression and Plan
Problem List:
(1) Er11>yema
Impression and Plan: status post Mini thoracotomy, decortication, unroofing of pulmonary abscess, plan to
continue with Rocephin
(2) Acute respiratory failure with hypoxia and hypercapnia
Impression and Plan: stable
(3) AKI (acute kidney injury)
Impression and Plan: Resolved
(4) Suicide and self-inflicted poisoning by drugs and medicinal substances
Impression and Plan: Continue to monitor clinically
Chronic Problems:


HAMID.SAMMY, MD                                                               Oct 31, 2016 06:17

         <Electronically signed by SAMMY HAMID, MD> 11/01/16 0602




HAMISA I SH I DD 10/31/16 0617 /OT 10/31/16 0617




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1031-0015
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD            Document 15-11          Filed 05/03/18          Page 36 of 160



                                                Mercy Fitzgerald Hospital
                                                    Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT: FA1307223089                             ADMIT DATE: 10/07/16
REPORT #: 1031-0111                            DOB: 03/06/1979
ROOM/BED: 411-02
SEX: M
ATTENDING: LITTMAN,MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                                *** Signed Status***


Subjective
Encounter Date & Time
10/31/16 07:58
Service: Internal Medicine
Subjective
Patient examined bedside.No new complaints. still continues to have right chest tightness
Appetite: Good
Sleep: Fairly Good

Objective
                                          Vital Signs, Last Documented
         Date Time        Temp    Pulse   Resp B/P          Pulse Ox 02 Deliverv      02 Flow Rate     Fi02
        10/30/16 21 :04    37.0    107             124/59         93 Room Air
        10/30/16 16:00                       16
        10/30/16 08:30                                                                          2.00
        10/29/16 10:36                                                                                   40

Weight In Kg
80.00
                                                         Bedside Blood Glucose
10/30/16 16:54: POC Glucose 100
Physical Exam
General: no apparent distress, appears stated age
HNT: moist mucous membranes
Eyes: sclera anicteric
Thorax: clear to auscultation bilaterally, equal expansion
Cardiovascular: no jugular venous distension, no murmurs, pulse regular rate and rhythm
Abdomen: soft, non-tender, non-distended, bowel sounds noted
Extremities: no cyanosis, pulses 2+ bilaterally
Neurologic: alert/awake/oriented, grossly no abnormalitiesGeneral: []
Current Meds Reviewed: Yes
Medications

                                                         Medications Active List
      Medications            Dose                     Sig/Sch      Start Time          status    Last Adm in
                             Ordered                               stop Time
      Enoxaparin Sodium      40mg                     DAILY        10/11/16 10:45                10/30/16 08:21




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1031-0111
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD         Document 15-11       Filed 05/03/18     Page 37 of 160

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                        Mercy Fitzgerald Hospital
                                Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247



     Dextrose               16gm                 PRN PRN       10/12/1611:45          10/12/16 12:41

     Dextrose/Water         12.5 gm              PRN PRN       10/12/16 11 :45

     Risperidone            2 mg                 BID           10/15/16 12:15         10/30/16 20:53

     Polyethylene           17 gm                DAILY         10/20/1611:00          10/30/16 08:30
     Glvcol
     Senna/Docusate         1 tab                BID           10/23/16 10:45         10/30/16 20:53
     Sodium
     FolicAcid              1 mg                 DAILY         10/26/16 09:00         10/30/16 08:25

     Thiamine HCI           100 mg               DAILY         10/26/16 09:00         10/30/16 08:25

     Multivitamins          1 tab                DAILY         10/26/16 09:00         10/30/16 08:26
     Therapeutic 1 tab
     Geftriaxone Sodium     100 ml@              DAILY         10/27/16 09:00         10/30/16 08:20
                            100 mis/hr
     Acetaminophen          650 mg               Q4H PRN       10/27/16 08:30         10/31/16 06:48

     Metoprolol             6.25 mg              Q12           10/27/16 21 :00        10/30/16 20:53
     Tartrate
     Clotrimazole           10 mg                5XD           10/27/16 16:00         10/31/16 00:36

     Clonazepam             1 mg                 Q12H PRN      10/28/16 21 :00        10/30/16 11 :31

     Insulin Human          SS LOW DOSE LOW     ACHS           10/29/16 11 :00
     Lispro                 INTENSITY
                            SCALE: Bl. ..
     Tramadol HCI 50 mg     50mg                 Q4H PRN       10/29/16 17:30         10/31/16 03:53

     Sodium Chloride        1,000 ml@            Q13H20M       10/31/16 07:45
                            75 mis/hr                          11/1/16 10:24

Labs Reviewed: Yes
                                                    Lab Results, CBC Diagram
10/30/16 11:18


                                         16.B


10/31/16 04:00


                                         15.1



PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT #: 1031-0111
REPORT STATUS: Signed
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                        Mercy Fitzgerald Hospital
                               Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247




                                                          Lab Results, BMP Diagram
10/31/16 04:00


                                           ~13
                                            4126 0.9
Diagnostics Reviewed: Yes

Quality
Discussed care Plan with: Patient
Code Status: Full Code
Line Necessity Addressed: Yes
VTE Prophylaxis Ordered: Yes
Indwelling Foley Catheter: No

Impression and Plan
Assessment
Problem List:
(1) Aspiration pneumonia
Impression and Plan: -Swallow video studies done yesterday.
-Patient much more conscious than before(according to last notes)
-Patient therapy on board and recommend
Continue moist Puree diet level with Nectar thick liquids and extra gravy.
-ENT evaluated the patient yesterday and states that no intervention is required currently.
-Continue on IV ceftriaxone and metronidazole(D3). Will stop metronidazole on 03 according to infectious disease
recommendations.
(2) Suicide and self-inflicted poisoning by drugs and medicinal substances
Impression and Plan: -Patient came in with TCA overdose and suicidal attempt.
-Patient had acute hepatic failure and elevated liver enzymes.
-Patient continues to be in police custody with forelimbs handcuffed due to the same and some criminal history.
-Continue on one-on-one, patient has been 302 ed.
-Psychiatry on board appreciate their recommendations.
(3) Loculated pleural effusion
Impression and Plan: Patient underwent VATS procedure thoracotomy and decortication.
Surgery on board and have discontinued the thoracostomy tubes yesterday.
The effusion fluid grew--
    Organism 1              BETA HEMOLYTIC STREP C
      GROWTH                 MODERATE
    Organism 2              STAPHYLOCOCCUS AU REUS
      GROWTH                 RARE
    Organism 3              CULTURE IN PROGRESS

              STAAUREUS


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1031-0111
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD                  Document 15-11      Filed 05/03/18     Page 39 of 160

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                          Mercy Fitzgerald Hospital
                                     Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                             MR#: F001250247



                M.l.C.    RX

    TRIMET/SULFA <=10           S
    CLINDAMYCIN       0.25     S
    ERYTHROMYCIN <=0.25            S
    GENTAMICIN        <=0.5    S
    LEVOFLOXACIN 0.25           S
    LINEZOLID       2      S
    OXACILLIN       0.5     S
    TETRACYCLINE >=16            R
    VANCOMYCIN         1      S
Lorazepam for agitation.
Pain management--
- Acetaminophen 650 mg 04 for mild pain ( 1-3)
                - Tramadol q4 for severe pain
        Risperidone 2 mg BID PO.
(4) Oral thrush
Impression and Plan: -Resolving DC now statin and had topical clotrimazole.
(5) Bacteremia
Impression and Plan:
 continue IV abx
TEE- no vegetations.

(6) HIV (human immunodeficiency virus infection)
Impression and Plan: Patient's CD4 count is 254. We will continue HAART after he stabilizes. Infectious disease on
board,
Chronic Problems:


JADHAV,GAURAV P MD                                                             Oct 31, 2016 08:02

         <Electronically signed by GAURAV P JADHAV, MD> 11/02/16 1124




JADHGA I GJ I DD 10/31/16 0802 / DT 10/31/16 0802




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1031-0111
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD          Document 15-11       Filed 05/03/18       Page 40 of 160



                                              Mercy Fitzgerald Hospital
                                                    Psychiatric Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                               MR#: F001250247
ACCT: FA1307223089                           ADMIT DATE: 10/07/16
REPORT#: 1031-0351                           DOB: 03/06/1979
ROOM/BED: 411-02
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                              ***Signed Status***


Subjective
Encounter Date & Time
10131/16 15:40
Service: Psychiatry
Subjective
I am feeling better now
Appetite: Fair
Sleep: Fairly Good

Objective
                                       Vital Signs, Last Documented
         Date Time        Temp    PulseResp B/P          Pulse Ox 02 Deliverv     02 Flow Rate   Fi02
        10/31/16 10:31                                            Room Air
        10/31/16 09:00     37.1    100    20 108/54           100
        10/30/16 08:30                                                                    2.00
        10/29/16 10:36                                                                             40

Weight In Kg
80.00
                                                       Bedside Blood Glucose
10/31/16 11 :40: POC Glucose 89
Physical Exam
General: D
Head/Neck/Throat: []
Eyes: D
Thorax: [Report some pain where surgery was done]
Cardiovascular: []
Abdomen:[]
Musculoskeletal: []
Skin: []
Neurologic: D
Current Meds Reviewed: Yes
Labs Reviewed: Yes
                                                       Lab Results, CBC Diagram
10/31/16 04:00




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1031-0351
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD             Document 15-11           Filed 05/03/18       Page 41 of 160


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                        Mercy Fitzgerald Hospital
                                Psychiatric Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247



                                                         10.4
                                                         30.4

                                                           Lab Results, BMP Diagram
10/31/16 04:00


                                           ~13
                                             4126 0.9
Diagnostics Reviewed: Yes
Additional Comments
Mental status examination

Patient was seen in his room where he was lying in his bed fairly comfortably
He was pleasant and cooperative
His speech was slow and soft with goal-directed thought process
His affect was sad and constricted and mood depressed
He did not recall taking an overdose and denies that being an intentional overdose
He is aware of his legal issues and feels overwhelmed with that
He is not currently suicidal but does report feeling depressed
He has 3 children ages 2, 13 and 19 from the same mother
Prior to the hospitalization he was living with his sister and 13-year-old daughter
He has not been taking his psychotropic medication since he was last released from the prison in 2012
He does report fair response with amitriptyline and did not think that Prozac helped
He feels comfortable taking Risperdal at present
Fair insight and aware that he will be arrested once is medically cleared

Impression and Plan
Severity of Illness
1 :1 Observation: No
Change in Symptoms: Improving

Assessment
Axis I:
(1) Depression, major, recurrent, mild
Axis II:
Axis Ill:
Axis IV:
Patient Problems:
Plan
Patient still has some depression and will benefit with the addition of amitriptyline at bedtime
We'll start him with amitriptyline 50 mg at bedtime
I will stop his daytime Risperdal as he is not agitated or delirious anymore
I'll continue with bedtime Risperdal as adjunct amitriptyline and gradually wean it down if he appears sedated


PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1031-0351
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD                 Document 15-11      Filed 05/03/18     Page 42 of 160


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                        Mercy Fitzgerald Hospital
                                   Psychiatric Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                           MR#: F001250247



Patient does not require inpatient psychiatric treatment, once medically cleared he may be released to the police
custody
Patient was made aware of this and he is comfortable although not extremely happy about that with the fact that he
will be arrested after the discharge


MAQSOOD,TAHIR MD                                                             Oct 31, 2016 15:46

        <Electronlcally signed by TAHIR MAQSOOD, MD> 10/31/16 1546




MAQSTA /TM I DD 10/31/161546 / DT 10/31/16 1546




PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1031-0351
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD             Document 15-11          Filed 05/03/18       Page 43 of 160



                                                 Mercy Fitzgerald Hospital
                                                     Internal Med Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247
ACCT: FA1307223089                               ADMIT DATE: 10/07/16
REPORT #: 1101-0025                              DOB: 03/06/1979
ROOM/BED: 411-02
SEX: M
ATTENDING: LITTMAN, MARIO, MD
PCP: DOCTOR, NONE (FAMILY)

                                                 *** Signed Status ***

Subjective
Encounter Date & Time
11/1/16 06:10
Subjective
pt seen, resting well, no new issues or events

Objective
Patient Data
                                           Vital Signs, Last Documented
         Date Time        Temo     Pulse   Reso B/P          Pulse Ox 02 Deliverv      02 Flow Rate     Fi02
        10/31/16 21 :20    36.9     103       20 131/70           100 Room Air
        10/30/16 08:30                                                                           2.00
        10/29/16 10:36                                                                                    40

Weight in Kg
80.00
                                                          Bedside Blood Glucose
10/31/16 16:49: POC Glucose 99
Appearance: : No Acute Distress
Thorax: : Decreased Breath Sounds
Cardiovascular: : Regular Rate Rhythm
Abdominal Inspection: : Normal
Abdomen: : Bowel Sounds Noted: Soft

Impression and Plan
Problem List:
(1) Empyema
Impression and Plan: status post Mini thoracotomy, decortication, unroofing of pulmonary abscess, plan to
continue with Rocephin, need ID input to change to po then ok to de to police custody - tramadol Rx on chart,
clonazepam stopped
(2) Acute respiratory failure with hypoxia and hypercapnia
Impression and Plan: stable
(3) AKI (acute kidney injury)
(4) Suicide and self-Inflicted poisoning by drugs and rnedlclnal substances
Chronic Problems:




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1101-0025
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD                Document 15-11      Filed 05/03/18     Page 44 of 160

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                         Mercy Fitzgerald Hospital
                                   Internal Med Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                          MR#: F001250247




HAMID.SAMMY, MD                                                             Nov 1, 2016 06:11

        <Electronically signed by SAMMY HAMID, MD> 11/02/16 0428




HAMISA I SH I DD 11/01/16 0611/DT11/01/16 0611




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1101-0025
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD            Document 15-11          Filed 05/03/18        Page 45 of 160



                                                Mercy Fitzgerald Hospital
                                                    Prag ress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                 MR#: F001250247
ACCT: FA 1307223089                            ADMIT DATE: 10/07/16
REPORT#: 1101-0103                             DOB: 03/06/1979
ROOM/BED: 411-02
SEX: M
ATTENDING: LITTMAN.MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                ***Signed Status***


Subjective
Encounter Date & Time
11/1/16 08:38
Service: Internal Medicine
Subjective
Patient examined bedside. No new complaints, wonders when he can be discharged for jail.
Appetite: Good
Sleep: Fairly Good

Objective
                                          Vital Signs, Last Documented
         Date Time        Temp    Pulse   Resp B/P          Pulse Ox 02 Delivery     02 Flow Rate    Fi02
        10/31/16 21 :20    36.9    103       20 131/70           100 Room Air
        10/30/16 08:30                                                                        2.00
        10/29/16 10:36                                                                                 40

Weight in Kg
80.00
                                                           Bedside Blood Glucose
10/31/16 16:49: POC Glucose 99
Physical Exam
General: no apparent distress, appears stated age
HNT: moist mucous membranes
Eyes: sclera anicteric
Thorax: clear to auscultation bilaterally, equal expansion
cardiovascular: no jugular venous distension, no murmurs, pulse regular rate and rhythm
Abdomen: soft, non-tender, non-distended, bowel sounds noted
Extremities: no cyanosis, pulses 2+ bilaterally
Neurologic: alert/awake/oriented, grossly no abnormalities
Current Meds Reviewed: Yes
Medications

                                                         Medications Active List
      Medications            Dose                     Sig/Sch      Start Time        Status   Last Admin
                             Ordered                               Stop Time
      Enoxaparin Sodium      40 mg                    DAILY        10/11/1610:45              10/31/16 08:58




PATIENT: EFUN NUGA,OLUTOKUNBO
CC:
REPORT#: 1101-0103
REPORT STATUS: Signed
           Case 2:18-cv-00924-PD          Document 15-11        Filed 05/03/18    Page 46 of 160

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                        Mercy Fitzgerald Hospital
                               Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                    MR#: F001250247



      Dextrose               16 gm               PRN PRN        10/12/16 11 :45       10/12/16 12:41

      Dextrose/Water         12.5 gm             PRN PRN        10/12/1611:45

      Risperidone            2 mg                BID            10/15/16 12:15        10/31/16 23:44

      Polyethylene           17 gm               DAILY          10/20/16 11 :00       10/31/16 09:02
      Glycol
      Senna/Docusate         1 tab               BID            10/23/16 10:45        10/31/16 21:06
      Sodium
      Thiamine HCI           100 mg              DAILY          10/26/16 09:00        10/31/16 08:57

      Multivitamins          1 tab               DAILY          10/26/16 09:00        10/31/16 D8:56
      Therapeutic 1 tab
      Ceftriaxone Sodium     1DO ml@             DAILY          10/27/16 09:DO        10/31/16 08:56
                             100 mis/hr
      Acetaminophen          650 mg              Q4H PRN        10/27/16 08:30        10/31/16 19:02

      Metoprolol             6.25 mg             Q12            10/27/16 21 :DO       10/31/16 21 :D6
      Tartrate
      Clotrimazole           10 mg               5XD            10/27/16 16:DO         11/1/16 D0:10

      Insulin Human          SS LOW DOSE LOW     ACHS           10/29/16 11 :DO
      Lis pro                INTENSITY
                             SCALE: Bl. ..
      Tramadol HCI 5D mg     5D mg               Q4H PRN        10/29/16 17:30         11/1/16 D2:3D

      Sodium Chloride        1,000 ml@           Q13H20M        10/31/16 07:45        10/31/16 21 :18
                             75 mis/hr                          11/1/16 10:24

Labs Reviewed: Yes
                                                    Lab Results, CBC Diagram
11/1/16 06:59




                                                    Lab Results, BMP Diagram
11/1/16 06:59



                                          ~·~
                                          4125            0.9       102


Diagnostics Reviewed: Yes



PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT#: 1101-0103
REPORT STATUS: Signed
            Case 2:18-cv-00924-PD             Document 15-11           Filed 05/03/18         Page 47 of 160

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                        Mercy Fitzgerald Hospital
                                Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



Quality
Discussed care Plan with: Patient
Code Status: Full Code
Line Necessity Addressed: Yes
VTE Prophylaxis Ordered: Yes
Indwelling Foley catheter: No

Impression and Plan
Assessment
Problem List:
(1) Aspiration pneumonia
Impression and Plan: -Swallow video studies
-Patient much more conscious than before(according to last notes)
-Patient therapy on board and recommend
Continue moist Puree diet level with Nectar thick liquids and extra gravy.
-ENT evaluated the patient yesterday and states that no intervention is required currently.
-Continue on IV ceftriaxone and metronidazole discontinued.
We'll be shifted him to oral abx according to IDs recommendations before discharge.
(2) Suicide and self-inflicted poisoning by drugs and medicinal substances
Impression and Plan: -Patient came in with TCA overdose and suicidal attempt.
-Patient had acute hepatic failure and elevated liver enzymes.
-Patient continues to be in police custody with forelimbs handcuffed due to the same and some criminal history.
-Continue on one-on-one, patient has been 302 ed.
-Psychiatry on board appreciate their recommendations.
(3) Loculated pleural effusion
Impression and Plan: Patient underwent VATS procedure thoracotomy and decortication.
Surgery on board and have discontinued the thoracostomy tubes yesterday.
The effusion fluid grew--
    Organism 1              BET A HE MOLYT IC STREP C
      GROWTH                 MODERATE
    Organism 2              STAPHYLOCOCCUS AU REUS
      GROWTH                 RARE
    Organism 3              CULTURE IN PROGRESS

              STAAUREUS
              M.l.C. RX

      TRIMET/SULFA <=10      S
      CLINDAMYCIN    0.25   S
      ERYTHROMYCIN <=0.25 S
      GENTAMICIN    <=0.5   S
      LEVOFLOXACIN 0.25      S
      LINEZOLID   2       S
      OXACILLIN   0.5     S
      TETRACYCLINE >=16       R


PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1101-0103
REPORT STATUS: Signed
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                         Mercy Fitzgerald Hospital
                                    Progress Note

PATIENT: EFUNNUGA,OLUTOKUNBO                                            MR#: F001250247



    VANCOMYCIN               s
Lorazepam for agitation
Pain management--
- Acetaminophen 650 mg 04 for mild pain ( 1-3)
                - Tramadol q4 for severe pain
        Risperidone 2 mg BID PO.
(4) Oral thrush
Impression and Plan: -Resolving DC now statin and had topical clotrimazole
(5) Bacteremia
Impression and Plan:
 continue IV abx
TEE- no vegetations.

(6) HIV (human immunodeficiency virus infection)
Impression and Plan: Patient's CD4 count is 254. We will continue HAART after he stabilizes. Infectious disease on
board,
Chronic Problems:


JADHAV,GAURAV P MD                                                            Nov 1, 201608:40

         <Electronically signed byGAURAV P JADHAV, MD> 11/02/161125




JADHGA I GJ I DD 11/01/16 0840 IDT 11/01/16 0840




PATIENT: EFUNNUGA,OLUTOKUNBO
cc:
REPORT #: 1101-0103
REPORT STATUS: Signed
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                                                  Mercy Fitzgerald Hospital
                                                       Infectious Disease Progress No

PATIENT: EFUNNUGA,OLUTOKUNBO                                   MR#: F001250247
ACCT: FA1307223089                               ADMIT DATE: 10/07/16
REPORT #: 1101-0335                              DOB: 03/06/1979
ROOM/BED: 411-02
SEX: M
ATTENDING: LITTMAN, MARIO, MD
PCP: DOCTOR.NONE (FAMILY)

                                                  *** Signed Status ***


Subjective
Encounter Date & Time
11/1/1615:13
Service: Infectious Disease
Subjective
Pt alert, hoarseness of voice diminished, oral intake and appetite intact, no fever, rigors, TM 98.8, no HA visual
changes persistent sore throat dyspnea or chest pain, pt w/o diarrhea, or abdominal discomfort

Objective
Patient Data
                                           Vital Signs, Last Documented
           Date Time       Temp    Pulse   Resp B/P         Pulse Ox 02 Delivery         02 Flow Rate     Fi02
          11/1/16 11 :53                                             Room Air                    2.00       40
          11/1 /16 10:00    37.3     108      18 115/64          100

Weight in Kg
80.00
                                                            Bedside Blood Glucose
11/1/1611:26: POC Glucose 120

Physical Exam
Tm 98.8

a/ox3

anicteric oropharynx exudate diminished, former CT site right thorax w/o spreading erythema or discharge,
decreased bs right lung abd active bs nontender no guarding or pulsation iv access sites w/o induction sir io ntact no
edema or joint swelling Neuro no tremor appreciated en intact ms 5/5 upper and lower plantars down no sensory
deficits

Results
                                                            Lab Results, CBC Diagram
11/1/16 06:59




PATIENT: EFUNNUGA,OLUTOKUNBO
CC:
REPORT#: 1101-0335
REPORT STATUS: Signed
             Case 2:18-cv-00924-PD                  Document 15-11      Filed 05/03/18        Page 50 of 160

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                          Mercy Fitzgerald Hospital
                                     Infectious Disease Progress No

PATIENT: EFUNNUGA,OLUTOKUNBO                                              MR#: F001250247



                                                              Lab Results, BMP Diagram
11/1/16 06:59




c/s reviewed
Imaging
CxR(my reading): diminished right effusion, no progressive consolidation

Impression and Plan
Plan

bacteremia: strep mitis, repeat blood c/ sterile, TEE= n o vegetations or valvular abnormality, resolved
pneumonia: aspiration, resolved
right empyema sip decortication and drainage 10/24, polymicrobial, resolving
HIVD: moderately advanced, CD4 240-300 Discussed previous evaluations a tDCMH where pt prescribed 8/16
combination Triumeq
elevated temperature: recurrent, presently resolved, new els sterile
confusion: resolv3e
leukocytosis: follow response to intervention
candidiasis: oropharyngeal switch to topical clotrimazole
abx mgmt:recommend 1) transition to oral systemic cephalexin (500 mg po q6h) and metronidazole (500 mg po
q12h) for two weeks, 2) clinical evaluation in thoracic surgery clinic in two weeks, 3) oral clotrimazole troches four per
day until thrush resolved, 4) Triumeq one tab daily 5) clinical observation at DCMH HIV clinic in four weeks
discussed clinical presentation with pt and floor medical staff


GILBERT.MARK, MD                                                                  Nov 1, 201615:20

         <Electronically signed by MARK GILBERT, MD> 11/01/16 1535




GILBMA I MG I DD 11/01/16 1520 I OT 11/01116 1520




PATIENT: EFUN NUGA,OLUTOKUNBO
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REPORT#: 1101-0335
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                        Case 2:18-cv-00924-PD                   Document 15-11                 Filed 05/03/18             Page 51 of 160



                                                       Pre -Procedural History and Physical Verification
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                            No Interval Changes

                - - Changes N o t e d - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




                                                                               Patient Verification

                I have Identified the patient on the procedure table

                Attending Procedurallst                                                                    Date                       Time

                                                                              Post Procedural Note

                Operative Note


                PREOPERATIVE DIAGNOSIS:



                POST-OPERATIVE DIAGNOSIS




                NAME OF SURGEON/ASSISTANTS



                PROCEDURE:




                FINDINGS:




                SPECIMEN REMOVED:

                EBL:                                                                                              FLUIDS:       \ ~~ L       L.f<.
                COMPLICATIONS:

                The LIP Signature also Indicates orders for medications gh•e during procedure.




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                                                     Pre -Procedural History and Physical Verification
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                                                                                                                  Page 63 of 160




                               No Interval Changes

                  _           Changes Noted




                                                                                 Patient Verification

                  I have fdenUfled the patient on the procedure table

                  Attending Proceduralfst                                                                Date

                                                                                 Post Procedural Note

                  Operative Nate

                  PREOPERATIVE DIAGNOSIS:



                  POST-OPERATIVE DIAGNOSIS                                          '    ',

                 NAME OF SURGEON/ASSISTANTS



                 PROCEDURE:


                                                                                                                      ...•
                ANDINGS:              /J
                SPECIMEN REMOVED:

               EBL:                                                                                         FLUIDS:

               COMPLICATIONS:

               The UP Signature also Indicates orders for medications give during procedure.

               Signature:                                                                               oateffi
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                                                              DOB: 03/06/1979 37   M
                                                              ADM: 10/07/16
                                                              ACC:FA1307223089 MR:F001250247

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                                                                           INTERDISCIPLINARY INTEGRATED PROGRESS NOTES




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        VMercy Fitzgerald Hospital                                                                                 EFUNNUGA, OLUTOKUNBO-
             AmembercA Mercy Healh ~em
                                                                                                                   DOB: 03/06/1979         37Y      M
                                                                                                                   Adm: 10/7/2016
        INTERDISCIPLINARY PROGRESS NOTES                                                                           Ace: FA1307223089             MR#: F001250247

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                                                                                         PGN X PROGRESS
     Case 2:18-cv-00924-PD           Document 15-11                     Filed 05/03/18                        Page 67 of 160


          •               •                                                                          •                   •
                                     EFUNNUGA,OLUTOKUNBO
                                     DOB; 03/06/1979                    37          M
                                     ADM: 10/07/16


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              Case 2:18-cv-00924-PD                     Document 15-11                              Filed 05/03/18                Page 68 of 160

                                MERCY HEALTH SYSTEM LABORATORY
                                   MERCY FITZGERALD HOSPITAL
                                     1500 L\HSDOVHE AVENUE
                                DARBY. PA 19023    (610)237-4742
                             SAMU HENIEN. M. D.  MEDICAL DIRECTOR
                                                       llBORATORY REPORT
NAME:EFUNNUGA.OLUTOKUNBO                                 DOS:  10/07/16                                                   LOC:FI4PVA
AGE/SEX:37/M      DOB:03/06/l979                         ACCT: FA1307223089                                               MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD

KEY H - Abn High         *H - Critical High                                * - High or Low(Alpha results)                                 # - Delta Check
    L - Abn Low          •L - Critical Low                                 * - Microbiology Abn Result
                                                                       HEMATOLOGY

     Date                             NOV 1                          OCT 31                   OCT 30
     Time                              0659                           0400                     1118                      Reference        Units

=> WHITE BLOOD COUNT         I         :1.2:s: El            J••      1~:1           HJ••       16,B             H        (4.5-11.0)       Thou/uL
                             I                               I                       L I
=) RED BLOOD COUNT
=) HEMOGLOBIN
= > HEMATOCRIT
                             I
                                       3: 06 l
                                       i6.4
                             l.:::·::ii2i8i:ii7(ii L:
                                                       LI iiiii;3tiii4iiiii
                                                                      3: 29
                                                                1.6.411 ii.5
                                                                            ]fi:f . ... ·i···
                                                                                                3: 61

                                                                                            ·····i:i~;;·7;
                                                                                                                 L
                                                                                                                 L
                                                                                                                          (4.70-6.10)
                                                                                                                          (13.5-17.5)
                                                                                                                          (41.0-53.0)
                                                                                                                                           Mill/Ul
                                                                                                                                           g/dL
                                                                                                                                           %
=) MCV                       I         94.o                  1·       92.3             I           93.1                   (80-100)         fl
=) MCH                       I         34:0            H I            31. 4            I           31. 7             I    (28.4-32.0)      pg
=> MCHC                      I         36:1            H I            34. 1            I           34 .1             I    (32.6-34.8)      g/dL
=> RDW                       I         1~.n                  l        14.1             I           13.7             I     (11. 5-14. 5)    Y.
=> PLATELET COUNT            I $35($) #Jll•••···                        651 HJ                      @2           II l     (150-450)        THOU/UL
=)   MPV                     I           7.8                 I          7.9            I            8.1             I     (7.4-10.4)       fl


     Date                             OCT 29                         OCT 28                   OCT 27
     Time                              0626                           0620                     0605                      Reference        Units
=)  WHITE BLOOD COUNT        I        14 ;: 1      •   H l            l 3 ·' 5       H I        22 .8   ;        H I (4.5-11.0)            Thou/uL
    RED BLOOD COUNT                                    L.I           . 2 98                    .                 L . (4.70-6.10)           Mill/Ul
=)                           I        . 3 l.. 6'                                     L l•       3 D9
                                      10 l . L I                      . 9., 7.                      •

=)  HEMOGLOBIN               I                                                       L I        10 .. 0          L . (13.5-17.5)           g/dL
                                                                                     L I . 29 ~.
                                                                 •
                                                                                 •
=> HEMATOCRIT                I         2'? .. 1        L I            28 3      L                                         (41.0-53.0)      %
= > MCV                      I          92 4          I               95 0        I    I   94 6                           (80-100)         fl
=) MCH                       I         .32 ... 1 . .H I. 32 7 • H I . 32 3 . H                                            (28.4-32.0)      pg
=) MCHC
=) RDW
                             I
                             I
                                        34 8
                                        13 8
                                                      I
                                                      I
                                                           34 4
                                                           13 8
                                                                        I
                                                                        I
                                                                          34 1
                                                                          14 1    I
                                                                                                             •

                                                                                                                     I    (32.6-34.8)
                                                                                                                          (11. 5-14. 5)
                                                                                                                                           g/dL
                                                                                                                                           Y.
=) PLATELET COUNT            I        . 5 Bl        H I .. 52 8 . • H . I  53 5 H                                         (150-450)        THOU/UL
=) MPV                       I
                                  •

                                         8 3          I
                                                         •

                                                            8 7         I  8 9                                       I    (7.4-10.4)       fl


     Date                         OCT 26                             OCT 25                   OCT 24
     Time                          0545                               0555                     0450                      Reference        Units
=)   WHITE BLOOD COUNT                                                                        • 2'.L2            H        ( 4. 5-11. 0)    Thou/uL
=>   RED BLOOD COUNT                                                                            3:56             I        (4.70-6.10)      Mill/Ul
=)   HEMOGLOBIN                                                                                 lLB              I        (13.5-17.5)      g/dL
=>   HEMATOCRIT                                                                                    3L2           L        (41.0-53.0)
=)   MCV                                                                                           93.4                   (80-100)         fl

NOTES:      (a)   CONFIRMED IN DUPLICATE


                    NlME: EFUNNUGA,OLUTOKUNBO                                                       UNIT: F001250247
                                                                                                    ACCT: FA1307223089
                    PRINTED:l2/07/l6 0001                                                           PAGE:   1 ** CONTINUED ON NEXT PAGE **
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                             MERCY HEALTH SYSTEM LABORATORY
                                MERCY FITZGERALD HOSPITAL
                                  1500 I.AHSOOVHE .A.VENUE
                             DARBY. PA 19023     (610)237-4742
                          SAMU HENIEN. M_D_    MEDICAL DIRECTOR
                                             L\BORATORY REPORT
NAME:EFUHNUGA.OLUTOKUHBO                         DOS:  10/07/16                                         LOC:FI4PVA
AGE/SEX:37/M      DOB:03/06/l979                 ACCT: FA1307223089                                     MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD
KEY H - Abn High       *H - Critical High                    * - High or Low(Alpha results)                                     # -   Delta Check
    L - Abn Low        *L - Critical Low                     * - Microbiology Abn Result

                                                 HEMATOLOGY CONTINUED

   Date                         OCT 26                 OCT 25                      OCT 24
   Time                          0545                   0555                        0450               Reference                Units
=> MCH                                                                                                                           pg
                                 ;rr·~ 1····· ;~:~                                  ;~:~ :
                                                                                                        (28.4-32.0)
=> MCHC                    1                                         H    1                             (32.6-34.8)              g/dL
=> RDW                     I     13.8            I       13.9             I         13.7                (11.5-14.5)              Y.
=> PLATELET COUNT          I      521       Hl            593        H l             549      H j       (150-450)                THOU/UL
=> MPV                     I      9.o            I     . 9.4                         8.7           I    (7.4-10.4)               fl
=> NEUTROPHILS             I                     I                                  BLO       HJ        (42.0-75.0)              Y.

                                                                                     F~
                                                                                              1
=> LYMPHOCYTE
=> MONOCYTES
= > EOSINOPHIL
                           II                    II                                  1. o
                                                                                                   lI   (18.0-44.0)
                                                                                                        (0.0-18.0)
                                                                                                        (0.0-5.0)
                                                                                                                                 Y.
                                                                                                                                 Y.
                                                                                                                                 Y.
=> NEUTROPHILS #           I                     I                            ·•   19:0       H I       (1.8-8.0)                Thou/uL
=> LYMPHOCYTE :ft          I                     I                                   1. 4          I    (1.2-4.2)                Thou/uL
=> MONOCYTE #
=> EOSINOPHIL :ft          I                     I                                 < 6:~      H    I    (0.0-1.0)
                                                                                                        (0.0-0.7)
                                                                                                                                 Thou/uL
                                                                                                                                 Thou/uL

   Date                         OCT 23                 OCT 22                      OCT 21
   Time                          0500                   0513                        0500               Reference                Units
=> WHITE BLOOD COUNT       1•24,J••HI                    3L6#lll•••2L6H                                 ( 4 . 5-11. 0)           Thou/uL
=> RED BLOOD COUNT         I • 3c4~ :L l                3<7:B   L l•• 3<6] I:                           (4.70-6.10)              Mill/Ul
=> HEMOGLOBIN              I • 11: 2 •• L I              12 : 4 L l •• 12 : 1 L                         (13.5-17.5)              g/dL
=> HEMA TOCRIT             I • J2.'7 i l                35.f Ll                     %:0       L         (41. 0-53. 0)            Y.
=> MCV                     I 94.6         I             93.6  I                     95.3           I    (80-100)                 fl
=> MCH                     I     32:S:      H I•        32;9 H l••                 3LO H ••j            (28.4-32.0)              pg
=> MCHC                    I    3 4 . 4 .....    1.•    35, 2 H 1··                :ff. 6               (32.6-34.8)             g/dL
=> RDliJ                   I     13 . 5          I ..... 13: 8         I            13 . 5      I       (11.5-14.5)             Y.
=> PLATELET COUNT          I      5Z6 . H I                GZO       H 1             540      H j       (150-450)               THOU/UL
=> MPV                     I      8.9     I                8.6            I          8.9           I    (7.4-10.4)               fl


   Date                         OCT 20                 OCT 19                      OCT 18
   Time                          0415                   0545                        0545               Reference                Units
=> WHITE BLOOD COUNT                Hl• 20;0 H
                                 15:'7                                                   19;7 H                   (4.5-11.0)    Thou/uL
=> RED BLOOD COUNT               r 4 :J
                                    L 1-•• --.••. . . 3........-s---2-i;,......·•...;---...3-•••~s~6--.•.-i--1••• (4.70-6.10)   Mill/Ul
=> HEMOGLOBIN                   JL4 1 I•• 1i;e 1                                          n:7 r                   (13.5-17.5)   g/dL
=> HEMATOCRIT                    32;~       l    I•      3~:4        L              34:1      l         (41.0-53.0)
=> MCV                           94.3            I       94.7                       95.8                (80-100)                 fl

               NAME: EFUNNUGA,OLUTOKUNBO                                             UNIT: F001250247
                                                                                     ACCT: FA1307223089
               PRINTED:l2/07/l6 0001                                                 PAGE:   2 ** CONTINUED ON NEXT PAGE **
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                               MERCY HEALTH SYSTEM LABORATORY
                                  MERCY FITZGERALD HOSPITAL
                                    1500 I.ANSOOVNE AVENUE
                               DARBY. PA 19023     (610)237-4742
                           SMIIA HENIEN. M. D.   MEDICAL DIRECTOR
                                                         LABORATORY REPORT
NAME:EFUHHUGA,OLUTOKUNBO                                        DOS:  10/07/16                                         LOC:FI4PVA
AGE/SEX:37/M      DOB:03/06/l979                                ACCT: FA1307223089                                     MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD

KEY H - Abn High        *H - Critical High                               * - High or Low(Alpha results)                              # - Delta Check
    L - Abn Low         *L - Critical Low                                * - Microbiology Abn Result
                                                                HEMATOLOGY CONTINUED

   Date                            OCT 20                            OCT 19              OCT 18
   Time                             0415                              0545                0545                        Reference      Units

= > MCH                     I        33:4                H I ..... ...33:5
                                                                        ........             33:0 Ii I (28 4-32 0)
                                                                                 Ji J ..................                                pg
= > MCHC                             35:4                           35: 4 H j
                                                         H l ................                34 5        I (32 6-34 8)                  g/dL
= > RDVJ                             13 5                  I 13 4                    I       13 6        I ( 11 5-14 5)                 %
=> PLATELET COUNT                . ·: 554                H l•• •••••:••S31 H l••···· 520 H                 (150-450)                    THOU/UL
= > MPV
= > NEUTROPHILS
                                      8 6                  I
                                                           I
                                                                       8 6           1··
                                                                                     I
                                                                                                8 7
                                                                                             83:3 H I (42 0-75 0)
                                                                                                                  I
                                                                                                           (7 4-10 4)                   fL
                                                                                                                                        %
= > LYMPHOCYTE                                             I                                    El 2 L I (18 0-44 0)
                                                                                     I ....... 7::4                                     %
= > MONOCYTES                                              I                         I                   I ( 0 0-18 0)                  %
= > EOSINOPHIL                                             I                         I          0 7      I (0 0-5 0)                    %
= > BASOPHIL                                               I                         I          0 4      I (0 0-2 0)                    %
= > NEUTROPHILS #                                          I                         I 16<4 H              (1 8-8 0)                    Thou/uL
=> LYMPHOCYTE #
= > MONOCYTE #
                                                           I
                                                           I
                                                                                     I
                                                                                     1•·:•:
                                                                                                1 5
                                                                                                L6 H I (0 0-1 0)
                                                                                                                  I
                                                                                                           (1 2-4 2)                    Thou/uL
                                                                                                                                        Thou/uL
= > EOSINOPHIL #                                           I                         I          0 1      I (0 0-0 7)                    Thou/uL
=> BASOPHIL #                                              I                         I          0 1      I (0 0-0 5)                    Thou/uL


   Date                            OCT 17                            OCT 16              OCT 15
   Time                             0550                              0515                0534                        Reference      Units

= > WHITE BLOOD COUNT       I         18:3 H I                       :.:17•:•6< H I      14:0 H                        (4 5-11 0)       Thou/uL
= > RED BLOOD COUNT         I         3.ifa i I                       3.!:fa L. l . :...............
                                                                                         3c5::1 L                      (4 70-6 10)      Mill/Ul
=> HEMOGLOBIN               I         1.1.. ~ L . I                     lL8 1 I         1L5 L                          (13 5-17 5)      g/dL
= > HEMATOCRIT              I         35,z I I     34.4 I l       34;5 :t I                                            (41 0-53 0)      %
= > MCV                     I          96      4     96 2       I
                                                                I 97 7     I                                           (80-100)         fL
= > MCH                     I         32:~ :e: I     J2: 9 Ji I < 32:5 H I              ····· . . . . . . .            (28 4-32 0)      pg
                                               I ····34 T
                                                     ........
= > MCHC                    I         33 8                    l   '.3'.3 3 I                                           (32 6-34 8)      g/dL
=) RDVJ                     I         13 5     I     13 4       I 13 8     I                                           (11 5-14 5)      %
= > PLATELET COUNT          I         464                I:I j          371        I            297               I    (150-450)        THOU/UL
= > MPV                     I         8 8                       I       9 0        I            9 1               I    (7 4-10 4)       fL
=> NEUTROPHILS              I      84:3                  H l           86: i[ H i•• 79:7                      H        (42 0-75 0)      %
= > LYMPHOCYTE
= > MONOCYTES
= > EOSINOPHIL
                            I
                            I
                            I
                                      6:2
                                      8 1
                                      1 2
                                                         L 1••
                                                                I
                                                                I
                                                                       JL5. L 1:• < 8:6
                                                                        7 2
                                                                        0 6
                                                                                   I
                                                                                   I
                                                                                                9 6
                                                                                                1 9
                                                                                                              L
                                                                                                                  I    (18 0-44 0)
                                                                                                                       (0 0-18 0)
                                                                                                                       (0 0-5 0)
                                                                                                                                        %
                                                                                                                                        %
                                                                                                                                        %
= > BASOPHIL                I         0 2                       I       0 3        I            0 2                    (0 0-2 0)        %
= > NEUTROPHILS #           I ................
                                  15:4                  JI I••         15 2    a I ·······11:2
                                                                                           .........          H        (1 8-8 0)        Thou/uL
= > LYMPHOCYTE #
= > MONOCYTE #
                            I..
                            I
                                     1::1.
                                   •' 1: 5
                                ..................
                                                         l      +   ;:: 1 0
                                                         H I•• ''•••••• 1 3
                                                                               L I         1 2
                                                                               a I .. :. 1:3                  H
                                                                                                                       ( 1 2-4 2)
                                                                                                                       (0 0-1 0)
                                                                                                                                        Thou/uL
                                                                                                                                        Thou/uL

               NAME: EFUNNUGA,OLUTOKUNBO                                                        UNIT: F001250247
                                                                                                ACCT: FA1307223089
               PRINTED:l2/07/l6 0001                                                            PAGE:   3 ** CONTINUED ON NEXT PAGE **
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                              MERCY HEALTH SYSTEM LABORATORY
                                 MERCY FITZGERALD HOSPITAL
                                   1500 I.ANSDOVHE A.VENUE
                              DARBY. PA 19023     (610)237-4742
                           SAMU HENIEN. 11. D.  MEDICAL DIRECTOR
                                             LABORATORY REPORT

NAME:EFUHNUGA,OLUTOKUNBO                          DOS: 10/07/16                                 LOC:FI4PVA
A.GE/SEX:37/M     DOB:03/06/l979                  ACCT: FA1307223089                            MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD

KEY H - Abn High       *H - Critical High                   * - High or Low(Alpha results)                    # - Delta Check
    L - Abn Low        *L - Critical Low                    * - Microbiology Abn Result

                                                  HEMATOLOGY CONTINUED

   Date                            OCT 17               OCT 16               OCT 15
   Time                             0550                 0515                 0534             Reference      Units

=> EOSINOPHIL #                      0.2                  0.1                  0.3         I co.o-0.7)           Thou/uL
=> BASOPHIL #                        0.0                  0.1                  0.0         I <o. o-o. 5 >        Thou/uL


   Date                            OCT 14               OCT 13               OCT 12
   Time                             0555                 0600                 0540             Reference      Units
=> WHITE BLOOD COUNT
=> RED BLOOD COUNT
=> HEMOGLOBIN
=> HEMA TOCRIT
=> MCV
                           I        10.9          I

                           : i2~i [ : ii~.: ~ : i~~!
                                                         10.9


                           :1···· ~~:~ l 1l•. ~~:~ L:l•• .. '3'3:0·•·•
                                                                       I      10.3

                                                                                      ll   I ( 4. 5-11. 0)
                                                                                                (4.70-6.10)
                                                                                                (13.5-17.5)
                                                                                                (41.0-53.0)
                                                                                                (80-100)
                                                                                                                 Thou/uL
                                                                                                                 Mill/Ul
                                                                                                                 g/dL
                                                                                                                 %
                                                                                                                 fL
=> MCH                              32:5     H              33.4. :H j
                                                         32.8 .H                                (28.4-32.0)      pg
=> MCHC                    I        33.o          I      33.5       I         33.7         I    (32.6-34.8)      g/dL
=> RDW                     I        13.9          I      13.5       I         13.8         I    (11.5-14.5)      %
=> PLATELET COUNT          I         262          I       194       I          170         I    (150-450)        THOU/UL
=> MPV                     I         9.4          I       9.6       I          9.7         I    (7.4-10.4)       fL
=> NEUTROPHILS             I       77 : O    H I ••     76:0      H I ••      BL 5    H         (42.0-75.0)      %
=> LYMPHOCYTE              I         7:5     LI           a:o     L J        <6,6     I,        (18.0-44.0)    %
=> MONOCYTES               I    11.2           I           4.0       I        10.6              (0.0-18.0)     %
=> EOSINOPHIL              I     3.9              1••••••••••7:0 ••H I         1.1         I    (0.0-5.0)      %
=> BASOPHIL                I     0.4              I                    I       0.2         I    (0.0-2.0)      %
=> NEUTROPHILS #
=> LYMPHOCYTE #
                           1. <  8:4         H I          8:3 < H   +          BA     H I       (1.8-8.0)     Thou/uL
                           I         d.$. Ll••••••••.•0:9 •. Ll••              0'7 Lj           (1.2-4.2)     Thou/uL
=> MONOCYTE #              1···      r.z•.:e:1········a.4           1••       .t.l..R!          (0.0-1.0)     Thou/uL
=> E05INOPHIL #            I ..      ci.4         I       Q,8     a 1·         o:i    I (0.0-0.7)             Thou/uL
=> BASOPHIL #              I         o. o         I                    I       o. o        I (0.0-0.5)        Thou/uL

   Date                            OCT 11               OCT 10               OCT 9
   Time                             1910                 0445                 0530             Reference      Units
=> WHITE BLOOD COUNT       I       1L3       H I          7. 7         1•·   lLB H       ( 4 . 5-11. 0)       Thou/uL
=> RED BLOOD COUNT         1····    L69      L l         Tel      L 1••      4;24 L      (4.70-6.10)          Mill/Ul
=> HEMOGLOBIN              I        12:1 • LT            13: 0    Ll          14. 2      (13.5-17.5)          g/dL
=> HEMATOCRIT              I        36; (I   Ll          37; 4    L I         42. 0    I (41. 0-53. 0)
=> MCV                     I        97.7        I        98.3          I      99.o     I (80-100)                fL
=> MCH                     I       '.3?< 7   Ji l .••   ;34: :2   H I         33 : 5 H I (28. 4-32. 0)         pg

                  NAME: EFUNNUGA,OLUTOKUNBO                                   UNIT: F001250247
                                                                              ACCT: FA1307223089
                  PRIHTED:l2/07/l6 0001                                       PAGE:   4 ** CONTINUED ON NEXT PAGE **
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                              MERCY HEALTH SYSTEM LABORATORY
                                 MERCY FITZGERALD HOSPITAL
                                   1500 L\HSOOVHE AVENUE
                              DARBY. PA 19023    (610)237-4742
                          SAMIA HENIEN. K.D.   MEDICAL DIRECTOR
                                              LABORATORY            REPORT
NAME:EFUHNUGA.OLUTOKUNBO                        DOS:  10/07/16                            LOC:FI4PVA
AGE/SEX:37/M      DOB:03/06/l979                ACCT: FA1307223089                        KR: F001250247
ATTEND DR: LITTMAN.MARIO, MD
KEY H - Abn High       *H - Critical High                      * - High or Low(Alpha results)          # - Delta Check
    L - Abn Low        *L - Critical Low                       * - Microbiology Abn Result
                                                HEMATOLOGY CONTINUED
   Date                          OCT 11                  OCT 10            OCT 9
   Time                           1910                    0445              0530         Reference     Units

=> MCHC                    I         33   s      I        34    sI           33 9    I (32 6-34 8)         g/dL
=> RDW                     I         13 3        I        13 1   I           13 6    I (11 5-14 5)
=> PLATELET COUNT          I          167        I   H     133 1 I L ·j (150-450)
                                                                              142                          THOU/UL
=> MPV                     I          9 9        I        10 o
                                                          10 3   I      (7 4-10 4)                         fl
=> NEUTROPHILS             I.        so: 7 H I 84:1 H I 82: B · H J (42 0-75 0)
=> LYMPHOCYTE              I          'iLl L 1.10:3 .il   fa .. 5 '.L) (18 0-44 0)
=> MONOCYTES               I          9 4       I 5 3 I    5 6        I (0 0-18 0)
=> EOSINOPHIL              I          o 6       I o 2 I    o o        I (0 0-5 0)
= > BASOPHIL               I          o2        I o1  I    o1         I (0 0-2 0)
=> NEUTROPHILS #           I          9: 1 ·· H I 6 4 I • 9: 8 H ••1 (1 8-8 0)                             Thou/uL
=> LYMPHOCYTE :ft          I         . l:llLJ•• ••••••••0:8 I I              1 4          (1 2-4 2)        Thou/uL
=> MONOCYTE #              I           Ll H. I        o 4     I               o7     I (0 0-1 0)           Thou/uL
=> EOSINOPHIL #            I           o 1    I       o o     I               o o    I (0 0-0 7)           Thou/uL
=> BASOPHIL #              I           oo     I       oo      I               oo     I (0 0-0 5)           Thou/uL


   Date                          OCT 8                   OCT 7
   Time                           0510                    0732                           Reference     Units
=> WHITE BLOOD COUNT                 J3: ~ H l             7. 6        I             I (4.5-11.0)          Thou/uL
=> RED BLOOD COUNT                    4 '20. • L I        4. 7 6       I             I (4.70-6.10)         Mill/Ul
=> HEMOGLOBIN                        13.7 #      I        16.3         I             I (13.5-17.5)         g/dL
=> HEMATOCRIT                        41.o    I   46.7                  I             I (41. 0-53. 0)       %
=> MCV                               97.6    I   98.1                  I             I (80-100)            fl
=> MCH                               32; 6 R I • 34; 2 H l                           I (28.4-32.0)         pg
=> MCHC                         Hu   33. 4   I . 34.' 9 a !                          I (32.6-34.8)         g/dL
=> RDW                               13.o    I   l.3.6    I                          I (11. 5-14. 5)       %
=> PLATELET COUNT                     158    I     184    I                          I (150-450)           THOU/UL
=> MPV                               10.0    I     9.4    I                          I (7.4-10.4)          fl
=> NEUTROPHILS                                   I••      77: o H j                  I (42.0-75.0)         %
=> LYMPHOCYTE                                                       i l              I (18.0-44.0)         %
=> MONOCYTES                                     I         6.1        I              I (0.0-18.0)          %
=> EOSINOPHIL                                    I         o. 4        I             I (0.0-5.0)           %
=> BASOPHIL                                      I         o.3         I             I (0.0-2.0)           %
=> NEUTROPHILS #                                 I         5.9         I             I (1.8-8.0)           Thou/uL
=> LYMPHOCYTE :ft                                I         1.2         I             I (1.2-4.2)           Thou/uL
=> MONOCYTE #                                    I         o.5         I             I (0.0-1.0)           Thou/uL
=> EOSINOPHIL #                                  I         o.o         I             I (0.0-0.7)           Thou/ul

               NAME: EFUNNUGA.OLUTOKUNBO                                     UNIT: F001250247
                                                                             ACCT: FA1307223089
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                                 MERCY HEALTH SYSTEM LABORATORY
                                    MERCY FITZGERALD HOSPITAL
                                  1500 I.AHSOOVHE AVENUE
                             DARBY. PA 19023     (610)237-4742
                          SAMU HENIEN. M. D.   MEDICAL DIRECTOR

                                        LABORATORY REPORT

NAME:EFUHNUGA.OLUTOKUNBO                    DOS:  10/07/l 6                           LOC:FI4PVA
AGE/SEX:37/M      DOB:03/06/l979            ACCT: FA1307223089                        MR: F001250247
ATTEND DR: LITTMAN.MARIO. MD

KEY H - Abn High     *H - Critical High             * - High or Low(Alpha results)                  # - Delta Check
    L - Abn Low      *L - Critical Low              * - Microbiology Abn Result

                                            HEMATOLOGY CONTINUED

   Date                         OCT 8          OCT 7
   Time                          0510              0732                           Reference         Units

=> BASOPHIL #                                       0.0                       I <o. o-o. 5)            Thou/uL



   Test            Day   Date       Time           Result         Reference               Units
=> NUCLEATED RBC%   7    OCT 13     0600                  1.0                             %
=> BAND             7    OCT 13     0600                  3.0     (0.0-4.0)               %
=> BAND            18    OCT 24     0450                  4.0     (0.0-4.0)               %
=> MYELOCYTE        7    OCT 13     0600                  2.0                             %
=> BAND#            7    OCT 13     0600                  0.3                             Thou/uL
=> BAND#           18    OCT 24     0450                  0.9                             Thou/uL
=> MYELOCYTE#       7    OCT 13     0600                  0.2                             Thou/uL
= > PLT ESTIMATE   18    OCT 24     0450      INCREASED           (NORMAL)
=> POLYCHROMAS IA  18    OCT 24     0450                   1+
=> HYPOCHROMASIA    7    OCT 13     0600                   1+
=> ANISOCYTOSIS    18    OCT 24     0450                   1+
=> MICROCYTOSIS     7    OCT 13     0600                   1+
=> MACROCYTOSIS     7    OCT 13     0600                   1+
=> MACROCYTOSIS    18    OCT 24     0450                  FEliJ
=> TARGET CELLS    18    OCT 24     0450                1+
=> Prothrombin Tim 1     OCT 7      0732              14.1        (11.3-15.3)             SECONDS
=> Prothrombin Tim 14    OCT 20                                                           SECONDS

                                               +!!.! ! Im !=H!l
                                    0415
=> Prothrombin Tim 15    OCT 21     0500                                                  SECONDS
=> Prothrombin Tim 18    OCT 24     0450                                                  SECONDS
=> Prothrombin Tim 19    OCT 25     0829      > ij'ij. :1(11.3-15.3)                      SECONDS
=> Prothrombin Tim 20
=> Prothrombin Tim 21
=> INR              1
                         OCT 26
                         OCT 27
                         OCT 7
                                    0545
                                    0605
                                    0732
                                                 h:;••; I~ii:~=i~:~~
                                                          1.2     (0.8-1.2)
                                                                                          SECONDS
                                                                                          SECONDS
=> INR             14    OCT 20     0415    ~~~~~~ (0. 8-1.2)
=> INR             15    OCT 21     0500                          (0.8-1.2)
=> INR             18    OCT 24     0450    ~~~~~~;.;.;.e         (0.8-1.2)
=> INR             19    OCT 25     0829    _ _ _ _ _......,.,._. ((0.8-1.2)
                                                                    0. 8-1 . 2)
=> INR             20    OCT 26     0545
=> INR             21    OCT 27     0605    -~~--~·· (0.8-1.2)
=> PTT              1    OCT 7      0732             (24.0-39.0)                          SECONDS
=> PTT             20    OCT 26     1238             (24.0-39.0)                          SECONDS


                NAME: EFUNNUGA.OLUTOKUNBO                          UNIT: F001250247
                                                                   ACCT: FA1307223089
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                                     MERCY HEALTH SYSTEM LABORATORY
                                        MERCY FITZGERALD HOSPITAL
                                       1500 UNSDOVHE AVENUE
                                     DARBY. PA 19023(610)237-4742
                               SAMU HEHIEH. M. D. MEDICAL DIRECTOR

                                           llBORATORY REPORT
NAME:EFUHNUGA.OLUTOKUNBO                      DOS:         10/07/16                          LOC:FI4PVA
AGE/SEX:37/M      DOB:03/06/l979              ACCT: FA1307223089                             MR: F001250247
ATfEND DR: LITTMAN.MARIO, MD
KEY H - Ahn High          *H - Critical High               * - High or Low(Alpha results)                  # - Delta Check
    L - Abn Low           •L - Critical Low                * - Microbiology Abn Result


   Test                 Day   Date     Time               Result          Reference              Units
=> SOURCE. CSF      2         OCT 8    1337               CSF(b)
=> TUBE NUMBER. CS 2          OCT 8    1337                     3
=> COLOR. CSF       2         OCT 8    1337     COLORLESS
=> APPEARANCE. CSF 2          OCT 8    1337         CLEAR
=> XANTHOCHROMIA    2         OCT 8    1337            NO
=> WBC. CSF         2         OCT 8    1337                     1                                /uL
=> RBC. CSF         2         OCT 8    1337                 383                                  /mm3
=> GLUCOSE. CSF     2         OCT 8    1337                    69              (40-70)           mg/dL
=> TOTAL PROTEIN.   2         OCT 8    1337   ~=·:~::=•••=:••:=s=<8=·:=:••=H~I (15-45)           mg/dL
=> COLOR URINE      2         OCT 8    2100    ........ YELLOW            ( YEL. AMB)
=> COLOR URINE     13         OCT 19   1813          AMBER                (YEL.AMB)
=> APPEARANCE       2         OCT 8    2100          CLEAR                (CLEAR)
=> APPEARANCE      13         OCT 19   1813          CLEAR                (CLEAR )
=> GLUCOSE          2         OCT 8    2100       NEGATIVE                (NEGATIVE)             mg/dl
=> GLUCOSE         13         OCT 19   1813       NEGATIVE                (NEGATIVE)             mg/dl
=> BILIRUBIN        2         OCT 8    2100       NEGATIVE                (NEGATIVE)
=> BILIRUBIN       13         OCT 19   1813       NEGATIVE                (NEGATIVE)
=> KETONE           2         OCT 8    2100   .. ::::·:       20      H I (NEGATIVE)             mg/dL
=> KETONE          13         OCT 19   1813       NEGATIVE                (NEGATIVE)             mg/dL
=> SPECIFIC GRAVIT 2          OCT 8    2100               1.020           (1.005-1.030)
=> SPECIFIC GRAVIT 13         OCT 19   1813               1.012           (1.005-1.030)
=> OCCULT BLOOD UR 2          OCT 8    2100   ••••:•::••• E)},{ALI;   H ··1 (NEGATIVE)
=> OCCULT BLOOD UR 13         OCT 19   1813   •••••••::.• I;ARGE      H •• (NEGATIVE)
=> PH. URINE        2         OCT 8    2100                   9.0           (5.0-9.0)
=> PH. URINE       13         OCT 19   1813                   7.0           (5.0-9.0)


                                                                      i Irn=i}~f=:
=> PROTEIN                    OCT 8                                                              mg/dL
                                                            • 1~
                    2                  2100
=> PROTEIN         13         OCT 19   1813                                                      mg/dL
=> UROBILINOGEN     2         OCT 8    2100                                                      E.U./dL
=> UROBILINOGEN    13         OCT 19   1813                  LO R / <o. 1-2 . o)                 E.U./dL
=> NITRATE          2         OCT 8    2100       NEGATIVE                (NEGATIVE)
=> NITRATE         13         OCT 19   1813       NEGATIVE                (NEGATIVE)
=> LEUKOCYTE ESTER 2          OCT 8    2100       NEGATIVE                (NEGATIVE)
=> LEUKOCYTE ESTER 13         OCT 19   1813       NEGATIVE                (NEGATIVE)
NOTES:    (b)                         Normal Range
                                 Adults       Neonates
                Lymph            40-80%              5-35%
                Mono             15-45%              50-90%
                Seg               0-6%                0-8%


                  NAME: EFUNNUGA.OLUTOKUNBO                                UNIT: F001250247
                                                                           ACCT: FA1307223089
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                             MERCY HEALTH SYSTEM LABORATORY
                                KERCY FITZGERALD HOSPITAL
                                  1500 L\NSDOVHE AVENUE
                             DARBY. PA 19023    (610)237-4742
                          SAMU HENIEN. 11. D. MEDICAL DIRECTOR
                                     llBORATORY REPORT

NAME:EFUHNUGA.OLUTOKUNBO                 DOS: 10/07/16                                 LOC:FI4PVA
AGE/SEX:37/M      DOB:OJ/06/1979         ACCT: FA1307223089                            MR: F001250247
AITEND DR: LITTMAN. MARIO. MD
KEY H - Abn High     *H - Critical High             * - High or Low(Alpha results)                  #   - Delta Check
    L - Abn Low      *L - Critical Low              * - Microbiology Abn Result

   Test            Day   Date     Time            Result                 Reference          Units
=) MICROSCOPIC      2    OCT 8    2100        ADD MICRO
=) MICROSCOPIC     13    OCT 19   1813        ADD MICRO
=> RBC              2    OCT 8    2100                     0-2             (0-2)            /hpf
=) RBC             13    OCT 19   1813    ·····••••••51;.;.;lOD• H     I(0-2)               /hpf
                                                                                            /hpf
=) WBC
=) WBC
                    2
                   13
                         OCT 8
                         OCT 19
                                  2100
                                  1813
                                          ••••••. ·•• •. •• 6;iu
                                                             3-5
                                                                 •   H • ( 0-5)
                                                                           (0-5)            /hpf
=> SQUAMOUS CELLS 13     OCT 19   1813                   occ                                /hpf
=) HY ALINE CAST
=) Patient Temp
                   13    OCT 19   1813             ····•••occ••• H I                        /hpf
                    1    OCT 7    0735               98.6
=> Patient Temp     1    OCT 7    0825               98.6
=) Patient Temp     1    OCT 7    1025               98.6
=> Patient Temp     1    OCT 7    1700               98.6
=> Patient Temp     2    OCT 8    0615               98.6
=) Patient Temp     3    OCT 9    0558               98.6
=> Patient Temp     4    OCT 10   0500               98.6
=) Patient Temp     6    OCT 12   0552               98.6
=) Patient Temp     7    OCT 13   0530               98.6
=> Patient Temp     8    OCT 14   0457               98.6
=) Patient Temp    18    OCT 24   1700               98.6
=) pH. ARTERIAL     1    OCT 7    0825     ...     : 7 .31                 L 1(7.35-7.45)
=) pH. ARTERIAL     2    OCT 8    0615               7.45                     (7.35-7.45)
=) pH. ARTERIAL     3    OCT 9    0558             ••••.• 7 >49 H 1<7.35-7.45)
=) pH. ARTERIAL     4    OCT 10   0500                      7.43              (7.35-7.45)
=) pH. ARTERIAL     6    OCT 12   0552                      7.44              (7.35-7.45)
=) pH. ARTERIAL     7    OCT 13   0530                      7.41              (7.35-7.45)
=> pH. ARTERIAL     8    OCT 14   0457                      7.44              (7.35-7.45)
= > pH. ARTERIAL   18    OCT 24   1700                      7.41              (7.35-7.45)
=> VBG pH           1    OCT 7    0735          ·· ···· L.2E> •<r 1 (7.32-7.43)
=) VBG pH
=> VBG pH
                    1
                    1
                         OCT 7
                         OCT 7
                                  1025
                                  1700
                                          ·············••••i•.••:!·~
                                                            7.43
                                                                           I )(7.32-7.43)
                                                                              (7.32-7.43)
=> ART BLD PC02
=> ART BLD PC02
                    1    OCT 7    0825                                 I
                                          •••••••••••.•• 50: 7 H c3 5 . 0-4 5 . o)
                                           ···• •• •• < 49 ~ 6 lt •. (35.0-45.0)
                                                                                            mmHg
                    2    OCT 8    0615                                                      mmHg
=> ART BLD PC02     3    OCT 9    0558                      39.1              (35.0-45.0)   mmHg
= > ART BLD PC02    4    OCT 10   0500                      42.2              (35.0-45.0)   mmHg
=> ART BLD PC02     6    OCT 12   0552                      40.8              (35.0-45.0)   mmHg
=> ART BLD PC02     7    OCT 13   0530    ·••••·••••··•••• 46,2•• R IC35.0-45.0)            mmHg
=) ART BLD PC02     8    OCT 14   0457                      43.5              (35.0-45.0)   mmHg
=) ART BLD PC02    18    OCT 24   1700                      40.6              (35.0-45.0)   mmHg
=) VEN PARTL PRESS 1     OCT 7    0735    •••••••••••.••SL2• H I (38-50)                    mmHg
=) VEN PARTL PRESS 1     OCT 7    1025    ·····••••:••••••  59c•2•• JI •••(38-50)
                                                       ...................                  mmHg

               NAME: EFUNNUGA.OLUTOKUNBO                                   UNIT: F001250247
                                                                           ACCT: FA1307223089
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                             MERCY HEALTH SYSTEM LABORATORY
                                MERCY FITZGERALD HOSPITAL
                                  1500 UNSDOVHE AVENUE
                             DARBY. PA 19023    (610)237-4742
                          SAHU HENIEN. l!l.D. MEDICAL DIRECTOR
                                     LABORATORY REPORT
NA.ME:EFUHNUGA,OLUTOKUNBO                DOS: 10/07/l 6                             LOC:FI4PVA
AGE/SEX:37/M       DOB:03/06/l979        ACCT: FA1307223089                         MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD

KEY H - Abn High     *H - Critical High             * - High or Low(Alpha results)                 # - Delta Check
    L - Abn Low      *L - Critical Low              * - Microbiology Abn Result


     Test          Day   Date     Time           Result              Reference            Units
=)  VEN PA.RTL PRESS 1   OCT 7    1700                     47.1            (38-50)        mmHg
=>  VEN BLOOD GAS p 1    OCT 7    0735    : :              68>1 H I (30-50)               mmHg
=)  VEN BLOOD GAS p 1    OCT 7    1025                     43.5            (30-50)        mmHg
=>  VEN BLOOD GAS p 1    OCT 7    1700   ••••••••'•• 9Ll
                                                      .............    H   (30-50)        mmHg
=)  VBG PH TEMP COR 1    OCT 7    0735   ........... 7:26 ••L ( 7 . 32-7 . 4 3)
= ) VBG PH TEMP COR

=) VBG PH TEMP COR 1
                     1   OCT 7
                         OCT 7
                                  1025
                                  1700                     7.43
                                                                     I
                                         ::::·••''••·•••••7 -•~,'§ •• :t (7.32-7.43)
                                                                           (7.32-7.43)
=) VBG PC02 TEMP c   1   OCT 7    0735                <    5/;2       JI   (38-50)
                                             ... ...
=) VBG PC02 TEMP c 1     OCT 7    1025                     59'2 H .. I (38-50)
=) VBG PC02 TEMP c 1     OCT 7    1700                     47.T            (38-50)
= ) VBG P02 TEMP co  1   OCT 7    0735   . :::······       68~1 .Ji I (30-50)
                                               ........ ···········
=> VBG P02 TEMP co 1     OCT 7    1025                     43.5            (30-50)
=) VBG P02 TEMP co   1   OCT 7    1700                     9L1 R I (30-50)
                                                  ·····-··········
=) ART BL PART PRE 1     OCT 7    0825         ·:··:·        482 H I (83-108)             mmHg
=) ART BL PART PRE 2     OCT 8    0615                      148 H (83-108)                mmHg
= ) ART BL PART PRE

=) ART BL PART PRE 4
                     3   OCT 9
                         OCT 10
                                  0558
                                  0500
                                                 ..
                                                             107
                                                                     I
                                                               60 L (83-108)
                                                                           (83-108)
                                                                                          mmHg
                                                                                          mmHg
=) ART BL PART PRE 6     OCT 12   0552                . <12~ H I (83-108)                 mm Hg
=> ART BL PART PRE 7     OCT 13   0530          ::::. ::: ••••122• H I (83-108)           mmHg
=) ART BL PART PRE 8     OCT 14   0457                         94          (83-108)       mmHg
=) ART BL PART PRE 18    OCT 24   1700                       104           (83-108)       mmHg
=) VENOUS HC03       1   OCT 7    0735                     25.8            (23-27)        mmol/L
=) VENOUS HC03       1   OCT 7    1025    · ''''''' •<2•8•;<6 H (23-27)                   mmol/L


                                         · · · · · · · · ·~[3£•
=) VENOUS HC03       1   OCT 7    1700                                 H (23-27)          mmol/L
=) ABG Ph TEMP COR 1     OCT 7    0825                                i I (7.35-7.45)
=> A.BG Ph TEMP COR 2    OCT 8    0615                     7.45            (7.35-7.45)
=) ABG Ph TEMP COR 3     OCT 9    0558           •••• 7.4$ R I (7.35-7.45)
=> ABG Ph TEMP COR   4   OCT 10   0500                     7.43 ...        (7.35-7.45)
=> ABG Ph TEMP COR 6     OCT 12   0552                     7.44            (7.35-7.45)
= > ABG Ph TEMP COR 7    OCT 13   0530                     7.41            (7.35-7.45)
=> A.BG Ph TEMP COR 8    OCT 14   0457                     7.44            (7.35-7.45)
=) ABG Ph TEMP COR 18    OCT 24   1700                     7.41            (7.35-7.45)
=) ABG PC02 TEMP c 1     OCT 7    0825   •••••''••••.•••••so~ 1 H (35.0-45.0)
=) ABG PC02 TEMP c 2     OCT 8    0615   •'••••,••••••••'•4B~•6 H I (35.0-45.0)
=) ABG PC02 TEMP c 3     OCT 9    0558                     39.1            (35.0-45.0)
=> ABG PC02 TEMP c 4     OCT 10   0500                     42.2            (35.0-45.0)
=> ABG PC02 TEMP c 6     OCT 12   0552                     40.8            (35.0-45.0)
=> ABG PC02 TEMP c 7     OCT 13   0530                                •H I (35.0-45.0)
                                         ••'•'•••••• 4V2
=> ABG PC02 TEMP c 8     OCT 14   0457                     43.5            (35.0-45.0)
=> ABG PC02 TEMP c 18    OCT 24   1700                     40.6            (35.0-45.0)

                NAME: EFUNNUGA,OLUTOKUNBO                                UNIT: F001250247
                                                                         ACCT: FA1307223089
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                             MERCY HEALTH SYSTEM LABORATORY
                                MERCY FITZGERALD HOSPITAL
                                  1500 I.ANSDOVHE AVENUE
                             DARBY. PA 19023     (610)237-4742
                          SAMU HENIEN. M. D.   MEDICAL DIRECTOR
                                     LABORATORY REPORT
NAME:EFUNNUGA.OLUTOKUHBO                 DOS: 10/07/16                                                                   LOC:FI4PVA
AGE/SEX:37/M      DOB:03/06/l979         ACCT: FA1307223089                                                              MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD

KEY H - Abn High     *H - Critical High                   * - High or Low(Alpha results)                                              # - Delta Check
    L - Abn Low      •L - Critical Low                    * - Microbiology Abn Result

   Test            Day   Date     Time                 Result                                   Reference                    Units

=> ABG P02 TEMP CO 1
=> ABG P02 TEMP CO 2
=> ABG P02 TEMP CO 3
                         OCT 7
                         OCT 8
                         OCT 9
                                  0825
                                  0615
                                  0558
                                         ·••••••······•••• 4132•·.H~•••• (83-108)
                                                               l4iEJ       83-108)
                                                              " " ' - ( 83-108)
                                                                                    ?(
=> ABG P02 TEMP CO 4     OCT 10   0500                         107       ( 83-108)
=> ABG P02 TEMP CO 6     OCT 12   0552                         12\§ H •1 ( 83-108)
=> ABG P02 TEMP CO 7     OCT 13   0530   . ·•••.••••           12~ H •. (83-108)
=> ABG P02 TEMP CO 8     OCT 14   0457                        93.5       (83-108)
=> ABG P02 TEMP CO 18    OCT 24   1700                         104       (83-108)
=> HC03             1    OCT 7    0825                        25.4       (21-28)                                             mmol/L
=> HC03
=> HC03
=> HC03
                    2
                    3
                    4
                         OCT 8
                         OCT 9
                         OCT 10
                                  0615
                                  0558
                                  0500
                                         .
                                         ·········•·
                                                              ~~:I ~ I ~ ;i=;: ~
                                                              2ec1                  1t I <21-20)
                                                                                                                             mmol/L
                                                                                                                             mmol/L
                                                                                                                             mmol/L
=> HC03             6    OCT 12   0552                        27.4                      (21-28)                              mmol/L
=> HC03             7    OCT 13   0530        <         ~9~2                        H I (21-28)                              mmol/L
=> HC03             8    OCT 14   0457       ·····•••• 29:!5                        H I (21-28)                              mmol/L
=> HC03            18    OCT 24   1700                  25.4                            (21-28)                              mmol/L
=> BASE EXCESS      1    OCT 7    0825                  -1.3                            (-2-2)                               mmol/L
=> BASE EXCESS      2    OCT 8    0615   ................ 8 7                       H        I ( 2 2)                        mmol/L
=> BASE EXCESS      3    OCT 9    0558                           4i9. H.(=2=2)                                               mmol/L
=> BASE EXCESS      4    OCT 10   0500                            3:5               H            (-2-2)                      mmol/L
=> BASE EXCESS      6    OCT 12   0552         ...                2,9               H •• (-2-2)                              mmol/L
=> BASE EXCESS      7    OCT 13   0530        <                   4>1               H            (-2-2)                      mmol/L
=> BASE EXCESS      8    OCT 14   0457         ...                4: fl             H            ( -2-2)                     mmol/L
=> BASE EXCESS     18    OCT 24   1700                            0.7                            (-2-2)                      mmol/L
=> VENOUS BASE EXC 1     OCT 7    0735                        -1. 8                              (-2-2)                      mmol/L
=> VENOUS BASE EXC 1     OCT 7    1025                            1.3                            (-2-2)                      mmol/L
=> VENOUS BASE EXC 1     OCT 7    1700        .·::::
                                                 ......•:·::.::
                                                        •·.· •. •. ·6·. ·. ·. ·z...:: ·. ·. ·.H•.•• ...·.·1 ( - 2- 2 )
                                                                    .. ·.::                                                  mmol/L
=> % SAT, MEAS(VEN 1     OCT 7    0735                    . 87. 0             .
=> % SAT, MEAS(VEN 1     OCT 7    1025                       71.6
=> % SAT, MEAS(VEN 1     OCT 7    1700                       97.2
=> VEN BG SODIUM    1    OCT 7    0735                         139              (136-147)                                    mmol/L
=> VEN BG SODIUM    1    OCT 7    1025                         141              (136-147)                                    mmol/L
=> VEN BG SODIUM    1    OCT 7    1700                         139              (136-147)                                    mmol/L
=> ALLEN'S TEST     2    OCT 8    0615                         POS
=> VEN BG POTASSIU 1     OCT 7    0735                         3.9              (3.5-5.0)                                    mmol/L
=> VEN BG POTASSIU 1     OCT 7    1025                         4.3              (3.5-5.0)                                    mmol/L
=> VEN BG POTASSIU 1     OCT 7    1700   -... -.
                                              •••-•••.-            •.•-••• -H-1 ( 3 . 5-5 . o)
                                                      ••••-.•.-6-.IJ-                                                        mmol/L
=> VEN BG CHLORIDE 1     OCT 7    0735                         104              (98-108)                                     mmol/L
=> VEN BG CHLORIDE 1     OCT 7    1025                         105              ( 98-108)                                    mmol/L
=> VEN BG CHLORIDE 1     OCT 7    1700                         104              ( 98-108)                                    mmol/L

               NAME: EFUNNUGA,OLUTOKUNBO                                                           UNIT: F001250247
                                                                                                   ACCT: FA1307223089
               PRIHTED:l2/07/l6 0001                                                               PAGE: 10 ** CONTINUED ON NEXT PAGE **
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                               MERCY HEALTH SYSTEM LABORATORY
                                  KERCY FITZGERALD HOSPITAL
                                    1500 L\NSDOVHE AVENUE
                               DARBY. PA 19023    (610)237-4742
                            SAMU HENIEN. l!l.D. MEDICAL DIRECTOR
                                       LABORATORY REPORT
NAME:EFUHHUGA.OLUTOKUHBO                   DOS: 10/07/16                              LOC:FI4PVA
AGE/SEX:37/M      DOB:03/06/l979           ACCT: FA1307223089                         MR: F001250247
ArrEND DR: LITTMAN,MARIO, MD

KEY H - Abn High       *H - Critical High           * - High or Low(Alpha results)                  # - Delta Check
    L - Abn Low        *L - Critical Low            * - Microbiology Abn Result


   Test              Day   Date     Time          Result             Reference             Units
=> VEN BG CA, ION! 1       OCT 7    0735    ··················•·1•.•1:1• I. \(1.17-1.32)   mmol/L
=> VEN BG CA, ION! 1       OCT 7    1025                        1.17         (1.17-1.32)   mmol/L
=> VEN BG CA, ION! 1       OCT 7    1700                                                   mmol/L
=> VEN BG LACTATE
=) VEN BG LACTATE
                    1
                    1
                           OCT 7
                           OCT 7
                                    0735
                                    1025    111111~,:~ !~:Et~r)                            mmol/L
                                                                                           mmol/L
=> VEN BG LACTATE   1      OCT 7    1700                1.1           (0.5-2.2)            mmol/L
=> % SAT, MEAS (AB 1       OCT 7    0825                              (95-98)              %
=> % SAT, MEAS (AB 2       OCT 8    0615                              (95-98)              %
=> % SAT, MEAS (AB 3       OCT 9    0558                              (95-98)              %
=> % SAT, MEAS (AB 4       OCT 10   0500                              (95-98)              %
=) % SAT, MEAS (AB 6       OCT 12   0552                              (95-98)              %
=> % SAT, MEAS (AB 7       OCT 13   0530                              (95-98)              %
=> % SAT, MEAS (AB 8       OCT 14   0457             97.7             (95-98)              %
=> % SAT, MEAS (AB 18      OCT 24   1700             97.8             (95-98)              %
=> ARTERIAL FI02    1      OCT 7    0825            100.0                                  %
=> ARTERIAL FI02    2      OCT 8    0615             40.0                                  %
=> ARTERIAL FI02    3      OCT 9    0558             30.0                                  %
=> ARTERIAL FI02    4      OCT 10   0500             40.0                                  %
=> ARTERIAL FI02    6      OCT 12   0552             40.0                                  %
=> ARTERIAL FI02    7      OCT 13   0530             40.0                                  %
=> ARTERIAL FI02    8      OCT 14   0457             40.0                                  %
=> ARTERIAL FI02   18      OCT 24   1700             50.0                                  %
=> ART TIDAL VOLUM 1       OCT 7    0825              400                                  mL
=> ART TIDAL VOLUM 2       OCT 8    0615              400                                  mL
=> ART TIDAL VOLUM 6       OCT 12   0552              400                                  mL
=> ART TIDAL VOLUM 7       OCT 13   0530              450                                  mL
=> ART TIDAL VOLUM 8       OCT 14   0457              450                                  mL
=> ART TIDAL VOLUM 18      OCT 24   1700              450                                  mL
=> ARTERIAL PEEP    1      OCT 7    0825              5.0                                  cmH20
=> ARTERIAL PEEP    2      OCT 8    0615              5.0                                  cmH20
=> ARTERIAL PEEP    6      OCT 12   0552              5.0                                  cmH20
=) ARTERIAL PEEP    7      OCT 13   0530              5.0                                  cmH20
=) ARTERIAL PEEP    8      OCT 14   0457              5.0                                  cmH20
=> ARTERIAL PEEP   18      OCT 24   1700              5.0                                  cmH20
=> 02 DEVICE PRIMA 1       OCT 7    0825             1 NA
=> 02 DEVICE PRIMA 2       OCT 8    0615             AERM
NOTES:    (c)   RESULTS CALLED TO AND READ BACK BY DR. HALLSTEAD ON 10/07/16
                at 0744 by FiliJIRZBL


                  NAME: EFUNNUGA,OLUTOKUNBO                            UNIT: F001250247
                                                                       ACCT: FA1307223089
                  PRINTED:l2/07/l6 0001                                PAGE: 11 ** CONTINUED ON NEXT PAGE **
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                              MERCY HEALTH SYSTEM LABORATORY
                                 MERCY FITZGERil.D HOSPITAL
                                   1500 I.AHSOOVNE A.VENUE
                              DARBY. PA 19023     (610)237-4742
                           SAMU HENIEN. M. D.   MEDICAL DIRECTOR
                                       llBORATORY REPORT
NAME:EFUHNUGA.OLUTOKUHBO                   DOS:  10/07/16                  LOC:FI4PVA
AGE/SEX:37/M      DOB:03/06/1979           ACCT: FA1307223089              MR: F001250247
ATfEND DR: LITTMAN.MARIO, MD

KEY H - Abn High       *H - Critical High         * - High or Low(Alpha results)           # - Delta Check
    L - Abn Low        *L - Critical Low          * - Microbiology Abn Result


   Test              Day   Date     Time          Result       Reference         Units
=) 02 DEVICE PRIMA 3       OCT 9    0558            AERM
=> 02 DEVICE PRIMA 4       OCT 10   0500            AERM
=> 02 DEVICE PRIMA 6       OCT 12   0552            AERM
=> 02 DEVICE PRIMA 7       OCT 13   0530            AERM
=> 02 DEVICE PRIMA 8       OCT 14   0457            AERM
=) 02 DEVICE PRIMA 18      OCT 24   1700            O.NA
=> VBG TEMP         1      OCT 7    0735            98.6                         c
=> VEG TEMP         1      OCT 7    1025            98.6                         c
=) VBG TEMP         1      OCT 7    1700            98.6                         c
=> ABG NA           2      OCT 8    0615             142        (136-147)        mmol/L
=) ABG NA           3      OCT 9    0558             141        (136-147)        mmol/L
=> ABG NA           4      OCT 10   0500             140        (136-147)        mmol/L
=> ABG NA           6      OCT 12   0552             139        (136-147)        mmol/L
=> ABG NA           8      OCT 14   0457             140        (136-147)        mmol/L
=> ABG NA          18      OCT 24   1700    >        1.27   lj(136-147)          mmol/L
=) ABG K            2      OCT 8    0615             3.8        (3.6-5.2)        mmol/L
=> ABG K            3      OCT 9    0558             3.8        (3.6-5.2)        mmol/L
=> ABG K            4      OCT 10   0500             3.7        (3.6-5.2)        mmol/L
=> ABG K            6      OCT 12   0552             3.8        (3.6-5.2)        mmol/L
=> ABG K            8      OCT 14   0457             3.8        (3.6-5.2)        mmol/L
=) ABG K           18      OCT 24   1700                        (3.6-5.2)        mmol/L
=> ABG CL           2      OCT 8    0615             102        ( 98-108)        mmol/L
=> ABG CL           3      OCT 9    0558             106        ( 98-108)        mmol/L
=> ABG CL           4      OCT 10   0500             107        ( 98-108)        mmol/L
=> ABG CL           6      OCT 12   0552             106        (98-108)         mmol/L
=> ABG CL           8      OCT 14   0457             104        ( 98-108)        mmol/L
=> ABG CL          18      OCT 24   1700             100        ( 98-108)        mmol/L
=) CA. IONIZED (AB 2       OCT 8    0615            1.19        (1.17-1.32)      mmol/L
=> CA, IONIZED (AB 3       OCT 9    0558            1.21        (1.17-1.32)      mmol/L
=> CA, IONIZED (AB 4       OCT 10   0500            1.20        (1.17-1.32)      mmol/L
=> CA. IONIZED (AB 6       OCT 12   0552            1.17        (1.17-1.32)      mmol/L
=> CA, IONIZED (AB 8       OCT 14   0457            1.18        (1.17-1.32)      mmol/L
=> CA. IONIZED (AB 18      OCT 24   1700            L07     1] (1.17-1.32)       mmol/L
=> LACTATE (ABG)    2      OCT 8    0615             1.0        (0.5-2.2)        mmol/L
=> LACTATE (ABG)    3      OCT 9    0558             1.3        (0.5-2.2)        mmol/L
=> LACTATE (ABG)    4      OCT 10   0500             1.1        (0.5-2.2)        mmol/L

NOTES:    (d)   RESULTS CALLED TO AND READ BACK BY chowdhury ON 10/24/16 at
                170 4 by F!liJHITEN


                  NAME: EFUNNUGA,OLUTOKUNBO                     UNIT: F001250247
                                                                ACCT: FA1307223089
                  PRIHTED:l2/07/l6 0001                         PAGE: 12 ** CONTINUED ON NEXT PAGE **
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                               MERCY HEALTH SYSTEM LABORATORY
                                  MERCY FITZGERALD HOSPITAL
                                    1500 L\NSDOVHE AVENUE
                               DARBY. PA 19023    (610)237-4742
                            SAMU HENIEN, M. D.  MEDICAL DIRECTOR
                                       llBORATORY REPORT
NAME:EFUHNUGA,OLUTOKUHBO                   DOS:           10/07/16                            LOC:FI4PVA
AGE/SEX:37/M      DOB:03/06/l979           ACCT: FA1307223089                                 MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD

KEY H - Abn High       *H - Critical High                 * - High or Low(Alpha results)                    # - Delta Check
    L - Abn Low        *L - Critical Low                  * - Microbiology Abn Result


   Test              Day   Date     Time                 Result                 Reference          Units
=> LACTATE (ABG)    6      OCT 12   0552                    0.7                 (0.5-2.2)         mmol/L
=> LACTATE (ABG)    8      OCT 14   0457                    1.0                 (0.5-2.2)         mmol/L
=> LACTATE (ABG)   18      OCT 24   1700                    1.0                 (0.5-2.2)         mmol/L
=> HEMATOCRIT (ABG 1       OCT 7    0735                   51.2                 (41.0-53.0)       %
=> HEMATOCRIT (ABG 1       OCT 7    1025                   45.9                 (41.0-53.0)       %
=> HEMATOCRIT (ABG 1       OCT 7    1700                   46.3                 (41.0-53.0)       %
=> HEMATOCRIT (ABG 2       OCT 8    0615                   42.l                 (41.0-53.0)       %
=> HEMATOCRIT (ABG 3       OCT 9    0558                   43.4                 (41.0-53.0)       %
=> HEMATOCRIT (ABG 4       OCT 10   0500                   3L9       I          ('1.0-53.0)       %


                                                         . ~!~ rm !=irn
                                                                          ·.1
=> HEMATOCRIT (ABG 6       OCT 12   0552                                                          %
=> HEMATOCRIT (ABG 7       OCT 13   0530                                                          %
=> HEMATOCRIT (ABG 8       OCT 14   0457                                                          %
=> HEMATOCRIT (ABG 18      OCT 24   1700                  3s,fi. 1 I (41.0-53.o)                  %
=> MECH VENT SETT! 1       OCT 7    0825                    18                                    bpm
=> MECH VENT SETT! 6       OCT 12   0552                    18                                    bpm
=> MECH VENT SETT! 7       OCT 13   0530                    24                                    bpm
=> MECH VENT SETT! 8       OCT 14   0457                    24                                    bpm
=> MECH VENT SETT! 18      OCT 24   1700                    16                                    bpm
=> POCT GLUCOSE     1      OCT 7    0707    ..... ....     109       H     I (70-99)              mg/dL
=> POCT GLUCOSE     1      OCT 7    0816                    82
                                                             (70-99)                              mg/dL
=> POCT GLUCOSE     6      OCT 12   0804                    88
                                                             (70-99)                              mg/dL
                                            -------..-..--~~ ( 7 0-9 9 )
=> POCT GLUCOSE     6      OCT 12   1116                                                          mg/dL
=> POCT GLUCOSE     6      OCT 12   1630                     (70-99)                              mg/dL
=> POCT GLUCOSE     6      OCT 12   2122    ===~~~~""" ( 70-9 9)                                  mg/dL
=> POCT GLUCOSE     7      OCT 13   0612                     (70-99)                              mg/dL
=> POCT GLUCOSE     7      OCT 13   1113                     (70-99)                              mg/dL
=> POCT GLUCOSE     7      OCT 13   1623                     (70-99)                              mg/dL
=> POCT GLUCOSE     7      OCT 13   2125    ~-T7'i",.,..,.,C"F='"'f~(70-99)                       mg/dL
=> POCT GLUCOSE     8      OCT 14   0523    ~.:.:c.c:...~.:.:,:.:;.;~:.c;n--,-'l ( 70-9 9 )       mg/dL
=> POCT GLUCOSE     8      OCT 14   1233                                        (70-99)           mg/dL
=> POCT GLUCOSE     8      OCT 14           --~~~~---< ( 7 0-9 9)
                                    1625                                                          mg/dL
=> POCT GLUCOSE     8      OCT 14   2123    ---~~~I (70-99)                                       mg/dL
NOTES:    (e)   RN/MD notified
          (f)   RN/MD notified
          (g)   RN/MD notified
          (h)   RN/MD notified
          (i)   RN/MD notified
          (j)   RN/MD notified


                  NAME: EFUNNUGA,OLUTOKUNBO                                     UNIT: F001250247
                                                                                ACCT: FA1307223089
                  PRIHTED:l2/07/l6 0001                                         PAGE: 13 ** CONTINUED ON NEXT PAGE **
            Case 2:18-cv-00924-PD          Document 15-11                                           Filed 05/03/18               Page 81 of 160

                               MERCY HEALTH SYSTEM LABORATORY
                                  MERCY FITZGERll.D HOSPITAL
                                    1500 UNSDOVHE A.VENUE
                               DARBY. PA 19023     (610)237-4742
                            SAMU HENIEN. M. D.  MEDICAL DIRECTOR
                                       LABORATORY REPORT
NAME:EFUHNUGA.OLUTOKUNBO                   DOS:  10/07/16                                                                 LOC:FI4PVA
A.GE/SEX:37/M     DOB:03/06/l979           ACCT: FA1307223089                                                             MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD
KEY H - Abn High       *H - Critical High                     * - High or Low(Alpha results)                                           # -   Delta Check
    L - Abn Low        *L - Critical Low                      * - Microbiology Abn Result

   Test              Day   Date     Time                  Result                                  Reference                    Units
=> POCT GLUCOSE        9   OCT 15   2227                                97                        ( 70-99)                     mg/dL
=> POCT GLUCOSE       10   OCT 16   0449                                98                        ( 70-99)                    mg/dl
=> POCT GLUCOSE       10   OCT 16   1048    -.. -•••-•••-•• -••• -••••~)~O-~-•• ~H~J(70-99)                                   mg/dl
=> POCT GLUCOSE       10   OCT 16   1641                                   90                (70-99)                          mg/dl
=> POCT GLUCOSE       11   OCT 17   0442                                   90                (70-99)                          mg/dl
=> POCT GLUCOSE       11   OCT 17   1139                                   84                ( 70-99)                         mg/dl
=> POCT GLUCOSE       11   OCT 17   1644                                   91                (70-99)                          mg/dl
=> POCT GLUCOSE       11   OCT 17   2237                                   89                ( 70-99)                         mg/dl
=> POCT GLUCOSE       12   OCT 18   0523                                   98                ( 70-99)                         mg/dl
=> POCT GLUCOSE       12   OCT 18   1142                                   95                ( 70-99)                         mg/dl
=> POCT GLUCOSE       12   OCT 18   1634                        79(k)                        (70-99)                          mg/dl
=> POCT GLUCOSE       12   OCT 18   2142                    t1:3JIJ H. I <10-99)                                              mg/dl
=> POCT GLUCOSE       13   OCT 19   0426                                                     (70-99)                          mg/dl
=> POCT GLUCOSE       13   OCT 19   1111    ~~~~~~ (70-99)                                                                    mg/dl
=> POCT GLUCOSE       13   OCT 19   1659    ~~~~~~ (70-99)                                                                    mg/dl
=> POCT GLUCOSE       13   OCT 19   2223                                                     (70-99)                          mg/dl
=> POCT GLUCOSE       14   OCT 20   0405    ~~~~~~ (70-99)                                                                    mg/dl
=> POCT GLUCOSE       14   OCT 20   1200                                   93                (70-99)                          mg/dL
=> POCT GLUCOSE       14   OCT 20   1706                   109(m}• H (70-99)                                                  mg/dl
=> POCT GLUCOSE       14   OCT 20   2241                    120('.11.)• H (70-99)                                             mg/dl
=> POCT GLUCOSE       15   OCT 21   1138    ~...,,...,..,..,,•••"""•••'""1""'1""'2'""•=H=••• ( 7 0-9 9 )                      mg/dl
=> POCT GLUCOSE       15   OCT 21   1627                    l'i)9(q) H ( 70-99)                                               mg/dl
=> POCT GLUCOSE       15   OCT 21   2238    -.-..-.=14=5=(,,-p""'""J-.---=H-•           • • ( 7 0- 9 9 )                      mg/dl
=> POCT GLUCOSE       16   OCT 22   0508    .;;.;.;.;...,.;.;.;.....
                                                                 ••• ...
                                                                     ••• .....1,. , ••5;;,;,4,. .·............ ( 70-99)       mg/dl
=> POCT GLUCOSE       16   OCT 22   1057                                   1•··                                (70-99)        mg/dl
=> POCT GLUCOSE
=> POCT GLUCOSE
                      16
                      16
                           OCT 22
                           OCT 22
                                    1754
                                    2209
                                            ~..._i=i=1~; ,.-,!i'-Ft=;.;,;.o-~I                    g~= ~ ~ ~                   mg/dL
                                                                                                                              mg/dl


                                            - -.1.•.-.• .. .-•?..• ;~~
                                                                   . ~h~1-.~_,. (g~=~~    ~
=> POCT GLUCOSE       17   OCT 23   0457                                                                                      mg/dL
=> POCT GLUCOSE       17   OCT 23   1114                     1.                              •1                               mg/dl
=> POCT GLUCOSE       17   OCT 23   1655                                            70-9 9)                                   mg/dl
                                            ~---~                          ........      ~




NOTES:    (k)   RN/MD notified
          (1)   RN/MD notified
          (m)   RN/MD notified
          (n)   RN/MD notified
          (o)   RN/MD notified
          (p)   RN/MD notified
          (q)   RN/MD notified
          (r)   RN/MD notified


                  NAME: EFUNNUGA,OLUTOKUNBO                                                        UNIT: F001250247
                                                                                                   A.CCT: FA1307223089
                  PRINTED:l2/07/l6 0001                                                            PA.GE: 14 ** CONTINUED ON NEXT PAGE **
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                                  MERCY HEALTH SYSTEM LABORATORY
                                     MERCY FITZGERil.D HOSPITAL
                                       1500 L\HSDOVHE AVENUE
                                  DARBY. PA 19023     (610)237-4742
                           SAMU HEHIEH. 11.D.                     MEDIC.U. DIRECTOR
                                        L\BORATORY REPORT
HAME:EFUHNUGA.OLUTOKUHBO                    DOS:          10/07/l 6                                      LOC:FI4PVA
AGE/SEX:37/M         DOB:03/06/l979         ACCT: FA1307223089                                           MR: F001250247
ATfEND DR: LITTMAN.MARIO. MD
KEY H - Abn High       *H - Critical High                 * - High or Low(Alpha results)                              # - Delta Check
    L - Abn Low        *L - Critical Low                  * - Microbiology Abn Result

   Test              Day   Date      Time              Result                       Reference                Units
=> POCT GLUCOSE       17   OCT 23    2201                     419           H     I (70-99)                  mg/dL
=> POCT GLUCOSE       18   OCT 24    0434                         83                   ( 70-99)              mg/dL
=> POCT GLUCOSE       18   OCT 24    1044                         99                   ( 70-99)              mg/dL
=> POCT GLUCOSE       18   OCT 24    1744                         85                   ( 70-99)              mg/dL
=> POCT GLUCOSE       18   OCT 24    2142                ••••-.,.-10~5~.•-H~
                                             -.. -,.-.-.,-                      •••. 1 (( 7 0 -_9 9 ))       mg/dL
=> POCT GLUCOSE       19   OCT 25    0609     :<              : 133 ::H . 7 0 9 9                            mg/dL
=> POCT GLUCOSE       19   OCT 25    1055                         90                   ( 70-99)              mg/dL
=> POCT GLUCOSE       19   OCT 25    1603    --,-1~0=1~J~s~J-         .• -••• =H~•• c70-99 >                 mg/dL
=> POCT GLUCOSE       19   OCT 25    2205             144(0 H •• 1 (70-99)                                   mg/dL
=> POCT GLUCOSE       20   OCT 26    0501    . •••··••••T•••Cl2£•••••R., ••1 <70-99)                         mg/dL
=> POCT GLUCOSE       20   OCT 26    1141    ···••••.•••I42(t1.l/R (70-99)                                   mg/dL
                                                                                                             mg/dL
                                                        its~;~ ~ I ~ ;~=~~ ~
=> POCT GLUCOSE       20   OCT 26    1625
=> POCT GLUCOSE       20   OCT 26    2143                                                                    mg/dL
=> POCT GLUCOSE       21   OCT 27    0514                     127               H•••1 (70-99)                mg/dL
=> POCT GLUCOSE       21   OCT 27    1114                > 11B                  H•••.(70-99)                 mg/dL
=> POCT GLUCOSE       21   OCT 27    1619                   87                        (70-99)                mg/dL
=> POCT GLUCOSE       21   OCT 27    2108       ··::•'••   101                  H ••1 ( 70-99)               mg/dL
=> POCT GLUCOSE       22   OCT 28    0555    •••,•' .•.. llH:WJ H . (70-99)                                  mg/dL
=> POCT GLUCOSE       22   OCT 28    0719                                98           ( 70-99)               mg/dL
=> POCT GLUCOSE       22   OCT 28    1109    ==·=·.=···=•••=1=0=7~,•=•••=H=•• ( 7 0-9 9 )                    mg/dL
=> POCT GLUCOSE       22   OCT 28    1524     :::::·:•••               114 H ( 70-99)                        mg/dL
=> POCT GLUCOSE       22   OCT 28    1713                          105 H (70-99)                             mg/dL
=> POCT GLUCOSE       22   OCT 28    2103                                98           (70-99)                mg/dL
=> POCT GLUCOSE       23   OCT 29    0721                                96           (70-99)                mg/dL
=> POCT GLUCOSE       23   OCT 29    1116    -.,.-.•• .-.•.-.•.-.••-•••~10~1~,•-H~I <7 o-9 9 )               mg/dL
=> POCT GLUCOSE       23   OCT 29    1623                                97           ( 70-99)               mg/dL
=> POCT GLUCOSE       23   OCT 29    2046    =~=m=~ (70-99)                                                  mg/dL
=> POCT GLUCOSE       24   OCT 30    0818    ~~~~~;.;.;_;;.."-'Cj (70-99)                                    mg/dL
=> POCT GLUCOSE       24   OCT 30    1133                                           (70-99)                  mg/dL
=> POCT GLUCOSE       24   OCT 30    1654    ===~~,,.,,...,.,.,-; (70-99)                                    mg/dL
=> POCT GLUCOSE       24   OCT 30                                                                            mg/dL
                                             ~.;.;.;;..;.~~~~ g~=~~~
                                     2119
=> POCT GLUCOSE       25   OCT 31    0816
                                             ------~
                                                                                                             mg/dL

NOTES:    (s)   RN/MD notified
          (t)   RN/MD notified
          (u)   On Protocol
          (v)   RN/MD notified
          (w)   RN/MD notified
          (x)   RN/MD notified


                  NAME: EFUNNUGA.OLUTOKUNBO                                           UNIT: F001250247
                                                                                      ACCT: FA1307223089
                  PRIHTED:12/07/l6 0001                                               PAGE: 15 ** CONTINUED ON NEXT PAGE **
            Case 2:18-cv-00924-PD          Document 15-11               Filed 05/03/18            Page 83 of 160

                                MERCY HEALTH SYSTEM LABORATORY
                                   MERCY FITZGERALD HOSPITAL
                                     1500 I.AHSDOVHE AVENUE
                                DARBY. PA 19023     (610)237-4742
                            SAMIA HENIEN. M. D.   MEDICAL DIRECTOR

                                       llBORATORY REPORT
NAHE:EFUHNUGA.OLUTOKUHBO                   DOS:  10/07/l 6                              LOC:FI4PVA
AGE/SEX:37/M       DOB:03/06/l979          ACCT: FA1307223089                           MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD

KEY H - Abn High       *H - Critical High                 * - High or Low(Alpha results)                   # - Delta Check
    L - Abn Low        *L - Critical Low                  * - Microbiology Abn Result


   Test              Day   Date     Time                  Result      Reference                 Units
=> POCT GLUCOSE     25     OCT 31   1140                            89          (70-99)         mg/dL
=) POCT GLUCOSE     25     OCT 31   1649                            99          (70-99)         mg/dL
=) POCT GLUCOSE     25     OCT 31   2104               : :: 10:9:: H I (70-99)
                                            . : ....................                            mg/dL
=) POCT GLUCOSE     26     NOV 1    0855                            94          (70-99)         mg/dL
=) POCT GLUCOSE     26     NOV 1    1126                          120 H I (70-99)               mg/dL
=> POCT GLUCOSE     26     NOV 1    1729    .•.••..••••          i~-cr    H ••• (70-99)         mg/dL
=) GLUCOSE, URINE    1     OCT 7    0817            NEGATIVE                    (NEGATIVE)      mg/dL
=) BILIRUBIN, UR p 1       OCT 7    0817            NEGATIVE                    (NEGATIVE)
=) KETONE, URINE p 1       OCT 7    0817            NEGATIVE                    (NEGATIVE)      mg/dL
=) SPEC GRAVITY.UR 1       OCT 7    0817                     1.015              (1.005-1.030)
=> BLOOD, URINE PO 1       OCT 7    0817            NEGATIVE                    (NEGATIVE)
=) PH, URINE POC     1     OCT 7    0817                          5.5           (5.0-9.0)
=) PROTEIN, URINE    1     OCT 7    0817            NEGATIVE                    (NEGATIVE)      mg/dL
=) UROBILINOGEN, UR 1      OCT 7    0817                          0.2           (0.1-2.0)       E. U./dL
=) NITRITE, URINE    1     OCT 7    0817            NEGATIVE                    (NEGATIVE)
=> LEUKOCYTE ES.UR 1       OCT 7    0817            NEGATIVE                    (NEGATIVE)
=) GLUCOSE           1     OCT 7    0732    ::···:·:•••l(l9~y)            H (70-99)             mg/dL
=) GLUCOSE           2     OCT 8    0510    :: •. ::: :•• •10 7 (y} :' H I (70-99)              mg/dL
=) GLUCOSE           3     OCT 9    0530                   105(Y) H (70-99)                     mg/dL
=) GLUCOSE           4     OCT 10   0445    :: :.::::. :•10 7 (y} ., :: H (70-99)               mg/dL
=> GLUCOSE           5     OCT 11   1910                   l(IO(Y) ::H (70-99)                  mg/dL
=) GLUCOSE           6     OCT 12   0540       .·.:::::: 105(y)• H (70-99)                      mg/dL
=) GLUCOSE           7     OCT 13   0600                   112(y) :H (70-99)                    mg/dL
=) GLUCOSE           8     OCT 14   0555                   107{y)
                                                           .............. H (70-99)             mg/dL
=) GLUCOSE           9     OCT 15   0534                     95(y)              (70-99)         mg/dL
=> GLUCOSE          10     OCT 16   0515                     95(y)              (70-99)         mg/dL
=) GLUCOSE          11     OCT 17   0550                     88 (y)             (70-99)         mg/dL
=> GLUCOSE          12     OCT 18   0545                     93 (y)             (70-99)         mg/dL
=> GLUCOSE
=) GLUCOSE
                    13
                    14
                           OCT 19
                           OCT 20
                                    0545
                                    0415
                                            .••••.:.•••Dlbd  96 (y)
                                                                          H I (70-99)
                                                                                (70-99)
                                                                                                mg/dL
                                                                                                mg/dL
=> GLUCOSE         15      OCT 21   0500    :: •:•''••. •1 (15 (y} ••. H' I (70-99)             mg/dL
=) GLUCOSE         16      OCT 22   0513    :••••:••••:1~4(Y)•: H (70-99)                       mg/dL
=) GLUCOSE          17     OCT 23   0500                                  H     (70-99)         mg/dL
=> GLUCOSE          18     OCT 24   0450
                                            •••••••••••11.B(y) H
                                            :::::::••••lOO(y)                   (70-99)         mg/dL
=> GLUCOSE          18     OCT 24   1730    ···········10s(···>··                               mg/dL
                                            •••,••••••••'.·, y::: H (70-99)
=> GLUCOSE         19      OCT 25   0555    •::::•••••'107(y): H (70-99)                        mg/dL

NOTES:    (y)   Impaired Fasting Glucose: 100-125 mg/dL
                Fasting Glu Assoc w Diabetes:>125 mg/dL


                  NAME: EFUNNUGA,OLUTOKUNBO                             UNIT: F001250247
                                                                        ACCT: FA1307223089
                  PRINTED:l2/07/l6 0001                                 PAGE: 16 ** CONTINUED ON NEXT PAGE **
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                                MERCY HEALTH SYSTEM LABORATORY
                                   MERCY FITZGERALD HOSPITAL
                                     1500 L\HSDOVHE A.VENUE
                                DARBY. PA 19023    (610)237-4742
                             SAMU HENIEN. l!l.D. MEDICAL DIRECTOR
                                         llBORATORY REPORT
HAME:EFUHNUGA.OLUTOKUNBO                     DOS:  10/07/16                                                     LOC:FI4PVA
A.GE/SEX:37/M     DOB:03/06/l979             ACCT: FA1307223089                                                 MR: F001250247
ATTEND DR: LITTMAN.MARIO. MD
KEY H - Abn High         *H - Critical High                * - High or Low(Alpha results)                                    # - Delta Check
    L - Abn Low          *L - Critical Low                 * - Microbiology Abn Result


   Test                Dav   Date     Time               Result                          Reference                  Units
=> GLUCOSE         19        OCT 25   0829    •.•••••••• 1.2J(zJ JI                               (70-99)           mg/dL
=> GLUCOSE         20        OCT 26   0545   ••••••••• 121(:Z:) H ( 70-99)                                          mg/dL
=> GLUCOSE         21        OCT 27   0605   ••••••••• 1.?}(:Z:) H ( 70-99)                                         mg/dL
=> GLUCOSE         22        OCT 28   0620   ••••••••• lt~(:?:) H ( 70-99)                                          mg/dL
=> GLUCOSE         23        OCT 29   0626              l03tz) H (70-99)                                            mg/dL
=> GLUCOSE         24        OCT 30   0628   ~~l""'.0"""2;.;.;.(;...Z..;.J'"'"•'"'"•;,;.;,H"'""I• ( 7 0-9 9 )       mg/dL
=> GLUCOSE         25        OCT 31   0400        ···•·•112(:?;) H (70-99)                                          mg/dL
=> GLUCOSE         26        NOV 1    0659    ···••··•·.11J2<:?;) H (70-99)                                         mg/dL
=> BLD UREA NITROG 1         OCT 7    0732                        14                              (6-22)            mg/dL
=> BLD UREA NITROG 2         OCT 8    0510                        14                              (6-22)            mg/dL
=> BLD UREA NITROG 3         OCT 9    0530                        13                              (6-22)            mg/dL
=> BLD UREA NITROG 4         OCT 10   0445                       10                               (6-22)            mg/dL
=> BLD UREA NITROG 5         OCT 11   1910                        12                              (6-22)            mg/dL
=> BLD UREA NITROG 6         OCT 12   0540                        12                              (6-22)            mg/dL
=> BLD UREA NITROG 7         OCT 13   0600                        11                              (6-22)            mg/dL
=> BLD UREA NITROG 8         OCT 14   0555                        11                              (6-22)            mg/dL
=> BLD UREA NITROG 9         OCT 15   0534                        11                              (6-22)            mg/dL
=> BLD UREA NITROG 10        OCT 16   0515                        14                              (6-22)            mg/dL
=> BLD UREA NITROG 11        OCT 17   0550                        16                              (6-22)            mg/dL
=> BLD UREA NITROG 12        OCT 18   0545                        18                              (6-22)            mg/dL
=> BLD UREA NITROG 13        OCT 19   0545                       16                               (6-22)            mg/dL
=> BLD UREA NITROG 14        OCT 20   0415                       12                               (6-22)            mg/dL
=> BLD UREA NITROG 15        OCT 21   0500                       13                               (6-22)            mg/dL
=> BLD UREA NITROG 16        OCT 22   0513                       13                               (6-22)            mg/dL
=> BLD UREA NITROG 17        OCT 23   0500                        14                              (6-22)            mg/dL
=> BLD UREA NITROG 18        OCT 24   0450                        15                              (6-22)            mg/dL
=> BLD UREA NITROG 18        OCT 24   1730                        16                              (6-22)            mg/dL
=> BLD UREA NITROG 19        OCT 25   0555                        16                              (6-22)            mg/dL
=> BLD UREA NITROG 19        OCT 25   0829                       16                               (6-22)            mg/dL
=> BLD UREA NITROG 20        OCT 26   0545                       19                               (6-22)            mg/dL
=> BLD UREA NITROG 21        OCT 27   0605                       16                               (6-22)            mg/dL
=> BLD UREA NITROG 22        OCT 28   0620                       11                               (6-22)            mg/dL
=> BLD UREA NITROG 23        OCT 29   0626                       12                               (6-22)            mg/dL
=> BLD UREA NITROG 24        OCT 30   0628                       14                               (6-22)            mg/dL
=> BLD UREA NITROG 25        OCT 31   0400                       13                               (6-22)            mg/dL
=> BLD UREA NITROG 26        NOV 1    0659                            9                           (6-22)            mg/dL

NOTES:    (z)     Impaired Fasting Glucose: 100-125 mg/dL
                  Fasting Glu Assoc w Diabetes:>l25 mg/dL


                    NAME: EFUNNUGA.OLUTOKUNBO                                              UNIT: F001250247
                                                                                           ACCT: FA1307223089
                    PRINTED:l2/07/l6 0001                                                  PAGE: 17 ** CONTINUED ON NEXT PAGE **
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                                MERCY HEALTH SYSTEM LABORATORY
                                   KERCY FITZGERALD HOSPITAL
                                     1500 UHSDOVHE AVENUE
                                DARBY. PA 19023    (610)237-4742
                            SAMIA HENIEN. 11. D. MEDICAL DIRECTOR
                                       LABORATORY REPORT
NAME:EFUHHUGA.OLUTOKUHBO                   DOS:  10/07/16                              LOC:FI4PVA
AGE/SEX:37/M      DOB:03/06/l979           ACCT: FA1307223089                          KR: F001250247
ATTEND DR: LITTMAN.MARIO. MD

KEY H - Abn High       *H - Critical High                  * - High or Low(Alpha results)           # - Delta Check
    L - Abn Low        *L - Critical Low                   * - Microbiology Abn Result


   Test              Day   Date     Time                  Result         Reference         Units

=> CREATININE       1      OCT 7    0732    •••••••••••      1~e H   1   <o. 0-1. 4)       mg/dl
=> CREATININE       2      OCT 8    0510                     1.3         (0.8-1.4)         mg/dl
=> CREATININE       3      OCT 9    0530                     1.4         (0.8-1.4)         mg/dl
=> CREATININE       4      OCT 10   0445                     1.3         (0.8-1.4)         mg/dl
=> CREATININE       5      OCT 11   1910                     1.1         (0.8-1.4)         mg/dl
=> CREATININE       6      OCT 12   0540                     1.2         (0.8-1.4)         mg/dl
=> CREATININE       7      OCT 13   0600                     1.1         (0.8-1.4)         mg/dl
=> CREATININE       8      OCT 14   0555                     1.1         (0.8-1.4)         mg/dl
=> CREATININE       9      OCT 15   0534                     0.9         (0.8-1.4)         mg/dl
=> CREATININE      10      OCT 16   0515                     0.9         (0.8-1.4)         mg/dl
=> CREATININE      11      OCT 17   0550                     1.1         (0.8-1.4)         mg/dl
=> CREATININE      12      OCT 18   0545                     1.2         (0.8-1.4)         mg/dl
=> CREATININE      13      OCT 19   0545                     1.1         (0.8-1.4)         mg/dl
=> CREATININE      14      OCT 20   0415                     1.2         (0.8-1.4)         mg/dl
=> CREATININE      15      OCT 21   0500                     1.1         (0.8-1.4)         mg/dl
=> CREATININE      16      OCT 22   0513                     1.2         (0.8-1.4)         mg/dl
=> CREATININE      17      OCT 23   0500                     1.0         (0.8-1.4)         mg/dl
=> CREATININE      18      OCT 24   0450                     1.1         (0.8-1.4)         mg/dl
=> CREATININE      18      OCT 24   1730                     1.1         (0.8-1.4)         mg/dl
=> CREATININE      19      OCT 25   0555                     1.2         (0.8-1.4)         mg/dl
=> CREATININE      19      OCT 25   0829                     1.2         (0.8-1.4)         mg/dl
=> CREATININE      20      OCT 26   0545                     1.2         (0.8-1.4)         mg/dl
=> CREATININE      21      OCT 27   0605                     1.0         (0.8-1.4)         mg/dl
=> CREATININE      22      OCT 28   0620                     0.8         (0.8-1.4)         mg/dl
=> CREATININE      23      OCT 29   0626                     0.9         (0.8-1.4)         mg/dl
=> CREATININE      24      OCT 30   0628                     0.9         (0.8-1.4)         mg/dl
=> CREATININE      25      OCT 31   0400                     0.9         (0.8-1.4)         mg/dl
=> CREATININE      26      NOV 1    0659                     0.9         (0.8-1.4)         mg/dL
=> GFR NON AFR AME 1       OCT 7    0732    , ,, ,,, ,., •'43: ., r ••I< >60)              ml/min
=> GFR NON AFR AME 2       OCT 8    0510                > 60           (>60)               ml/min
=> GFR NON AFR AME 3       OCT 9    0530                   57 LI (>60)                     ml/min
=> GFR NON AFR AME 4       OCT 10   0445                > 60           (>60)               ml/min
=> GFR NON AFR AME 5       OCT 11   1910                > 60           (>60)               ml/min
=> GFR NON AFR AME 6       OCT 12   0540                > 60           (>60)               ml/min
=> GFR NON AFR AME 7       OCT 13   0600                > 60           (>60)               ml/min
=> GFR NON AFR AME 8       OCT 14   0555                > 60           (>60)               ml/min
=> GFR NON AFR AME 9       OCT 15   0534                > 60           (>60)               ml/min
=> GFR NON AFR AME 10      OCT 16   0515                > 60           (>60)               ml/min
=> GFR NON AFR AME 11      OCT 17   0550                > 60           (>60)               ml/min
=> GFR NON AFR AME 12      OCT 18   0545                > 60           (>60)               ml/min

                  NAME: EFUNNUGA.OLUTOKUNBO                              UNIT: F001250247
                                                                         ACCT: FA1307223089
                  PRINTED:l2/07/l6 0001                                  PAGE: 18 ** CONTINUED ON NEXT PAGE **
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                             MERCY HEALTH SYSTEM LABORATORY
                                MERCY FITZGERALD HOSPITAL
                                  15 0 0 I.ANSDOVHE A.VENUE
                             DARBY. PA 19023       (610)237-4742
                          SAMU HENIEN. M. D.     MEDICAL DIRECTOR

                                     LABORATORY REPORT

NAME:EFmnroGA.OLUTOKUHBO                 DOS:  10/07/16                    LOC:FI4PVA
AGE/SEX:37/M      DOB:03/06/l979         ACCT: FA1307223089                MR: F001250247
ATTEND DR: LITTMAN.MARIO. MD
KEY H - Abn High     *H - Critical High         * - High or Low(Alpha results)                # - Delta Check
    L - Abn Low      *L - Critical Low          * - Microbiology Abn Result


   Test            Day   Date     Time          Result         Reference           Units
=> GFR NON AFR AME 13    OCT 19   0545            > 60           (>60)             ml/min
=> GFR NON AFR AME 14    OCT 20   0415            > 60           (>60)             ml/min
=> GFR NON AFR AME 15    OCT 21   0500            ) 60           (>60)             ml/min
=> GFR NON AFR AME 16    OCT 22   0513            ) 60           (>60)             ml/min
=> GFR NON AFR AME 17    OCT 23   0500            > 60           (>60)             ml/min
=> GFR NON AFR AME 18    OCT 24   0450            > 60           (>60)             ml/min
=> GFR NON AFR AME 18    OCT 24   1730            > 60           (>60)             ml/min
=> GFR NON AFR AME 19    OCT 25   0555            > 60           (>60)             ml/min
=> GFR NON AFR AME 19    OCT 25   0829            ) 60           (>60)             ml/min
=> GFR NON AFR AME 20    OCT 26   0545            ) 60           (>60)             ml/min
=> GFR NON AFR AME 21    OCT 27   0605            > 60           (>60)             ml/min
=> GFR NON AFR AME 22    OCT 28   0620            > 60           (>60)             ml/min
=> GFR NON AFR AME 23    OCT 29   0626            > 60           (>60)             ml/min
=> GFR NON AFR AME 24    OCT 30   0628            ) 60           (>60)             ml/min
=> GFR NON AFR AME 25    OCT 31   0400            > 60           (>60)             ml/min
=> GFR NON AFR AME 26    NOV 1    0659            > 60           (>60)             ml/min
=> GFR AFRICAN AME 1     OCT 7    0732    ·····••••·•sz{aa)I   I (>60)             mL/min/l
=> GFR AFRICAN AME 2     OCT 8    0510       > 60(aa)            (>60)             mL/min/l
=> GFR AFRICAN AME 3     OCT 9    0530       > 60(aa)            (>60)             mL/min/l
=> GFR AFRICAN AME 4     OCT 10   0445       > 60(aa)            (>60)             mL/min/l
=> GFR AFRICAN AME 5     OCT 11   1910       > 60(aa)            (>60)             ml/min/l
=> GFR AFRICAN AME 6     OCT 12   0540       > 60(aa)            (>60)             mL/min/l
=> GFR AFRICAN AME 7     OCT 13   0600       > 60(aa)            (>60)             mL/min/l
=> GFR AFRICAN AME 8     OCT 14   0555       > 60(aa)            (>60)             mL/min/l
=> GFR AFRICAN AME 9     OCT 15   0534       > 60(aa)            (>60)             mL/min/l
=> GFR AFRICAN AME 10    OCT 16   0515       > 60(aa)            (>60)             mL/min/l
=> GFR AFRICAN AME 11    OCT 17   0550       > 60(aa)            (>60)             mL/min/l
=> GFR AFRICAN AME 12    OCT 18   0545       > 60(aa)            (>60)             ml/min/l
=> GFR AFRICAN AME 13    OCT 19   0545       > 60(aa)            (>60)             mL/min/l
=> GFR AFRICAN AME 14    OCT 20   0415       > 60(aa)            (>60)             mL/min/l
=> GFR AFRICAN AME 15    OCT 21   0500       > 60(aa)            (>60)             ml/min/l

NOTES:    (aa) The calculation of eGFR is based on the IDMS traceable
               MDRD formula and is not valid in patients younger than 18 or
               older than 70.Exceptional dietary intake. muscle mass
               abnormalities. rapidly changing renal function.
               drug induced inhibition of creatinine secretion. and
               pregnancy invalidate results. The calculation has not been
               validated in a normal population.


                NAME: EFUNNUGA.OLUTOKUNBO                        UNIT: F001250247
                                                                 ACCT: FA1307223089
                PRIHTED:l2/07/l6 0001                            PAGE: 19 ** CONTINUED ON NEXT PAGE **
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                            MERCY HEALTH SYSTEM LABORATORY
                               MERCY FITZGERil.D HOSPITAL
                                 1500 L\NSDOVHE AVENUE
                            DARBY. PA 19023     (610)237-4742
                         SMlU HENIEH. 11.D.  MEDICAL DIRECTOR

                                     llIDRATORY REPORT
NAME:EFUNNUGA,OLUTOKUHBO                 DOS:   10/07/16               LOC:FI4PVA
A.GE/SEX:37/M      DOB:03/06/l979        A.CCT: FA1307223089           MR: F001250247
A.TfEHD DR: LITTMAN.MARIO. MD

KEY H - Abn High     *H - Critical High         * - High or Low(Alpha results)          # - Delta Check
    L - Abn Low      *L - Critical Low          * - Microbiology Abn Result

   Test            Dav   Date     Time          Result    Reference             Units

=> GFR AFRICAN AME 16    OCT 22   0513      > 60(ab)      (>60)             mL/min/1
=> GFR AFRICAN AME 17    OCT 23   0500      > 60(ab)      (>60)             mL/min/l
=> GFR AFRICAN AME 18    OCT 24   0450      > 60(ab)      (>60)             mL/min/l
=> GFR AFRICAN AME 18    OCT 24   1730      > 60(ab)      ( >6 0)           mL/min/l
=> GFR AFRICAN AME 19    OCT 25   0555      > 60(ab)      (>60)             mL/min/l
=> GFR AFRICAN AME 19    OCT 25   0829      > 60(ab)      (>60)             mL/min/1
=> GFR AFRICAN AME 20    OCT 26   0545      > 60(ab)      (>60)             mL/min/l
=> GFR AFRICAN AME 21    OCT 27   0605      > 60(ab)      (>60)             mL/min/l
=> GFR AFRICAN AME 22    OCT 28   0620      > 60(ab)      (>60)             mL/min/l
=> GFR AFRICAN AME 23    OCT 29   0626      > 60(ab)      ( >6 0)           mL/min/l
=> GFR AFRICAN AME 24    OCT 30   0628      > 60(ab)      (>60)             mL/min/l
=> GFR AFRICAN AME 25    OCT 31   0400      > 60(ab)      ( >6 0)           mL/min/l
=> GFR AFRICAN AME 26    NOV 1    0659      > 60(ab)      (>60)             mL/min/l
=> BUN/CREAT RATIO 1     OCT 7    0732           8.0      (7-23)
=> BUN/CREAT RATIO 2     OCT 8    0510          11.0      (7-23)
=> BUN/CREAT RATIO 3     OCT 9    0530           9.0      (7-23)
=> BUN/CREAT RATIO 4     OCT 10   0445           8.0      (7-23)
=> BUN/CREAT RATIO 5     OCT 11   1910          11.0      (7-23)
=> BUN/CREAT RATIO 6     OCT 12   0540          10.0      (7-23)
=> BUN/CREAT RATIO 7     OCT 13   0600          10.0      (7-23)
=> BUN/CREAT RATIO 8     OCT 14   0555          10.0      (7-23)
=> BUN/CREAT RATIO 9     OCT 15   0534          12.0      (7-23)
=> BUN/CREAT RATIO 10    OCT 16   0515          16.0      (7-23)
=> BUN/CREAT RATIO 11    OCT 17   0550            14. 5   (7-23)
=> BUN/CREAT RATIO 12    OCT 18   0545            15.0    (7-23)
=> BUN/CREAT RATIO 13    OCT 19   0545            15.0    (7-23)
=> BUN/CREAT RATIO 14    OCT 20   0415            10.0    (7-23)
=> BUN/CREAT RATIO 15    OCT 21   0500            12.0    (7-23)
=> BUN/CREAT RATIO 16    OCT 22   0513            11.0    (7-23)
=> BUN/CREAT RATIO 17    OCT 23   0500            14. 0   (7-23)
=> BUN/CREAT RATIO 18    OCT 24   0450            14. 0   (7-23)

NOTES:    (ab) The calculation of eGFR is based on the IDMS traceable
               MDRD formula and is not valid in patients younger than 18 or
               older than 70.Exceptional dietary intake, muscle mass
               abnormalities, rapidly changing renal £unction,
               drug induced inhibition of creatinine secretion, and
               pregnancy invalidate results. The calculation has not been
               validated in a normal population.


                NAME: EFUNNUGA.OLUTOKUNBO                  UNIT: F001250247
                                                           ACCT: FA1307223089
                PRINTED:l2/07/l6 0001                      PA.GE: 20 ** CONTINUED ON NEXT PAGE **
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                              MERCY HEALTH SYSTEM LABORATORY
                                 KERCY FITZGERALD HOSPITAL
                                   1500 I.ANSDOVHE AVENUE
                              DARBY, PA 19023     (610) 237-4742
                          SA.MU HENIEN. 11. D.  MEDICAL DIRECTOR
                                      llBORATORY REPORT

HA.ME:EFUHNUGA,OLUTOKUNBO                 DOS: 10/07/16                                  LOC:FI4PVA
AGE/SEX:37/M       DOB: 03/06/1979        ACCT: FA1307223089                             MR: F001250247
AITEND DR: LITTMAN, MARIO, MD

KEY H - Abn High     *H - Critical High                  * - High or Low(Alpha results)               # - Delta Check
    L - Abn Low      *L - Critical Low                   * - Microbiology Abn Result

     Test          Day    Date     Time                  Result         Reference            Units
=)  BUN/C:REAT RATIO 18   OCT 24   1730                    15.0             (7-23)
=)  BUN/CREAT RATIO 19    OCT 25   0555                    13.0             (7-23)
=) BUN/CREAT RATIO 19     OCT 25   0829                    13.0             (7-23)
=) BUN/CREAT RATIO 20     OCT 26   0545                    16.0             (7-23)
=) BUN/CREAT RATIO 21     OCT 27   0605                    16.0             (7-23)
=) BUN/CREAT RATIO 22     OCT 28   0620                    14.0             (7-23)
=> BUN/CREAT RATIO 23     OCT 29   0626                    13.0             (7-23)
=) BUN/CREAT RATIO 24     OCT 30   0628                    16.0             (7-23)
=) BUN/CREAT RATIO 25     OCT 31   0400                    14. 0            (7-23)
=) BUN/CREAT RATIO 26     NOV 1    0659                    10.0             (7-23)
=> SODIUM LEVEL       1   OCT 7    0732                     136             (136-147)        mEq/L
=) SODIUM LEVEL       2   OCT 8    0510                     138             (136-147)        mEq/L
=) SOD! UM LEVEL      3   OCT 9    0530                      141            (136-147)        mEq/L
=) SODIUM LEVEL       4   OCT 10   0445                      140            (136-14 7)       mEq/L
=) SODIUM LEVEL       5   OCT 11   1910                      138            (136-147)        mEq/L
=) SODIUM LEVEL       6   OCT 12   0540                     140             (136-147)        mEq/L
=) SODIUM LEVEL       7   OCT 13   0600                     140             (136-147)        mEq/L
=) SODIUM LEVEL       8   OCT 14   0555                     139             (136-147)        mEq/L
=> SODIUM LEVEL       9   OCT 15   0534                      138            (136-147)        mEq/L
=> SODIUM LEVEL      10   OCT 16   0515                     138             (136-147)        mEq/L
= > SODIUM LEVEL     11   OCT 17   0550                     140             (136-147)        mEq/L
=> SODIUM LEVEL      12   OCT 18   0545                     136             (136-147)        mEq/L
=> SODIUM LEVEL      13   OCT 19   0545    :    ::          133 L: (136-147)                 mEq/L
=) SODIUM LEVEL      14   OCT 20   0415                     134 L: (136-14 7)                mEq/L
= > SODIUM LEVEL     15   OCT 21   0500                     135 l           (136-147)        mEq/L
=> SODIUM LEVEL      16   OCT 22   0513                     1J3 L: (136-147)                 mEq/L
=) SODIUM LEVEL      17   OCT 23   0500                     135 1• (136-147)                 mEq/L
=> SODIUM LEVEL      18   OCT 24   0450                      l;;J;;J :).,:: (136-147)        mEq/L
=> SODIUM LEVEL      18   OCT 24   1730                     l~'Ci I I (136-147)              mEq/L
=> SODIUM LEVEL      19   OCT 25   0555                     1~"2 I I (136-147)               mEq/L
=> SODIUM LEVEL      19   OCT 25   0829                     133 L:: (136-147)                mEq/L
=> SODIUM LEVEL      20   OCT 26   0545                     :134 l          (136-147)        mEq/L
=) SODIUM LEVEL      21   OCT 27   0605                     133 L (136-147)                  mEq/L
= > SODIUM LEVEL     22   OCT 28   0620                     131 L (136-147)                  mEq/L
=> SODIUM LEVEL      23   OCT 29   0626                     129 L (136-147)                  mEq/L
=> SODIUM LEVEL      24   OCT 30   0628                     130 L ••• (136-147)              mEq/L
=> SODIUM LEVEL      25   OCT 31   0400        ...
                                                     :
                                                            127 L •• : (136-147)             mEq/L
=> SODIUM LEVEL      26   NOV 1    0659                     l3.l r: (136-147)                mEq/L
=> POTASSIUM LEVEL 1      OCT 7    0732                     3.8             (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 2      OCT 8    0510                     4.1             (3.6-5.2)        mEq/L

                HA.ME: EFUNNUGA,OLUTOKUNBO                                UNIT: F001250247
                                                                          ACCT: FA1307223089
                PRINTED: 12/07/16 0001                                    PAGE: 21 ** CONTINUED ON NEXT PAGE **
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                              MERCY HEALTH SYSTEM LABORATORY
                                  MERCY FITZGERALD HOSPITAL
                                    1500 UNSDOVNE A.VENUE
                              DARBY. PA 19023     (610)237-4742
                          SAMIA. HENIEN. M.D.   MEDICAL DIRECTOR
                                     llBORATORY REPORT
NAME:EFUHNUGA.OLUTOKUNBO                 DOS:  10/07/16                                               LOC:FI4PVA
A.GE/SEX:37/M      DOB:03/06/l979        ACCT: FA1307223089                                           MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD
KEY H - Abn High     *H - Critical High              * - High or Low(Alpha results)                                # - Delta Check
    L - Abn Low      *L - Critical Low               * - Microbiology Abn Result

   Test            Day   Date     Time             Result                     Reference                   Units
=> POTASSIUM LEVEL 3     OCT 9    0530                    3.9                            (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 4     OCT 10   0445                    3.9                            (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 5     OCT 11   1910                    3.8                            (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 6     OCT 12   0540                    4.2                            (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 7     OCT 13   0600                    3.8                            (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 8     OCT 14   0555                    4.1                            (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 9     OCT 15   0534                    4.4                            (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 10    OCT 16   0515                    4.0                            (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 11    OCT 17   0550                    4.5                            (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 12    OCT 18   0545                    4.6                            (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 13    OCT 19   0545                    4.4                            (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 14    OCT 20   0415                    4.7                            (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 15    OCT 21   0500                    4.6                            (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 16    OCT 22   0513                    4.8                            (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 17    OCT 23   0500                    4.5                            (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 18    OCT 24   0450                    5.1                            (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 18    OCT 24   1730                                5 ~ B H •1 ( 3. 6-5 . 2)            mEq/L
=> POTASSIUM LEVEL 19    OCT 25   0555                                        •. ~.. ~H~.~(3.6-5.2)
                                         .,.,,.,.,.,,.,,.,...,,.,,.,...'-'"'=5~~9~                        mEq/L
                                         -----------<
=> POTASSIUM LEVEL 19    OCT 25   0829   ---~5_a~•_H_.•~I C3. 6-5 .2>                                     mEq/L
=> POTASSIUM LEVEL 20    OCT 26   0545                                4.6 #              (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 21    OCT 27   0605                                4.1                (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 22    OCT 28   0620                                4.1                (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 23    OCT 29   0626                                4.3                (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 24    OCT 30   0628                                4.7                (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 25    OCT 31   0400                                4.1                (3.6-5.2)        mEq/L
=> POTASSIUM LEVEL 26    NOV 1    0659                                4.1                (3.6-5.2)        mEq/L
=> CHLORIDE LEVEL   1    OCT 7    0732                                   98              (98-108)         mmol/L
=> CHLORIDE LEVEL   2    OCT 8    0510                               102                 ( 98-108)        mmol/L
=> CHLORIDE LEVEL   3    OCT 9    0530                               103                 ( 98-108)        mmol/L
=> CHLORIDE LEVEL   4    OCT 10   0445                               106                 ( 98-108)        mmol/L
=> CHLORIDE LEVEL   5    OCT 11   1910                               103                 ( 98-108)        mmol/L
=> CHLORIDE LEVEL   6    OCT 12   0540                               104                 (98-108)         mmol/L
=> CHLORIDE LEVEL   7    OCT 13   0600                               104                 ( 98-108)        mmol/L
=> CHLORIDE LEVEL   8    OCT 14   0555                               101                 ( 98-108)        mmol/L
=> CHLORIDE LEVEL   9    OCT 15   0534                               100                 ( 98-108)        mmol/L
=> CHLORIDE LEVEL 10     OCT 16   0515                                   98              ( 98-108)        mmol/L
=> CHLORIDE LEVEL 11     OCT 17   0550                               102                 (98-108)         mmol/L
=> CHLORIDE LEVEL 12     OCT 18   0545                               101                 (98-108)         mmol/L
=> CHLORIDE LEVEL 13     OCT 19   0545                                   98              (98-108)         mmol/L
=> CHLORIDE LEVEL 14     OCT 20   0415                                   99              (98-108)         mmol/L

               NAME: EFUNNUGA,OLUTOKUNBO                                        UNIT: F001250247
                                                                                ACCT: FA1307223089
               PRINTED:l2/07/l6 0001                                            PAGE: 22 ** CONTINUED ON NEXT PAGE **
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                               MERCY HEALTH SYSTEM LABORATORY
                                  MERCY FITZGERALD HOSPITAL
                                    1500 I.ANSDOVHE AVENUE
                               DARBY. PA 19023     (610)237-4742
                           SAMIA HENIEN. M.D.    MEDICAL DIRECTOR

                                      LABORATORY REPORT

HAME:EFUHNUGA,OLUTOKUNBO                  DOS: 10/07/l 6                       LOC:FI4PVA
AGE/SEX:37/M      DOB:OJ/06/1979          ACCT: FA1307223089                   MR: F001250247
ATfEHD DR: LITTMAN.MARIO, MD

KEY H - Abn High      *H - Critical High         * - High or Low(Alpha results)              # - Delta Check
    L - Abn Low       *L - Critical Low          * - Microbiology Abn Result

   Test             Day   Date     Time         Result           Reference          Units

=> CHLORIDE LEVEL    15   OCT 21   0500             100          ( 98-108)          mmol/L
=> CHLORIDE LEVEL    16   OCT 22   0513              97      :r. I (98-100)         mmol/L
=> CHLORIDE LEVEL    17   OCT 23   0500              99            ( 98-108)        mmol/L
=> CHLORIDE LEVEL    18   OCT 24   0450              98            (98-108)         mmol/L
=> CHLORIDE LEVEL    18   OCT 24   1730   ---~=--.....~ (98-108)                    mmol/L
=> CHLORIDE LEVEL    19   OCT 25   0555                            (98-108)         mmol/L
=> CHLORIDE LEVEL    19   OCT 25   0829   -~...................- - ( 98-108)        mmol/L
=> CHLORIDE LEVEL    20   OCT 26   0545                            (98-108)         mmol/L
=> CHLORIDE LEVEL    21   OCT 27   0605   ~~~~~~ (98-108)                           mmol/L
=> CHLORIDE LEVEL    22   OCT 28   0620                            (98-108)         mmol/L
=> CHLORIDE LEVEL    23   OCT 29   0626   ~~~~~~ (98-108)                           mmol/L
=> CHLORIDE LEVEL    24   OCT 30   0628                            (98-108)         mmol/L
=> CHLORIDE LEVEL    25   OCT 31   0400   ---~~---< ( 98-108)                       mmol/L
=> CHLORIDE LEVEL    26   NOV 1    0659   ~~~~=~ (98-108)                           mmol/L
=> C02 LEVEL          1   OCT 7    0732               24         ( 23-32)           mmol/L
=> C02 LEVEL          2   OCT 8    0510               27         (23-32)            mmol/L
=> C02 LEVEL          3   OCT 9    0530               27         (23-32)            mmol/L
=> C02 LEVEL          4   OCT 10   0445               26         ( 23-32)           mmol/L
=> C02 LEVEL          5   OCT 11   1910               26         ( 23-32)           mmol/L
=> C02 LEVEL          6   OCT 12   0540               26         ( 23-32)           mmol/L
=> C02 LEVEL          7   OCT 13   0600               28         ( 23-32)           mmol/L
=> C02 LEVEL          8   OCT 14   0555               28         (23-32)            mmol/L
=> C02 LEVEL          9   OCT 15   0534               26         ( 23-32)           mmol/L
=> C02 LEVEL         10   OCT 16   0515               26         ( 23-32)           mmol/L
=> C02 LEVEL         11   OCT 17   0550               28         ( 23-32)           mmol/L
=> C02 LEVEL         12   OCT 18   0545               25         ( 23-32)           mmol/L
=> C02 LEVEL         13   OCT 19   0545               25         (23-32)            mmol/L
=> C02 LEVEL         14   OCT 20   0415               25         ( 23-32)           mmol/L
=> C02 LEVEL         15   OCT 21   0500               23         ( 23-32)           mmol/L
=> C02 LEVEL         16   OCT 22   0513               25         ( 23-32)           mmol/L
=> C02 LEVEL         17   OCT 23   0500               26         ( 23-32)           mmol/L
=> C02 LEVEL         18   OCT 24   0450               27         (23-32)            mmol/L
=> C02 LEVEL         18   OCT 24   1730               23         (23-32)            mmol/L
=> C02 LEVEL         19   OCT 25   0555               27         ( 23-32)           mmol/L
=> C02 LEVEL         19   OCT 25   0829               28         ( 23-32)           mmol/L
=> C02 LEVEL         20   OCT 26   0545               29         ( 23-32)           mmol/L
=> C02 LEVEL         21   OCT 27   0605               30         (23-32)            mmol/L
=> C02 LEVEL         22   OCT 28   0620               24 #       (23-32)            mmol/L
=> C02 LEVEL         23   OCT 29   0626               25         ( 23-32)           mmol/L
=> C02 LEVEL         24   OCT 30   0628               25         (23-32)            mmol/L

               NAME: EFUNNUGA,OLUTOKUNBO                          UNIT: F001250247
                                                                  ACCT: FA1307223089
               PRINTED:l2/07/l6 0001                              PAGE:  23 ** CONTINUED ON NEXT PAGE **
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                              MERCY HEALTH SYSTEM LABORATORY
                                 MERCY FITZGERALD HOSPITAL
                                   1500 I.AHSDOVHE AVENUE
                              DARBY. PA 19023     (610)237-4742
                           SAMU HENIEN. M. D.   MEDICAL DIRECTOR
                                       LABORATORY REPORT

NAME:EFmnroGA.OLUTOKUHBO                   DOS: 10/07/l 6                                           LOC:FI4PVA
AGE/SEX:37/M       DOB:03/06/l979          ACCT: FA1307223089                                       MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD

KEY H - Abn High       *H - Critical High             * - High or Low(Alpha results)                              # - Delta Check
    L - Abn Low        *L - Critical Low              * - Microbiology Abn Result


   Test              Day   Date     Time            Result                  Reference                    Units

=> C02 LEVEL          25   OCT 31   0400                     26                     (23-32)              mmol/L
=> C02 LEVEL          26   NOV 1    0659                     25                     (23-32)              mmol/L
=> ANION GAP           1   OCT 7    0732                       14. 0                (6.0-16)
=> ANION GAP           2   OCT 8    0510                            9.0             (6.0-16)
=> ANION GAP           3   OCT 9    0530                       11. 0                (6.0-16)
=> ANION GAP           4   OCT 10   0445                            8.0             (6.0-16)
=> ANION GAP           5   OCT 11   1910                            9.0             (6.0-16)
=> ANION GAP           6   OCT 12   0540                       10.0                 (6.0-16)
=> ANION GAP           7   OCT 13   0600                            8.0             (6.0-16)
=> ANION GAP           8   OCT 14   0555                       10.0                 (6.0-16)
=> ANION GAP           9   OCT 15   0534                       12.0                 (6.0-16)
=> ANION GAP          10   OCT 16   0515                       14. 0                (6.0-16)
=> ANION GAP          11   OCT 17   0550                       10.0                 (6.0-16)
=> ANION GAP          12   OCT 18   0545                       10.0                 (6.0-16)
=> ANION GAP          13   OCT 19   0545                       10.0                 (6.0-16)
=> ANION GAP          14   OCT 20   0415                       10.0                 (6.0-16)
=> ANION GAP          15   OCT 21   0500                       12.0                 (6.0-16)
=> ANION GAP          16   OCT 22   0513                       11. 0                (6.0-16)
=> ANION GAP          17   OCT 23   0500                       10.0                 (6.0-16)
=> ANION GAP          18   OCT 24   0450                            8.0             (6.0-16)
=> ANION GAP          18   OCT 24   1730                       12.0                 (6.0-16)
=> ANION GAP          19   OCT 25   0555                       11. 0                (6.0-16)
=> ANION GAP          19   OCT 25   0829                            9.0             (6.0-16)
=> ANION GAP          20   OCT 26   0545                       11. 0                (6.0-16)
=> ANION GAP          21   OCT 27   0605                            9.0             (6.0-16)
=> ANION GAP          22   OCT 28   0620                       13.0                 (6.0-16)
=> ANION GAP          23   OCT 29   0626                            9.0             (6.0-16)
=> ANION GAP          24   OCT 30   0628                       11.0                 (6.0-16)
=> ANION GAP          25   OCT 31   0400                            8.0             (6.0-16)
=> ANION GAP          26   NOV 1    0659                       10.0                 (6.0-16)
=> CALCIUM LEVEL       1   OCT 7    0732                            9.0             (8.8-10.5)          mg/dL
=> CALCIUM LEVEL       2   OCT 8    0510                                            (8.8-10.5)          mg/dL
=> CALC !UM LEVEL      3   OCT 9    0530   ~~~.._.~.....;.;;,.""'" (8. 8-10. 5)                         mg/dL
=> CALC !UM LEVEL      4   OCT 10   0445   ~~~~~~ (8.8-10.5)                                            mg/dL
=> CALCIUM LEVEL       5   OCT 11   1910   ~~~.,,.,..,,,....,.,...,..,.,.... (8. 8-10. 5)               mg/dL
=> CALC !UM LEVEL      6   OCT 12   0540                                            (8.8-10.5)          mg/dL
=> CALCIUM LEVEL       7   OCT 13   0600   ===="'=""~,,-,,j (8.8-10.5)                                  mg/dL
=> CALC !UM LEVEL      8   OCT 14   0555   ~.........................,,..___,~=---' ( 8. 8-10. 5)       mg/dL
=> CALC !UM LEVEL      9   OCT 15   0534   ----~=--< (8. 8-10. 5)                                       mg/dL
=> CALCIUM LEVEL      10   OCT 16   0515   -----~ (8.8-10.5)                                            mg/dL

                  HAKE: EFUNNUGA,OLUTOKUNBO                                   UNIT: F001250247
                                                                              ACCT: FA1307223089
                  PRIHTED:l2/07/l6 0001                                       PAGE: 24 ** CONTINUED ON NEXT PAGE **
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                                MERCY HEALTH SYSTEM LABORATORY
                                MERCY FITZGERALD HOSPITAL
                                  1500 I.ANSDOVNE A.VENUE
                             DARBY. PA. 19023    (610)237-4742
                          SAMU HENIEN. lf.D.   MEDICAL DIRECTOR

                                      LABORATORY REPORT
NAME:EFUHNUGA.OLUTOKUNBO                  DOS:  10/07/16                                           LOC:FI4PVA
A.GE/SEX:37/M     DOB:03/06/l979          ACCT: FA1307223089                                       MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD

KEY H - Abn High     *H - Critical High                  * - High or Low(Alpha results)                          # -   Delta Check
    L - Abn Low      *L - Critical Low                   * - Microbiology Abn Result

   Test            Day   Date     Time                   Result                     Reference            Units
=> CALCIUM LEVEL   11    OCT 17    0550       :            : 8.1          I. .. (8.8-10.5)             mg/dL
=> CALCIUM LEVEL   12    OCT 18    0545                                             (8.8-10.5)         mg/dL
=> CALCIUM LEVEL   13    OCT 19    0545   .,,.,.,..,,.,.,,.,,....,.,..,_===-'."1(8.8-10. 5)            mg/dL
=> CALCIUM LEVEL   14    OCT 20    0415                        (8.8-10.5)                              mg/dL
=> CALCIUM LEVEL   15    OCT 21    0500   _ ___...~~-.. ~.- .. (8.8-10.5)                              mg/dL
=> CALCIUM LEVEL   16    OCT 22    0513                        (8.8-10.5)                              mg/dL
=> CALCIUM LEVEL   17    OCT 23    0500   ---~-.-~....., (8. 8-10. 5)                                  mg/dL
=> CALCIUM LEVEL   18    OCT 24    0450                                             (8.8-10.5)         mg/dL
=> CALCIUM LEVEL   18    OCT 24   1730    -~-~~~- (8.8-10.5)                                           mg/dL
=> CALCIUM LEVEL   19    OCT 25   0555                                            (8.8-10.5)           mg/dL
=> CALCIUM LEVEL   19    OCT 25   0829    ~.,.,.,...,.,~,..,._,,_.,,.,.,.,.,...._ ( 8. 8-10. 5)        mg/dL
=> CALCIUM LEVEL   20    OCT 26   0545       ,..... ,.       a/7                1 c0.0-10.5)           mg/dL
=> CALCIUM LEVEL   21    OCT 27   0605                       8;3          Ll(8.8-10.5)                 mg/dL
=> CALCIUM LEVEL   22    OCT 28   0620                       a~ 1                           o.
                                                                          I. •• 'I ( 8 . 8-1 5 )       mg/dL
=> CALCIUM LEVEL   23    OCT 29   0626    •••••'••''•           BA .r••• (8.8-10.5)                    mg/dL
=> CALCIUM LEVEL   24    OCT 30   0628                          8 . 6 I •.1 ( 8 . 8-1 o . 5 )          mg/dL
=> CALCIUM LEVEL   25    OCT 31   0400                       s;s r.                (8.0-10.5)          mg/dL
=> CALCIUM LEVEL   26    NOV 1    0659                          8.3 L· (8.8-10.5)                      mg/dL
=> PHOSPHOROUS LEV 2     OCT 8    0510                          4.1                (2.5-4.5)           mg/dL
=> PHOSPHOROUS LEV 3     OCT 9    0530                          3.7                (2.5-4.5)           mg/dL
=> PHOSPHOROUS LEV 4     OCT 10   0445    ~~-         •.• -••• ~1=,=$~              (
                                                                     .. ~#-.~:rq 2 . 5-4 . 5)          mg/dL
=> PHOSPHOROUS LEV 5     OCT 11   1910                          3.1 #              (2.5-4.5)           mg/dL
=> PHOSPHOROUS LEV 6     OCT 12   0540                       2.8                    (2.5-4.5)          mg/dL
=> PHOSPHOROUS LEV 7     OCT 13   0600                       3.6                    (2.5-4.5)          mg/dL
=> PHOSPHOROUS LEV 8     OCT 14   0555                       3.6                    (2.5-4.5)          mg/dL
=> PHOSPHOROUS LEV 9     OCT 15   0534                       2.9                    (2.5-4.5)          mg/dL
=> PHOSPHOROUS LEV 10    OCT 16   0515                       3.6                    (2.5-4.5)          mg/dL
=> PHOSPHOROUS LEV 11    OCT 17   0550                       3.9                    (2.5-4.5)          mg/dL
=> PHOSPHOROUS LEV 12    OCT 18   0545                       3.8                    (2.5-4.5)          mg/dL
=> PHOSPHOROUS LEV 13    OCT 19   0545                       4.5                    (2.5-4.5)          mg/dL
=> PHOSPHOROUS LEV 14    OCT 20   0415                       4.3                    (2.5-4.5)          mg/dL
=> PHOSPHOROUS LEV 15    OCT 21   0500                       3.5                    (2.5-4.5)          mg/dL
=> PHOSPHOROUS LEV 16    OCT 22   0513                       3.2                    (2.5-4.5)          mg/dL
=> PHOSPHOROUS LEV 17    OCT 23   0500                       3.3                    (2.5-4.5)          mg/dL

                                                             !.* ¥:HI l~. El. il
=> PHOSPHOROUS LEV 18    OCT 24   0450                                                                 mg/dL
=> PHOSPHOROUS LEV 19    OCT 25   0555                                                                 mg/dL
=> PHOSPHOROUS LEV 19    OCT 25   0829                                                                 mg/dL
=> PHOSPHOROUS LEV 20    OCT 26   0545                       3.5 #                  (2.5-4.5)          mg/dL
=> PHOSPHOROUS LEV 21    OCT 27   0605                       3.3                    (2.5-4.5)          mg/dL
=> PHOSPHOROUS LEV 22    OCT 28   0620                       3.1                    (2.5-4.5)          mg/dL
               NAME: EFUNNUGA,OLUTOKUNBO                                            UNIT: F001250247
                                                                                    ACCT: FA1307223089
               PRIHTED:l2/07/l6 0001                                                PAGE: 25 ** CONTINUED ON NEXT PAGE **
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                              MERCY HEALTH SYSTEM LABORATORY
                                  MERCY FITZGERALD HOSPITAL
                                    1500 L\NSDOTIHE .lVEHUE
                               DARBY. PA 19023     (610)237-4742
                          SilI.l HEHIEN. 1!1.D.  MEDICAL DIRECTOR

                                     L\BOR.lTORY REPORT
NAME:EFUNNUGA.OLUTOKUNBO                 DOS:  10/07/l 6                                                     LOC:FI4PVA
AGE/SEX:37/M       DOB:OJ/06/1979        ACCT: FA1307223089                                                  MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD

KEY H - Abn High     *H - Critical High                * - High or Low(Alpha results)                                     # - Delta Check
    L - Abn Low      *L - Critical Low                 * - Microbiology Abn Result


   Test            Day   Date     Time              Result                        Reference                       Units

=> PHOSPHOROUS LEV 23    OCT 29   0626                       3.7                              (2.5-4.5)          mg/dL
=> PHOSPHOROUS LEV 24    OCT 30   0628                       3.9                              (2.5-4.5)          mg/dL
=> PHOSPHOROUS LEV 25    OCT 31   0400                           3.6                          (2.5-4.5)          mg/dL
=> PHOSPHOROUS LEV 26    NOV 1    0659                           3.3                          (2.5-4.5)          mg/dL
=> MAGNESIUM LEVEL 1     OCT 7    0732                           2.4                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 2     OCT 8    0510                           1.9                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 3     OCT 9    0530                           1.9                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 4     OCT 10   0445   -:.:~:::-:-::-.:- •••,..,,1-,..,,,,.7-.:"'"":I""".~I ( 1. 8-2. 4)       mg/dL
=> MAGNESIUM LEVEL 5     OCT 11   1910                           2.2                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 6     OCT 12   0540                           2.2                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 7     OCT 13   0600             .• =:::•=•••"""2"""'._$=•:~H~••,,..,,I <i. 8-2. 4)
                                         -:::=:::-::.-                                                           mg/dL
=> MAGNESIUM LEVEL 8     OCT 14   0555                           2.1                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 9     OCT 15   0534                           1.8                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 10    OCT 16   0515   ::::·::: :              L7 LI (1. 8-2. 4)                               mg/dL
=> MAGNESIUM LEVEL 11    OCT 17   0550                           2.4                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 12    OCT 18   0545                           2.3                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 13    OCT 19   0545                           2.2                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 14    OCT 20   0415                           2.2                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 15    OCT 21   0500                           2.3                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 16    OCT 22   0513                           2.2                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 17    OCT 23   0500                           2.3                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 18    OCT 24   0450                           2.1                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 19    OCT 25   0555                           2.0                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 19    OCT 25   0829                          2.2                           (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 20    OCT 26   0545                           2.2                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 21    OCT 27   0605                           2.0                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 22    OCT 28   0620                           2.1                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 23    OCT 29   0626                          2.0                           (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 24    OCT 30   0628                           2.0                          (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 25    OCT 31   0400                          2.0                           (1.8-2.4)          mg/dL
=> MAGNESIUM LEVEL 26    NOV 1    0659                          2.0                           (1.8-2.4)          mg/dL
=> TOTAL PROTEIN    1    OCT 7    0732            B {(ac) R 1 <6 . 3-8 . 2)                                      gm/dL
=> TOTAL PROTEIN    4    OCT 10   0445             6 1.(a,c) ii 1 j ( 6 . 3-8 . 2)                               gm/dL
=> TOTAL PROTEIN   12    OCT 18   0545            7.l(ac)                                     (6.3-8.2)          gm/dL
=> TOTAL PROTEIN   13    OCT 19   0545            7.l(ac)                                     (6.3-8.2)          gm/dL

NOTES:    (ac) Reference range is based on ambulatory population.
               A decrease of approximately 0.5 gram is observed
               in hospitalized patients.


                NAME: EFUNNUGA,OLUTOKUNBO                                           UNIT: F001250247
                                                                                    ACCT: FA1307223089
                PRINTED:l2/07/l6 0001                                               PAGE: 26 ** CONTINUED ON NEXT PAGE **
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                             MERCY HEALTH SYSTEM LABORATORY
                                MERCY FITZGERALD HOSPITAL
                                  1500 I.AHSDOVHE AVENUE
                             DARBY. PA 19023     (610)237-4742
                          SAMU HEHIEH. M. D.   MEDICAL DIRECTOR

                                      llBORATORY REPORT
NAME:EFUHNUGA.OLUTOKUHBO                  DOS: 10/07/16                                         LOC:FI4PVA
AGE/SEX:37/M      DOB:03/06/l979          ACCT: FA1307223089                                    MR: F001250247
AlTEND DR: LITTMAN.MARIO, MD

KEY H - Abn High      *H - Critical High                   * - High or Low(Alpha results)                    # - Delta Check
    L - Abn Low       *L - Critical Low                    * - Microbiology Abn Result


   Test             Day   Date     Time                 Result                Reference              Units

=> TOTAL PROTEIN     14   OCT 20   0415               7.3(ad)               (6 3-8.2)                gm/dL
=> TOT AL PROTEIN    15   OCT 21   0500               7.6(ad)               (6 3-8 2)                gm/dL
=> TOT AL PROTEIN    10   OCT 22   0513               8.l(ad)               (6 3-8 2)                gm/dL
=> TOT AL PROTEIN    19   OCT 25   0555               7.6(ad)               (6 3-8 2)                gm/dL
=> TOTAL PROTEIN     20   OCT 26   0545               7.6(ad)               (6 3-8 2)                gm/dL
=> TOTAL PROTEIN     21   OCT 27   0605               7 4(ad)               (6.3-8 2)                gm/dL
=> ALBUMIN
=> ALBUMIN
                      1
                      4
                          OCT 7
                          OCT 10
                                   0732
                                   0445
                                                          4:D
                                                            .Ls#.
                                                                     fEfl   (4 1-5 4)
                                                                            (4 1-5 4)
                                                                                                     gm/dL
                                                                                                     gm/dL
=> ALBUMIN           12   OCT 18   0545                      2. 4    t    I <4 1-5 4 >               gm/dL
=> ALBUMIN           13   OCT 19   0545                                                              gm/dL
=> ALBUMIN           14   OCT 20   0415                                       ~: i=~ :~              gm/dL
=> ALBUMIN           15   OCT 21   0500                                       (4 1-5 4)              gm/dL
=> ALBUMIN           16   OCT 22   0513                                       (4 1-5 4)              gm/dL
=> ALBUMIN                                                                                           gm/dL
                                                             rrr1~:     i=~ :~
                     19   OCT 25   0555
=> ALBUMIN           20   OCT 26   0545                                                              gm/dL
=> ALBUMIN           21   OCT 27   0605   •.•••••.•••           r I ( 4 1-5 4)
                                                            > 2 ~2                                   gm/dL
=> GLOBULIN           1   OCT 7    0732    ••••••••••        4.4 H   ( 2. 3-3 5)                     g/dL
=> GLOBULIN           4   OCT 10   0445    .                 3.6     (2 3-3 5)
                                                                     H.                              g/dL
=> GLOBULIN          12   OCT 18   0545    .... ..... ..     4.T     ( 2 3-3 5)
                                                                     H                               g/dL
=> GLOBULIN          13   OCT 19   0545                      43   JI ( 2. 3-3 5)                     g/dL
=> GLOBULIN          14   OCT 20   0415                      4>9H (2 3-3 5)                          g/dL
=> GLOBULIN          15   OCT 21   0500   ·•                 5c1 H ( 2 3-3 5)                        g/dL
= > GLOBULIN         16   OCT 22   0513         ···          5 'S H ( 2 3-3 5)                       g/dL
=> GLOBULIN          19   OCT 25   0555   ·· ····            5, 3    H        ( 2 3-3 5)             g/dL
=> GLOBULIN          20   OCT 26   0545    ··········        5~ 3    H        ( 2 3-3 5)             g/dL
=> GLOBULIN          21   OCT 27   0605                    >s.2 H <2 3-3 5)
                                                                          1                          g/dL
=> ALB/GLOB RATIO     1   OCT 7    0732                      1 0              (0 74-3 85)
=> ALB/GLOB RATIO     4   OCT 10   0445                      1 0              (0 74-3.85)
=> ALB/GLOB RATIO    12   OCT 18   0545                      1 0              (0 74-3 85)
=> ALB/GLOB RATIO    13   OCT 19   0545                      1 0              (0 74-3 85)
=> ALB/GLOB RATIO
=> ALB/GLOB RATIO
                     14
                     15
                          OCT 20
                          OCT 21
                                   0415
                                   0500
                                               ....          O;Q    IL        ((00.7744-_33.8855))
=> ALB/GLOB RATIO    16   OCT 22   0513
                                          .... ....
                                                            J.§ . [ :(0 74-3 85)
                                                             0:0 I I (0. 74-3 85)
=> ALB/GLOB RATIO    19   OCT 25   0555
=> ALB/GLOB RATIO    20   OCT 26   0545                      0;0     L ••. (0 74-3 85)

NOTES:    (ad) Reference range is based on ambulatory population.
               A decrease of approximately 0.5 gram is observed
               in hospitalized patients.


                NAME: EFUNNUGA,OLUTOKUNBO                                      UNIT: F001250247
                                                                               ACCT: FA1307223089
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                               MERCY HEALTH SYSTEM LABORATORY
                                  MERCY FITZGERALD HOSPITAL
                                    1500 UHSDOVHE A.VENUE
                               DARBY. PA 19023     (610)237-4742
                           SA.MU HENIEN . .M.D. .MEDICAL DIRECTOR
                                      LABORATORY REPORT
NAME:EFUHNUGA,OLUTOKUNBO                  DOS: 10/07/16                                 LOC:FI4PVA
AGE/SEX:37/M      DOB:03/06/l979          ACCT: FA1307223089                            MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD

KEY H - Abn High     *H - Critical High                  * - High or Low(Alpha results)              :/t - Delta Check
    L - Abn Low      *L - Critical Low                   * - Microbiology Abn Result


   Test            Day    Date     Time                  Result             Reference       Units
=) ALB/GLOB RATIO 21
=> BILIRUBIN, TOT AL 1
                          OCT 27
                          OCT 7
                                   0605
                                   0732
                                          ••••••• •.••      0 ~ :0
                                                            0.5
                                                                       •·r I <o. 74-3.85)
                                                                             (0.2-1.2)      mg/dL
=> BILIRUBIN,TOTAL 4      OCT 10   0445                     0.8           (0.2-1.2)         mg/dL
=> BILIRUBIN,TOTAL 12     OCT 18   0545                         >H (0.2-1.2)                mg/dL
=> BILIRUBIN, TOTAL 13    OCT 19   0545   ····················2·~•4•      (0.2-1.2)         mg/dL
=) BILIRUBIN,TOTAL 14     OCT 20   0415                                   (0.2-1.2)         mg/dL
=) BILI RUBIN, TOTAL 15   OCT 21   0500                                   (0.2-1.2)         mg/dL
=> BILIRUBIN,TOTAL 16     OCT 22   0513                                   (0.2-1.2)         mg/dL
=> BILIRUBIN,TOTAL 19     OCT 25   0555                              H I (0.2-i.2)          mg/dL
=> BILIRUBIN, TOTAL 20    OCT 26   0545                                   (0.2-1.2)         mg/dL
=) BILIRUBIN,TOTAL 21     OCT 27   0605                                   (0.2-1.2)         mg/dL
=> BILIRUBIN, DI REC 1    OCT 7    0732                                   (0-0.3)           mg/dL
=> BILIRUBIN,DIREC 12     OCT 18   0545    . .. . .. ..
                                                           LB        H !C0-0.3)             mg/dL
                                               ......
=> BILIRUBIN, D!REC 13    OCT 19   0545                    L7 H !(0-0.3)                    mg/dL
=> BILIRUBIN, DIREC 14    OCT 20   0415   .... ... ..
                                              .,


                                                     ..
                                                           Ll H I (0-0.3)                   mg/dL
=) BILIRUBIN ,DIREC 15    OCT 21   0500                    0,8 H .. (0-0.3)                 mg/dL
=> BILIRUBIN, DI REC 16   OCT 22   0513   ..........       0,7 H I <o-o . 3)                mg/dL
=> BILIRUBIN, DI REC 19   OCT 25   0555                 •. L4 H IC0-0.3)                    mg/dL
                                                .... ..
=) BILI RUBIN, DIREC 20   OCT 26   0545                    0.7 H I ( 0-0 . 3)               mg/dL
=> BILI RUBIN, DIREC 21   OCT 27   0605                    0 ~J, H •• ( 0-0. 3)             mg/dL
=) AST/SGOT           1   OCT 7    0732                     26            (14-51)           U/L
=> AST/SGOT           4   OCT 10   0445               . •• 207 I II ( 14-51)                U/L
=> AST/SGOT          12   OCT 18   0545   ....... .. •• 150         H . . (14-51)           U/L
=> AST/SGOT          13   OCT 19   0545                                   (14-51)           U/L
=) AST/SGOT          14   OCT 20   0415                                   ( 14-51)          U/L
=> AST/SGOT          15   OCT 21   0500                         ....
                                                                ..
                                                                          (14-51)           U/L
=) AST/SGOT          16   OCT 22   0513                                ..
                                                                          ( 14-51)          U/L
=> AST/SGOT          19   OCT 25   0555                            ..     (14-51)           U/L
=> AST/SGOT          20   OCT 26   0545                                   (14-51)           U/L
=> AST/SGOT          21   OCT 27   0605                         ....
                                                                          ( 14-51)          U/L
=> ALT SGPT           1   OCT 7    0732                     20            (7-60)            U/L
=> ALT SGPT           4   OCT 10   0445                     46            (7-60)            U/L
=> ALT SGPT          12   OCT 18   0545                    117 H (7-60)                     U/L
=> ALT SGPT          13   OCT 19   0545                    154 H .. (7-60)                  U/L
=> ALT SGPT          14   OCT 20   0415                    191 H (7-60)                     U/L
=> ALT SGPT          15   OCT 21   0500                   15$ H .. (7-60)                   U/L
=> ALT SGPT          16   OCT 22   0513                    128 H .. (7-60)                  U/L
=> ALT SGPT          19   OCT 25   0555                                   (7-60)            U/L
=> ALT SGPT          20   OCT 26   0545                                   (7-60)            U/L
=> ALT SGPT          21   OCT 27   0605                                   (7-60)            U/L

                NAME: EFUNNUGA,OLUTOKUNBO                                    UNIT: F001250247
                                                                             ACCT: FA1307223089
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                             MERCY HEALTH SYSTEM LABORATORY
                                KERCY FITZGERALD HOSPITAL
                                  1500 L\NSDOVBE A.VENUE
                             DARBY. PA 19023     (610)237-4742
                         SA.KU HENIEN. If. D. llEDIC.il DIRECTOR
                                     LABORATORY             REPORT
HAME:EFUHHUGA,OLUTOKUHBO                 DOS:   10/07/16                                           LOC:FI4PVA
A.GE/SEX:37/M      DOB:03/06/l979        A.CCT: FA1307223089                                       MR: F001250247
.ATTEND DR: LITTMAN.MARIO, MD

KEY H - Abn High     *H - Critical High                  * - High or Low(Alpha results)                         # - Delta Check
    L - Abn Low      *L - Critical Low                   * - Microbiology Abn Result


   Test            Day   Date     Time                  Result               Reference                 Units
=> ALK PHOSPHATASE 1     OCT 7    0732                               55                ( 42-157)       U/L
=> ALK PHOSPHATASE 4     OCT 10   0445     • ······••                40 1 I (42-157)                   U/l
=> ALK PHOSPHATASE 12    OCT 18   0545                            110                  (42-157)        U/L
=> ALK PHOSPHATASE 13    OCT 19   0545                            116                  ( 42-157)       U/L
=> ALK PHOSPHATASE 14    OCT 20   0415                            136                  (42-157)        U/L
=> ALK PHOSPHATASE 15    OCT 21   0500   - •.•-•••-•• -••• -••• .....,1~5=9-
                                                                         .• -••• =a~·••1<42-157)       U/L
=> ALK PHOSPHATASE 16    OCT 22   0513   ··••••••••• 158H••·(42-157)                                   U/L
=> ALK PHOSPHATASE 19    OCT 25   0555                            118                  ( 42-157)       U/L
=> ALK PHOSPHATASE 20    OCT 26   0545                            112                  ( 42-157)       U/L
=> ALK PHOSPHATASE 21
=> LDH
=> TOTAL CK
=> TOTAL CK
                   12
                    1
                    2
                         OCT 27
                         OCT 18
                         OCT 7
                         OCT 8
                                  0605
                                  0851
                                  0732
                                  0510
                                          . . •. • • •. • • • • .• • ,
                                         ~~~~~~.~~a~~~~ ~;~~2~~~)
                                             1114 lLJ (32-230)
                                                                  109                  ( 42-157)       U/L
                                                                                                       U/L
                                                                                                       U/L
                                                                                                       U/L
=> TOTAL CK         3    OCT 9    0530                    7497 # JI ( 32-230)                          U/l
=> TOTAL CK         3    OCT 9    1215    <•••••••··      7236 H (32-230)                              U/L
=> TOTAL CK         4    OCT 10   0445                    9288 H (32-230)                              U/L
=> TOTAL CK         5    OCT 11   1910                                                                 U/L
=> TOTAL CK         7    OCT 13   0600                    ;~~~ ~ I ~ ;~=g~ ~                           U/L
=> TOTAL CK         8    OCT 14   0555                   1505        H       (32-230)                  U/l
=> TOTAL CK         9    OCT 15   0534    •••••···•••      1322      H       ( 32-230)                 U/L
=> TOTAL CK        10    OCT 16   0515        .•         < 690
                                                            H   (32-230)                               U/L
=> TROPONIN T       1    OCT 7    0732               ( ae)      (< 0 . 0 4 )                           ng/ml
=> TROPONIN T       1    OCT 7    1211               ( ag)      ( <0 . 0 4 )                           ng/mL
=> TROPONIN T       1    OCT 7    1440               (ah)       (<0.04)                                ng/ml
=> AMPHET UR SCREE 1     OCT 7    0815         NEGATIVE         (NEGATIVE)
=> BARB URINE SCRE 1     OCT 7    0815         NEGATIVE         (NEGATIVE)
=> BENZO UR SCREEN 1     OCT 7    0815         NEGATIVE         (NEGATIVE)
=> COCAINE UR SCR   1    OCT 7    0815         ?0$'.rTlVIi: H I (NEGATIVE)
=> METHADONE UR SC 1     OCT 7    0815         NEGAttv:E        (NEGATIVE)
=> OPIATES UR SCR   1    OCT 7    0815         NEGATIVE         (NEGATIVE)
NOTES :   ( ae) <= 0 . 01
                See also (af)
          (af) Troponin levels greater than or equal to 0.04 ng/ml are
                indicative of myocardial injury.
          ( ag) < = 0. 01
                See also (af)
          (ah)<= 0.01
                See also (af)


                HAKE: EFUNNUGA,OLUTOKUNBO                                      UNIT: F001250247
                                                                               A.CCT: FA1307223089
                PRINTED:l2/07/l6 0001                                          PA.GE: 29 ** CONTINUED ON NEXT PAGE **
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                               MERCY HEALTH SYSTEM LABORATORY
                                  KERCY FITZGERALD HOSPITAL
                                    1500 LAHSDOVNE AVENUE
                               DARBY. PA 19023    (610)237-4742
                           SAMIA HEHIEH. K.D.   MEDICAL DIRECTOR

                                         L\BORATORY REPORT
HAME:EFUNNUGA.OLUTOKUNBO                     DOS: 10/07/l 6                                    LOC:FI4PVA
AGE/SEX:37/M      DOB:OJ/06/1979             ACCT: FA1307223089                                MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD

KEY H - Abn High       *H - Critical High                  * - High or Low(Alpha results)                   # - Delta Check
    L - Abn Low        *L - Critical Low                   * - Microbiology Abn Result


     Test            Dav   Date       Time              Result                  Reference           Units

=> PCP URINE SCREE     1   OCT    7   0815         NEGATIVE                      (NEGATIVE)
=) THC UR SCREEN       1   OCT    7   0815         POSITIVE
                                              .......... ················   H   I (NEGATIVE)
=> UR PROPOXYPHENE     1   OCT    7   0815         NEGATIVE                      (NEGATIVE)
=> TCA SCREEN, UR      1   OCT    7   0815             • (~i)               H   I (NEGATIVE)
=> UR METHAMPHET       1   OCT    7   0815                    (ak)               (NEGATIVE)
=) OXYCODONE UR SC     1   OCT    7   0815                    (am)               (NEGATIVE)

NOTES:      (ai) POSITIVE H
                 False positive results may occur when the patient is taking
                 quetiapine, chlorpromazine, cyclobenzaprine, thioridazine,
                 diphenhydramine,orphenadrine citrate, and cyproheptadine.
                 See also (aj)
            (aj) Screening test only. Result is presumptive.
                 Cutoff concentration for a positive result is:
                 Amphetamines          1000 ng/mL
                 Benzodiazepines        300 ng/ml
                 Cocaine                300 ng/mL
                 Cannabinoids (THC)      50 ng/mL
                 Opiates                300 ng/mL
                 Tricyclics             300 ng/mL
                 Phencyclidine (PCP)     25 ng/ml
                 Barbiturates           200 ng/mL
                 Methadone              300 ng/ml
                 Propoxyphene           300 ng/mL
            (ak) NEGATIVE
                 See also (al)
            (al) Screening test only. Result is presumptive.
                 Cutoff concentration for a positive result is 1000 ng/ml.
            (am) NEGATIVE
                 Screening test only. Result is presumptive.
                 Cutoff concentration for a positive result is 100 ng/ml.




                  HA.ME: EFUNNUGA,OLUTOKUNBO                                     UNIT: F001250247
                                                                                 ACCT: FA1307223089
                  PRINTED:l2/07/l6 0001                                          PAGE:  30 ** CONTINUED ON NEXT PAGE **
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                                MERCY HEALTH SYSTEM LABORATORY
                                   MERCY FITZGERALD HOSPITAL
                                     1500 L\HSDOVHE A.VENUE
                                DARBY. PA 19023    (610)237-4742
                             SAMU HENIEN. If. D. MEDICAL DIRECTOR

                                        L\BORATORY REPORT
NAME:EFUHNUGA,OLUTOKUNBO                    DOS:  10/07/16                       LOC:FI4PVA
A.GE/SEX:37/M     DOB:03/06/l979            ACCT: FA1307223089                   MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD
KEY H - Abn High        *H - Critical High           * - High or Low(Alpha results)           # - Delta Check
    L - Abn Low         *L - Critical Low            * - Microbiology Abn Result


   Test               Dav   Date     Time          Result            Reference       Units

=) VANCOMYCIN TROU      4   OCT 10   2020        5.3(an)                             mg/L
=> VANCOMYCIN TROU      6   OCT 12   0540       11.0(an)                             mg/L
=> ACETAMINOPHEN        1   OCT 7    0732    •••< S;J.:lfaqJ•••• L   I c10-3o)       mg/L
=> SALICYLATE LEVE      1   OCT 7    0732       < 0.3(ap)             (0.0-44.0)     mg/dL
=> TSH REFLEX           2   OCT 8    1145              0.76           (0.27-4.62)    uIU/mL
=) AMMONIA              2   OCT 8    1145          53(aq)             (16-60)        umol/L
=> HEPATITIS C ANT      5   OCT 11   1910        NEGATIVE             (NEGATIVE)
=> HEP B SURFACE A      5   OCT 11   1910        NEGATIVE             (NEGATIVE)
=> HEP B CORE IGM       5   OCT 11   1910        NEGATIVE             (NEGATIVE)
=) RDM UR CREATINI      1   OCT 7    1440       126.0(ar)                            mg/dL
=) SOD! UM, RANDOM U    1   OCT 7    1440          64(as)                            mmol/L
=> SODIUM.RANDOM U      1   OCT 7    1530          63(as)                            mmol/L
=> POTASSIUM, RANDO     1   OCT 7    1530          58(at)                            mmol/L

NOTES:    (an)
                 Interpretive Note:
                 Vancomycin Trough concentrations of at least 10 mg/L
                 should be achieved, this may reduce the emergence of
                 isolates with elevated vancomcyin MICs (reduced
                 susceptibility).
                 Trough concentrations of 15-20 mg/L recommended in the
                 setting of invasive infections such as bacteremia,
                 endocarditis, osteomyelitis, prosthetic joint infections
                 hospital acquired pneumonia and infections involving
                 the central nervous system and for treatment of due to
                 isolates with vancomycin MICs > 1 mg/L.
                 Am J Health Syst Pharm 2009:66 p82
          (ao)   RESULT DELAYED. INSTRUMENT MALFUNCTION
          (ap)   Salicylates Interpretation
                 antipyretic, analgesic:   2.0-10.0 mg/dL
                 anti-inflammatory:       10.0-25.0 mg/dL
                 toxic:                       >30. 0 mg/dL
          (aq)   Temozolomide at therapeutic concentrations may lead to
                 erroneous results.
          (ar)   Reference range not established for random specimens.
          (as)   Reference Range not available.
                 Dependent on salt intake.
          (at)   Reference Range not available.
                 Dependent on salt intake.


                   NAME: EFUNNUGA,OLUTOKUNBO                          UNIT: F001250247
                                                                      ACCT: FA1307223089
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                               MERCY HEALTH SYSTEM LABORATORY
                                  MERCY FITZGERALD HOSPITAL
                                    1500 UNSOOVHE AVENUE
                               DARBY. PA 19023    (610)237-4742
                           SAMIA HENIEN. M.D.   MEDICAL DIRECTOR

                                      L\BORATORY REPORT
NAME:EFUHNUGA.OLUTOKUNBO                  DOS:    10/07/16               LOC:FI4PVA
AGE/SEX:37/M       DOB:03/06/l979         ACCT: FA1307223089             MR: F001250247
ATfEND DR: LITTMAN.MARIO, MD

KEY H - Abn High       *H - Critical High         * - High or Low(Alpha results)      # - Delta Check
    L - Abn Low        *L - Critical Low         * - Microbiology Abn Result

   Test              Day   Date    Time          Result      Reference        Units

=> ROM UR CHLORIDE     1   OCT 7   1530          51(au)                      mmol/L
=> ETHYL ALCOHOL       1   OCT 7   0732          Sl(av)      (< 10)          mg/dL
=> RAPID PLASMA RE     3   OCT 9   1215            (aw)      (NR)
=> VDRL CSF            2   OCT 8   1337            (ax)      (Nonreactive)
=> VDRL, CSF TITER     2   OCT 8   1337            (ay)      ( ())           Titer
=> CRYPTO AG           3   OCT 9   1215            (az)

NOTES:    (au) Reference Range not available.
               Dependent on salt intake.
          (av) For Medical Managment only
               Impairment:            50-100
               Depression of CNS:     >100
               Fatalities reported:   >400
          (aw) NON-REACTIVE
          (ax) Nonreactive
          (ay) Test not performed
               Test performed at Warde Medical Laboratory,
               300 W. Textile Rd, Ann Arbor, MI 48108      800-876-6522
               William G. Finn, MD - Medical Director
          (az) See Below
               Cryptococcal Ag Screen w/rfl
               Test Name             Result        Flag Ref Range
               Specimen Source       SERUM
               Cryptococcal Ag Ser   NOT DETECTED       NOT DETECTED
               Culture should be performed on the initial
               positive antigen test in order to recover the
               causative organism for precise identification
               (C. neoformans vs, C. gatii) and potential
               susceptibility testing.
               Test performed at
               Focus Diagnostics, Inc.
               33608 Ortega Highway
               San Juan Capistrano, CA 92675
               Laboratory Director: HJ Batterman MD




                NAME: EFUNNUGA,OLUTOKUNBO                     UNIT: F001250247
                                                              ACCT: FA1307223089
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                             MERCY HEALTH SYSTEM LABORATORY
                                KERCY FITZGERil.D HOSPITAL
                                  1500 L\HSDOVHE AVENUE
                             DARBY. PA 19023     (610)237-4742
                         SAMIA HENIEN. K.D.   MEDICAL DIRECTOR
                                     llBORATORY REPORT

NAME:EFUHNUGA.OLUTOKUHBO                 DOS:  10/07/l 6                                LOC:FI4PVA
AGE/SEX:37/M      DOB:03/06/l979         ACCT: FA1307223089                             MR: F001250247
ATTEND DR: LITTMAN.MARIO. MD
KEY H - Abn High     *H - Critical High                 * - High or Low(Alpha results)                 # - Delta Check
    L - Abn Low      *L - Critical Low                  * - Microbiology Abn Result


   Test            Dav   Date     Time               Result               Reference          Units

=> OLIG BANDS. CSF 2     OCT 8    1337              (ba)
=> ALBUMIN. CSF     2    OCT 8    1337          24.2(bb)                   (0.0 - 35.0)      mg/dL
=> CD4%             4    OCT 10   2030    •••••••••••.•••••   2f,   I.   (35-66)             %
=> CD4.ABSOLUTE     4    OCT 10   2030    :::::::·::: ::••.: 2•45•  I.   (443-1471)          cell/ul
=> CD8%
=> CDS.ABSOLUTE
                    4
                    4
                         OCT 10
                         OCT 10
                                  2030
                                  2030
                                          :::: :: :·: ......... 5.0•
                                                              515
                                                                          I (190-832)
                                                                    H .. (9-37)              %
                                                                                             cell/ul
=> CD4/CD8 RATIO    4    OCT 10   2030           '
                                                   0   ~ S(bC) L
                                                    ...................   I (1.0-3.7)
=> GENTAMICIN. TRO 10    OCT 16   1216                      (bd)

NOTES:    (ba) See Below
                CSF contains oligoclonal bands. Since the corresponding
                serum contains the same oligoclonal bands. this is not
                specific enough to be considered supportive evidence
                for multiple sclerosis.
                Reviewing pathologist: William G Finn. M.D.
                Test performed at Warde Medical Laboratory,
                300 W. Textile Rd. Ann Arbor. MI 48108      800-876-6522
                William G. Finn. MD - Medical Director
          (bb) Test performed at Warde Medical Laboratory,
                300 W. Textile Rd. Ann Arbor. MI 48108      800-876-6522
                William G. Finn, MD - Medical Director
          (be) Test performed at Warde Medical Laboratory,
                300 W. Textile Rd. Ann Arbor. MI 48108      800-876-6522
          (bd) 0.8 UG/ML
                REFERENCE RANGE:0.5-2.0 UG/ML
                CONFIRMED IN DUPLICATE
                TEST PERFORMED BY ATLANTIC DIAGNOSTIC LABORATORIES BENSALEM
                PA
                See also (*be)
          (*be)ATLANTIC DIAGNOSTICS LAB
                PERFORMED at Atlantic Diagnostics Labs
                Bensalem. PA




                NAME: EFUNNUGA.OLUTOKUNBO                                   UNIT: F001250247
                                                                            ACCT: FA1307223089
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                               MERCY HEALTH SYSTEM LABORATORY
                                  MERCY FITZGERALD HOSPITAL
                                    1500 LAHSDOTIHE AVENUE
                               DARBY. PA 19023     (610)237-4742
                           SAMIA HENIEN. M.D.    MEDICAL DIRECTOR
                                      LABORATORY REPORT
HAME:EFUHHUGA.OI.UTOKUHBO                 DOS: 10/07/16                   I.OC:FI4PVA
AGE/SEX:37/M        DOB:03/06/l979        ACCT: FA1307223089              MR: F001250247
ATTEND DR: LITTMAN.MARIO. MD
KEY H - Abn High      *H - Critical High        * - High or Low(Alpha results)         # - Delta Check
    L - Abn Low       *I. - Critical Low        * - Microbiology Abn Result


   Test             Day   Date     Time        Result      Reference          Units
=> GENTAMICIN. TRO 17     OCT 23   0500       l.O(bf)      (1.0-2.0)          mg/L
=> GENTAMICIN. TRO 17     OCT 23   1300       1.l(bh)      ( 1. 0-2. 0)       mg/L

NOTES:    (bf) THIS TEST WAS PERFORMED AT:
                QUEST DIAGNOSTICS/NICHOLS CHANTILLY
                14225 NEWBROOK DRIVE
                CHANTILLY. VA 20151-2228
                PATRICK W. MASON.MD.PHD
                See also (*bg)
          (*bg)QUEST
                Performed by Quest Laboratories
                HORSHAM. PA
          (bh) THIS TEST WAS PERFORMED AT:
                QUEST DIAGNOSTICS/NICHOLS CHANTILLY
                14225 NEWBROOK DRIVE
                CHANTILLY. VA 20151-2228
                PATRICK W. MASON.MD.PHO
                See also (*bg)




                NAME: EFUNNUGA.OLUTOKUNBO                  UNIT: F001250247
                                                           ACCT: FA1307223089
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                                  MERCY HEALTH SYSTEM LABORATORY
                                    KERCY FITZGERALD HOSPITAL
                                   1500 UNSOOVHE AVENUE
                              DARBY. PA 19023   (610)237-4742
                          SAMU. HEHIEH, K. D. KEDIC.U. DIRECTOR

                                        LABORATORY REPORT
NAME:EFUNHUGA.OLUTOKUNBO                   DOS:  10/07/l 6               LOC:FI4PVA
AGE/SEX:37/M       DOB:03/06/l979          ACCT: FA1307223089            MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD

KEY H - Abn High      *H - Critical High           * - High or Low(Alpha results)      # - Delta Check
    L - Abn Low       *L - Critical Low            * - Microbiology Abn Result


   Test             Day   Date      Time          Result     Reference         Units

=> TOXOPLASMA IgG     2   OCT 8     1337     <0.90(bi)

NOTES:    (bi) REFERENCE RANGE:
                             IgG: <0. 90
                             IgM: <0. 80
                INTERPRETIVE CRITERIA:
                                  IgG:
                                    <0.90  ANTIBODY NOT DETECTED
                               0. 90-1. 09 EQUIVOCAL
                            >OR= 1.10      ANTIBODY DETECTED
                                IgM:
                                   <0.80   ANTIBODY NOT DETECTED
                             0.80-0.99     EQUIVOCAL
                           >OR= 1.00       ANTIBODY DETECTED
                Diagnosis of central nervous system infections can
                be accomplished by demonstrating the presence of
                intrathecally-produced specific antibody.
                Interpreting results may be complicated by low
                antibody levels found in CSF, passive transfer of
                antibody from blood, and contamination via bloody
                taps. The interpretation of CSF results must
                consider CSF-serum antibody ratios to the
                infectious agent.
                THIS TEST VAS PERFORMED AT:
                FOCUS DIAGNOSTICS
                33608 ORTEGA HIGHWAY BLD B-VEST WING
                SAN JUAN CAPISTRANO, CA 92675-2042
                HOLLIS BATTERMAN.MD
                See also (*bj)
          (*bj)QUEST
                Performed by Quest Laboratories
                HORSHAM. PA




                NAME: EFUNNUGA,OLUTOKUNBO                     UNIT: F001250247
                                                              ACCT: FA1307223089
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                               MERCY HEALTH SYSTEM LABORATORY
                                  KERCY FITZGERALD HOSPITAL
                                    1500 I.ANSDOVHE A.VENUE
                               DARBY. PA. 19023    (610)237-4742
                          SA.KIA HENIEN. K.D.    MEDICAL DIRECTOR

                                     LABORATORY               REPORT
NAME:EFUHNUGA,OLUTOKOHBO                 DOS: 10/07/16                                    LOC:FI4PVA
AGE/SEX:37/M      DOB:03/06/l979         A.CCT: FA1307223089                              MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD

KEY H - Abn High      *H - Critical High               * - High or Low(Alpha results)                    # - Delta Check
    L - Abn Low       *L - Critical Low                * - Microbiology Abn Result


   Test             Day   Date    Time               Result                   Reference          Units
=> TOXOPLASMA IgM     2   OCT 8   1337         <0.80(bk)
=> HIV-1 RNA QUAL     1   OCT 7   1030    '      DETECTED
                                              ........................   lI   I (Not detected)
=> DATE RECEIVED      1   OCT 7   1030             10/7/16

NOTES:    (bk) REFERENCE RANGE:
                            IgG: <0. 90
                            IgM: <0. 80
               INTERPRETIVE CRITERIA:
                                 IgG:
                                   <0.90 ANTIBODY NOT DETECTED
                              0.90-1.09  EQUIVOCAL
                           >OR= 1.10     ANTIBODY DETECTED
                               IgM:
                                  <0.80  ANTIBODY NOT DETECTED
                            0.80-0.99    EQUIVOCAL
                          >OR= 1.00      ANTIBODY DETECTED
               Diagnosis of central nervous system infections can
               be accomplished by demonstrating the presence of
               intrathecally-produced specific antibody.
               Interpreting results may be complicated by low
               antibody levels found in CSF, passive transfer of
               antibody from blood, and contamination via bloody
               taps. The interpretation of CSF results must
               consider CSF-serum antibody ratios to the
               infectious agent.
               THIS TEST WAS PERFORMED AT:
               FOCUS DIAGNOSTICS
              33608 ORTEGA HIGH~AY BLD B-WEST WING
                SAN JUAN CAPISTRANO, CA 92675-2042
                HOLLIS BATTERMAN,MD
                See also (*bl)
          (*bl)QUEST
                Performed by Quest Laboratories
                HORSHAM, PA




                HAKE: EFUNNUGA,OLUTOKUNBO                                      UNIT: F001250247
                                                                               ACCT: FA1307223089
                PRIHTED:l2/07/l6 0001                                          PAGE: 36 ** CONTINUED ON NEXT PAGE **
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                                           MERCY HEALTH SYSTEM LABORATORY
                                              MERCY FITZGERALD HOSPITAL
                                                1500 I.ANSDOVHE AVENUE
                                           DARBY. PA 19023     (610)237-4742
                                        SAMU HENIEN. 11.D.   MEDICAL DIRECTOR

                                                  llBORATORY REPORT
NAME:EFUHNUGA,OLOTOKUNBO                              DOS:  10/07/16                           LOC:FI4PVA
AGE/SEX:37/M      DOB:03/06/l979                      ACCT: FA1307223089                       MR: F001250247
ATfEND DR: LITTMAN.MARIO, MD

KEY H - Abn High                 *H - Critical High              * - High or Low(Alpha results)              # - Delta Check
    L - Abn Low                  *L - Critical Low               * - Microbiology Abn Result


    Test                      Day     Date     Time            Result              Reference         Units

=> DATE REPORTED                 1    OCT 7    1030                 (bm)
=> COPIES/ML                     1    OCT 7    1030    ············•.t.;•44~   H   (< 40)            Copies/ml
=> LOGCOPIES/ML                  1    OCT 7    1030        ~; l~{lzj.)         JI I (<1.60)


source •catego:tfa(: •·. 'B:L()OD •. •••··

Collection Date: lD/:19/:16 ..

>                                                        Final 10/25/16
                                                       NO GROWTH AFTER 6 DAYS


NOTES:       (bm) 10/10/16
                  This test utilizes a real-time reverse-transcriptase
                  polymerase chain reaction test from Abbott Molecular
                  Systems to amplify a portion of the pol/integrase region
                  of the HIV-1 genome. This test is intended for use in
                  conjunction with clinical presentation and other laboratory
                  markers as an indicator of disease prognosis.  This test
                  may also be used as an aid in assessing the viral response
                  to antiretroviral treatment as measured by changes in
                  plasma HIV-1 RNA levels.  This test should not be used to
                  establish a diagnosis of HIV-1 infection. The lower limit
                  of quantitation is 40 copies/ml (1.60 log cy/ml) and the
                  upper limit of quantitation is 10,000,000 copies/mL
                  (7.00 log cy/ml). The qualitative limit of detection
                  is 20 copies/ml (1.30 log cy/ml).
                  Specimens reported as DETECTED but <40 cy/mL contain
                  detectable level of HIV-1 RNA but the viral load is below
                  the limit of quantitation. A Not detected result does
                  not rule out infection.
                  Test performed at Warde Medical Laboratory,
                  300 W. Textile Rd, Ann Arbor, MI 48108      800-876-6522
                  William G. Finn, MD - Medical Director
             (bn) Result Units: Log (10) Copies/ml



                         NAME: EFUNNUGA,OLUTOKUNBO                                  UNIT: F001250247
                                                                                    ACCT: FA1307223089
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                                    MERCY HEALTH SYSTEM LABORATORY
                                       MERCY FITZGERll.D HOSPITAL
                                         1500 LAHSDOVHE AVENUE
                                    DARBY. PA 19023     (610)237-4742
                                SAMIA HENIEN. M.D.   MEDICAL DIRECTOR
                                           L\BORATORY REPORT
NAME:EFUNHUGA,OLUTOKUNBO                    DOS:  10/07/l 6                                                LOC:FI4PVA
AGE/SEX:37/M       DOB:03/06/l979           ACCT: FA1307223089                                             MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD
KEY H - Abn High           *H - Critical High             * - High or Low(Alpha results)                                # - Delta Check
    L - Abn Low            •L - Critical Low              * - Microbiology Abn Result




>                                               Final 10/25/16
                                              NO GROWTH AFTER 6 DAYS




>                                               Final 10/23/16
                                              NO GROWTH AFTER 6 DAYS


C611ecti6ri Date:•••ID/14/16•••••·······

>                                               Final 10/20/16
                                              NO GROWTH AFTER 6 DAYS

Collection Date:•lO/:l0/16····

>                                               Final 10/16/16
                                              NO GROWTH AFTER 6 DAYS

>                                              Final 10/16/16
                                             NO GROWTH AFTER 6 DAYS

Collection Date:•••l0/:08/16·····

>                                              Final 10/12/16
            GRAM STAIN RESULT                FROM AEROBIC BOTTLE:
                                             GRAM POSITIVE COCCI IN CHAINS
            POSITIVE                         Po.·sIT·I·vE··s·MEA.
                                              .....
                                                  . . . . .. .. . .
                                                    . .    .
                                                                                 R·.···cA·
                                                                  .... . . . . . .   ....
                                                                                    ...    ·1··1·ED··1
                                                                                             ....
                                                                                     . . . . . . . . ...
            CALLED TO/READ BACK EY:          JOHN GOOCH AT 77906
            DATE                             10/09/16
            TIME CALLED                      2220
            CALLED BY                        GM


                    HAKE: EFUNNUGA,OLUTOKUNBO                                           UNIT: F001250247
                                                                                        ACCT: FA1307223089
                    PRIHTED:l2/07/l6 0001                                               PAGE: 38 ** CONTINUED ON NEXT PAGE **
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                                  MERCY HEALTH SYSTEM LABORATORY
                                     MERCY FITZGERALD HOSPITAL
                                       1500 L\HSDOVBE A.VENUE
                                  DARBY. PA. 19023   (610)237-4742
                               SAMU HENIEN. 11.D.  MEDICAL DIRECTOR
                                         L\BORATORY REPORT
NAME:EFUHNUGA..OLUTOKUNBO                  DOS: 10/07/l 6                           LOC:FI4PVA
A.GE/SEX:37/M      DOB:OJ/06/1979          A.CCT: FA1307223089                      MR: F001250247
A.TfEHD DR: LITTMAN.MARIO, MD
KEY H - Abn High        *H - Critical High           * - High or Low(Alpha results)              # - Delta Check
    L - Abn Low         *L - Critical Low            * - Microbiology Abn Result




Col!ection•Date: •10708/16 (continued)••••••······
                                                                                            (continued)



           l0/l2FOR IDENTIFICATION       AND SUSCEPTIBILITY REFER TO:BLOOD
           CULTURE FROM SAME DATE

>                                              Final 10/12/16
           GRAM STAIN RESULT                 FROM ANAEROBIC BOTTLE: GRAM POSITIVE COCCI IN CHAINS
           POSITIVE                         :PP?I'fJ:VE: •• $l{E:AR •CJ..lI.EJ) I
           CALLED TO/READ BACK BY:           DR KUMAR, NITISH
           DATE                              10/09/16
           TIME CALLED                       1305
           CALLED BY                         GPB
        Organism 1                          STHEE>• ~~TI:$/$'J'Rp>•QRALI$j
           BACTEC BOTTLE                     FROM ANAEROBIC BOTTLE
    IL STRMO
                         M.I.C.           _filL_
    TRIMET/SULFA         <=10                s
    CEFTRIAXONE          <=1                 s
    ERYTHROMYCIN         1                   I
    LEVOFLOXACIN         0.25                s
    LINEZOLID            2                   s
    PENG                 0.5                 R
    TETRACYCLINE         16                  R
    VANCOMYCIN           0.5                 s




>                                                Final 10/21/16
                   NAME: EFUNNUGA,OLUTOKUNBO                          UNIT: F001250247
                                                                      A.CCT: FA1307223089
                   PRINTED:l2/07/l6 0001                              PlGE: 39 ** CONTINUED ON NEXT PAGE **
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                                          MERCY HEALTH SYSTEM LABORATORY
                                             MERCY FITZGERALD HOSPITAL
                                               1500 LANSDOVHE AVENUE
                                          DARBY. PA 19023    (610)237-4742
                                      SAMIA HEHIEN. M.D.   MEDICAL DIRECTOR
                                                      LABORATORY REPORT

HAME:EFUHHUGA,OLUTOKUHBO                               DOS:  10/07/16                LOC:FI4PVA
AGE/SEX:37/M      DOB:OJ/06/1979                       ACCT: FA1307223089            MR: F001250247
ATTEND DR: LITTMAN.MARIO. MD
KEY H - Abn High               *H - Critical High             * - High or Low(Alpha results)      # - Delta Check
    L - Abn Low                *L - Critical Low              * - Microbiology Abn Result




COllectioiiDate: ••10/21/16 Jcontin'tl~dJ•.•.•••••···
                                                                                          (continued)
              RESULT                                     NEGATIVE FOR LEGIONELLA URINARY ANTIGEN




>                                                          Final 10/15/16
              CULTURE                                    NO GROWTH IN 24 HOURS


S6u:r'Ce Cat$9.:dt>#i ••RE:$J?IRATOR¥•·············



>                                                         Final 10/24/16
             RESULT                                     NEGATIVE-NO MRSA DNA DETECTED
             MRSA colonization unlikely. False negative results can
             occur. Follow hospital policies for repeat monitoring.

C6lle3pt;~ptj•patE;,   :··· 1p,tgl_/l6·.•·•···

>                                                           Final 10/23/16
             GRAM STAIN RESULT                          *
                                                        MANY WHITE BLOOD CELLS
                                                        MANY EPITHELIAL CELLS
                                                        FEW GRAM POSITIVE COCCI IN PAIRS
                                                        FEW GRAM POSITIVE BACILLI
                                                        RARE GRAM NEGATIVE RODS
             CULTURE                                    NORMAL RESPIRATORY FLORA
             GROliJTH                                   RARE




                       NAME: EFUNNUGA.OLUTOKUNBO                             UNIT: F001250247
                                                                             ACCT: FA1307223089
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                                      MERCY HEALTH SYSTEM LABORATORY
                                         MERCY FITZGERALD HOSPITAL
                                           1500 I.ANSDOVHE .A.VENUE
                                      DARBY. PA 19023     (610)237-4742
                                  SAMIA HENIEN. M.D.    MEDICAL DIRECTOR
                                            LABORATORY       REPORT
NAME:EFUHNUGA,OLUTOKUHBO                      DOS:  10/07/l 6                           LOC:FI4PVA
AGE/SEX:37/M       DOB:OJ/06/1979             ACCT: FA1307223089                        MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD
KEY H - Abn High           *H - Critical High          * - High or Low(Alpha results)                :/t -   Delta Check
    L - Abn Low            *L - Critical Low           * - Microbiology Abn Result




Collection Date:• •10?:197:16•••••······
>                                                  Final 10/22/16
            GRAM STAIN RESULT                  *
                                               MANY WHITE BLOOD CELLS
                                               MODERATE EPITHELIAL CELLS
                                               MANY GRAM POSITIVE COCCI IN PAIRS
                                               MODERATE GRAM POSITIVE COCCI IN CHAINS
                                               FEW GRAM NEGATIVE RODS
            CULTURE                            NORMAL RESPIRATORY FLORA
            GROWTH                             LIGHT
        Organism 1                             .ENTEROBACTER
                                                 ....... .. ..
                                                                         .. AEROGENES
                                                               . ....... .
           GROli.TTH                           MODERATE
        Organism 2                             STREPJ'()COCCUS •(;R0UF .• c I
           GROli.TTH                           MODERATE

                            M.I.C.
    TRIMET/SULFA            <=20
    AZTREONAM               16                 I
    CEFAZOLIN               >=64               R
    CEFTR IAXONE            16                 I
    CEFEPIME                <=1
    CIPROFLOXACIN
    GENTAMICIN
    TOBRAMYCIN
    AMIKACIN
    PIP/TAZO
                            <=0.25
                            <=1
                            <=1
                            <=2
                            >=128
                                            §d R




>                                                Final 10/18/16
            RESULT                             NEGATIVE-NO MRSA DNA DETECTED



                     NAME: EFUNNUGA,OLUTOKUNBO                            UNIT: F001250247
                                                                          ACCT: FA1307223089
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                                             MERCY HEALTH SYSTEM LABORATORY
                                                KERCY FITZGERALD HOSPITAL
                                                   15 0 0 I.ANSDOVHE A.VENUE
                                             DARBY. PA 19023        (610)237-4742
                                        SA.KIA HENIEN, K. D.        MEDICAL DIRECTOR
                                                    LABORATORY      REPORT
NAHE:EFUHHUGA.OLUTOKUNBO                              DOS: 10/07/16                           LOC:FI4PVA
AGE/SEX:37/M       DOB:03/06/l979                     ACCT: FA1307223089                      KR: F001250247
ATTEND DR: LITTMAN.MARIO, MD
KEY H - Abn High                *H - Critical High             * - High or Low(Alpha results)              # - Delta Check
    L - Abn Low                 *L - Critical Low              * - Microbiology Abn Result




COllection• Date: ••10?:17?:16 (continued)•••·····

                                                                                                      (continued)
              MRSA colonization unlikely. False negative results can
              occur. Follow hospital policies for repeat monitoring.


Ctjlletj}iqtj. Pei.~$'··· iP,/13,/16············

>                                                          Final 10/15/16
              GRAM STAIN RESULT                        *
                                                       RARE EPITHELIAL CELLS
                                                       MANY YHITE BLOOD CELLS
                                                       FEW GRAM POSITIVE COCCI IN PAIRS
                                                       FEW GRAM NEGATIVE RODS

              CULTURE                                  NORMAL RESPIRATORY FLORA
              GROVTH                                   RARE
         Organism 1                                    ~ll'I'~QE!Ji..C'I'l::R :AE::RQGE:N~~
            GROWTH                                     MODERATE

    IL :ENT AER()GE I
                                  M. I.C.
    TRIMET/SULFA                  <=20
    AZTREONAM                     <=1
    CEFAZOLIN                     >=64
    CEFTRIAXONE                   <=l
    CEFEPIME                      <=1
    CIPROFLOXACIN                 <=0.25
    GENTAMICIN                    <=l
    TOBRAMYCIN                    <=1
    AMII<ACIN                     <=2




                        NA.KE: EFUNNUGA,OLUTOKUNBO                               UNIT: F001250247
                                                                                 ACCT: FA1307223089
                        PRIHTED:l2/07/l6 0001                                    PAGE: 42 ** CONTINUED ON NEXT PAGE **
               Case 2:18-cv-00924-PD              Document 15-11            Filed 05/03/18   Page 110 of 160

                                          MERCY HEALTH SYSTEM LABORATORY
                                              MERCY FITZGERALD HOSPITAL
                                                1500 LANSDOWE A.VENUE
                                          DARBY. PA 19023     (610)237-4742
                                      SAMIA. HENIEN. M.D.   KEDICil. DIRECTOR
                                                  llBORATORY REPORT
NAME:EFUHNUGA.OLOTOKUNBO                              DOS: 10/07/16                    LOC:FI4PVA
.A.GE/SEX:37/M    DOB:03/06/l979                      ACCT: FA1307223089               MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD
KEY H - Abn High               *H - Critical High               * - High or Low(Alpha results)      # -   Delta Check
    L - Abn Low                *L - Critical Low                * - Microbiology Abn Result




>                                                          Final 10/ll/16
              GRAM STAIN RESULT                        *
                                                       MANY WHITE BLOOD CELLS
                                                       RARE EPITHELIAL CELLS
                                                       MANY GRAM POSITIVE COCCI IN CLUSTERS
                                                       MODERATE GRAM POSITIVE COCCI IN PAIRS
                                                       FEW GRAM NEGATIVE RODS
              CULTURE                                  NO NORMAL RESPIRATORY FLORA
         Organism 1                                   $1'APH'{I.OC(lC:CU!S .j\UREU$1
            GROli.TTH                                  HEAVY
              10/ll UPDATED GROWTH OF STAPH AUREUS

                                    *******************************
                                    * This is a corrected result. *
                                    *******************************
              A prior result that was reported as final has been changed.

    11: STA liURE:US I
                                M. I.C.           _filL_
    TRIMET/SULFA                <=10
    CLINDAMYCIN
    ERYTHROMYCIN
    GENTAMICIN
                                0.25
                                0.5
                                <=0.5
                                                  ~
                                                  s
                                                  I         I
    LEVOFLOXACIN                0.25
    LINEZOLID                   2                 EEj
    OXACILLIN                   0.5               I s       I
    TETRACYCLINE                >=16                   R
    VANCOMYCIN                  <=0.5                  s

Colle99f;;ii:Jri l)aj;~: · 1(1J<OF16···········

>                                                        Final 10/07/16
              RESULT                                   NEGATIVE-NO MRSA DNA DETECTED
                       HA.ME: EFUNNUGA,OLUTOKUNBO                           UNIT: F001250247
                                                                            ACCT: FA1307223089
                       PRINTED:l2/07/16 0001                                PAGE: 43 ** CONTINUED ON NEXT PAGE **
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                               MERCY HEALTH SYSTEM LABORATORY
                                  MERCY FITZGERALD HOSPITAL
                                    1500 L\NSDOVNE A.VENUE
                               DARBY. PA 19023    (610)237-4742
                           SAMIA HENIEN. M. D.  MEDICAL DIRECTOR

                                     LABORATORY REPORT
NAME:EFUHNUGA.OLUTOKUHBO                 DOS:    10/07/16                 LOC:FI4PVA
AGE/SEX:37/M       DOB:03/06/l979        A.CCT: FA1307223089              MR: F001250247
ATTEND DR: LITTMAN.MARIO. MD
KEY H - Abn High      *H - Critical High        * - High or Low(Alpha results)         # - Delta Check
    L - Abn Low       *L - Critical Low         * - Microbiology Abn Result




                                                                                  (continued)
         MRSA colonization unlikely. False negative results can
         occur. Follow hospital policies for repeat monitoring.




> c::,f UTL TUF:E                             Final 10/12/16
            GRAM STAIN RESULT             *
                                          RARE WHITE BLOOD CELLS
                                          NO ORGANISMS SEEN
         CALLED TO/READ BACK BY:          MADHURA BOIIKER.ICU RESIDENT
         DATE CALLED:                     10/10/16
         TIME CALLED:                     1311
         CALLED BY:                       KK
      Organism 1                          STA;PHY'I.OGQCCUS •EPITl£RM IDI s I
         GROWTH                           FROM BROTH ONLY

 IL §T~ 'EJ?IDERI
                       M.I.C.        _filL_
  CLINDAMYCIN          0.25               s
  ERYTHROMYCIN         >=8                R
  GENTAMICIN           <=0.5              s
  LEVOFLOXACIN         0.25               s
  LINEZOLID            1                  s
  OXACILLIN            <=0.25             s
  TETRACYCLINE         2                  s
  VANCOMVCIN           2                  s
> IIWIA Ill!<                               Final 10/09/16
          INDIA INK RESULT                NEGATIVE FOR ENCAPSULATED YEAST

                 NAME: EFUNNUGA.OLUTOKUNBO                     UNIT: F001250247
                                                               ACCT: FA1307223089
                 PRINTED:l2/07/l6 0001                         PA.GE: 44 ** CONTINUED ON NEXT PAGE **
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                                      MERCY HEALTH SYSTEM LABORATORY
                                        MERCY FITZGERALD HOSPITAL
                                        1500 LANSDOVHE AVENUE
                                   DARBY. PA 19023    (610)237-4742
                                SAMU HEHIEH. M.D.   MEDICAL DIRECTOR
                                            llBORATORY REPORT
NAME:EFUHNUGA,OLUTOKUNBO                      DOS:  10/07/16                       LOC:FI4PVA
AGE/SEX:37/M      008:03/06/1979              ACCT: FA1307223089                   MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD
KEY H - Abn High           *H - Critical High         * - High or Low(Alpha results)            # - Delta Check
    L - Abn Low            *L - Critical Low          * - Microbiology Ahn Result




Cbllection Date: ••l0/24/16······

>                                                  Final 10/31/16
              GRAM STAIN RESULT                *
                                               MANY WHITE BLOOD CELLS
                                               MANY GRAM POSITIVE COCCI
                                               FEW GRAM POSITIVE BACILLI
         Organism 1                            l3£'I'1\ 9'.EMOI:YTI C S'l'RltP C
            GROWTH                             MODERATE
         Organism 2                            $I/iP1tY'lOGQQCU5•AUF!E:USI
            GROWTH                             RARE
         Organism 3                            P:RE:VQTE1L.A: •INTE:Rl.f'.8PI1 I
            GROWTH                             RARE
            BETA LACTAMASE                     POSITIVE

    IZ•i•••STA·•AUREUSI
                            M. I.C.         _fill__
    TRIMET/SULFA            <=10               s
    CLINDAMYCIN             0.25               s
    ERYTHROMYCIN            <=0.25             s
    GENTAMICIN              <=0.5              s
    IEVOFLOXACIN            0.25               s
    LINEZOLID               2                  s
    OXACILLIN               0.5
    TETRACYCLINE            >=16               R
    VANCOMYCIN              1                  s
>                                                  Final 10/27/16
             GRAM STAIN RESULT                *
                                              FEW WHITE BLOOD CELLS
                                              NO ORGANISMS SEEN
         Organism 1                           STAPHYLOCOCCUS•SP•COAG•NEGI
            GROWTH                             FROM BROTH ONLY




                      NAME: EFUNNUGA.OLUTOKUNBO                       UNIT: F001250247
                                                                      ACCT: FA1307223089
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                                       MERCY HEALTH SYSTEM LABORATORY
                                          MERCY FITZGERALD HOSPITAL
                                            15 0 0 I.ANSOOVHE AVENUE
                                       DARBY. PA 19023       (610)237-4742
                                   SA.HU HENIEN. H. D.     MEDICAL DIRECTOR
                                                  LABORATORY REPORT

NAME:EFUHNUGA.OLUTOKUHBO                             DOS: 10/07/16                 LOC:FI4PVA
AGE/SEX:37/M      DOB:OJ/06/1979                     ACCT: FA1307223089            MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD
KEY H - Abn High             *H - Critical High                * - High or Low(Alpha results)    # -   Delta Check
    L - Abn Low              •L - Critical Low                 * - Microbiology Abn Result




Collection• Date: •• l{JJ'24j'16·•(C::ot1t:inued)••··••·····

                                                                                            (continued)
             STAPHYLOCOCCUS SP COAG NEG:Suggestive of skin flora

             NO ANAEROBES ISOLATED
>                                                       Final 11/21/16
                                                      NO FUNGI ISOLATED AFTER 4 WEEKS

>                                                       Final 10/27/16
             GRAM STAIN RESULT                        RARE WHITE BLOOD CELLS
                                                      RARE GRAM NEGATIVE RODS
                                                      *
             CULTURE                                  NO GROWTH 72 HOURS
             NO ANAEROBES ISOLATED

> AOI1 FA'::,T '::,TAI!!                                Fina 1 10/2 5/16
          AFB SMEAR                                   NO ACID FAST BACILLI SEEN

> AFB 1=TJLTtmE                                         Final 12/05/16
                                                      NO ACID FAST BACILLI ISOLATED IN 6 WEEKS
>                                                       Final 10/25/16
             AFB SMEAR                                NO ACID FAST BACILLI SEEN
> i\FE' I= UL TUF~E                                     Final 12/0S/16
                                                      NO ACID FAST BACILLI ISOLATED IN 6 WEEKS
>                                                       Final 11/21/16
                                                      NO FUNGI ISOLATED AFTER 4 WEEKS

>                                                       Final 10/25/16
             AFB SMEAR                                NO ACID FAST BACILLI SEEN


                      HA.HE: EFUNNUGA,OLUTOKUNBO                         UNIT: F001250247
                                                                         ACCT: FA1307223089
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                                MERCY HEALTH SYSTEM LABORATORY
                                   KERCY FITZGERALD HOSPITAL
                                     1500 I.AHSDOVNE AVENUE
                                DARBY. PA 19023     (610)237-4742
                             SAMU HENIEN. K.D.    MEDICAL DIRECTOR
                                       llBORATORY REPORT
HAME:EFUHNUGA,OLUTOKUHBO                   DOS:  10/07/16                                       LOC:FI4PVA
AGE/SEX:37/M       DOB:OJ/06/1979          ACCT: FA1307223089                                   MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD
KEY H - Abn High        *H - Critical High            * - High or Low(Alpha results)                         # - Delta Check
    L - Abn Low         *L - Critical Low             * - Microbiology Abn Result




>                                             Final 12/06/16
                                            NO ACID FAST BACILLI ISOLATED IN 6 WEEKS

>                                               Final 11/0 4/16
           GRAM STAIN RESULT                *
                                            MANY WHITE BLOOD CELLS
                                            MANY GRAM POSITIVE COCCI
                                            MANY GRAM NEGATIVE RODS
        Organism 1                          BETA HEMOLYTIC STREPC
                                                  , ....................................... .


           GROWTH                           HEAVY
        Organism 2                          $'I'A,PHYLOCOCcms .1iJJRE:U$ I
           GRO'!YTH                         RARE
        Organism 3                          ANAEROBIC:• GRAM·POSITIVE••RO[) I
           GROWTH                           RARE
           ANAEROBIC GRAM POSITIVE ROD:
           PLATES WILL BE RETAINED FOR 7 DAYS. PLEASE CONTACT THE
           MICROBIOLOGY DEPARTMENT IF FURTHER TESTING IS REQUIRED.
           10/26 GRAM STAIN REVIEWED.MANY GRAN NEGATIVE RODS SEEN ON
             SMEAR NOT RECOVERED FROM CULTURE



                         M. I.C.       _EX_
    TRIMET/SULFA         <=10               s
    CLINDAMYCIN          0.25               s
    ERYTHROMYCIN         <=0.25             s
    GENTAMICIN           <=0.5              s
    LEVOFLOXACIN         0.25               s
    LINEZOLID            2                  s
    OXACILLIN            0.5                s
    TETRACYCLINE         >=16               R
    VANCOMYCIN           <=0.5              s

                   HAKE: EFUNNUGA,OLUTOKUNBO                                     UNIT: F001250247
                                                                                 ACCT: FA1307223089
                   PRIHTED:l2/07/l6 0001                                         PA.GE: 47 ** CONTINUED ON NEXT PAGE **
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                                MERCY HEALTH SYSTEM LABORATORY
                                   KERCY FITZGERil.D HOSPITAL
                                     15 0 0 L\NSDOVHE .iVENUE
                                DARBY. PA 19023      (610)237-4742
                             SAMU HENIEN. .l!l. D. MEDICAL DIRECTOR
                                       llBOR.iTORY REPORT
NAME:EFUHHUGA,OLUTOKUNBO                    DOS:  10/07/16                 LOC:FI4PVA
.iGE/SEX:37/M      DOB:03/06/l979           ACCT: FA1307223089             KR: F001250247
ATfEND DR: LITTMAN.MARIO, MD

KEY H - Abn High         *H - Critical High        * - High or Low(Alpha results)        # - Delta Check
    L - Abn Low          *L - Critical Low         * - Microbiology Abn Result




>                                              Final 10/25/16
           AFB SMEAR                         NO ACID FAST BACILLI SEEN

> AFB r= UL TUF:E                              Final 12/06/16
                                             NO ACID FAST BACILLI ISOLATED IN 6 WEEKS

>                                              Final 11/21/16
                                             NO FUNGI ISOLATED AFTER 4 WEEKS

>                                              Final 11/21/16
                                             NO FUNGI ISOLATED AFTER 4 WEEKS

>                                                Final 10/29/16
           GRAM STAIN RESULT                 *
                                             MODERATE WHITE BLOOD CELLS
                                             NO ORGANISMS SEEN
           CULTURE                           NO ANAEROBES ISOLATED

>                                                Final 10/27/16
           GRAM STAIN RESULT                 *
                                             FEW WHITE BLOOD CELLS
                                             NO ORGANISMS SEEN
           CULTURE                           NO GROWTH 72 HOURS




                                   COLLECTED: Oct 24, 2016 8:45am
..~ BLOOD TYPE               I 0 POSITIVE




                    NAME: EFUNNUGA,OLUTOKUNBO                     UNIT: F001250247
                                                                  ACCT: FA1307223089
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                               MERCY HEALTH SYSTEM LABORATORY
                                  MERCY FITZGERll.D HOSPITAL
                                    1500 LAHSDOVNE AVENUE
                               DARBY. PA 19023     (610)237-4742
                            SAMU HENIEN. M. D.  MEDICAL DIRECTOR
                                         LABORATORY REPORT

NAME:EFUNNUGA.OLUTOKUNBO                    DOS: 10/07/16              LOC:FI4PVA
A.GE/SEX:37/M      DOB:03/06/l979           ACCT: FA1307223089         MR: F001250247
ATTEND DR: LITTMAN,MARIO, MD

KEY H - Abn High        *H - Critical High        * - High or Low(Alpha results)    # - Delta Check
    L - Abn Low         *L - Critical Low         * - Microbiology Abn Result

                                   COLLECTED: Oct 24, 2016 5:33am
.> BLOOD   TYPE             I 0 POSITIVE
                            I   OK····· HELEN

                                   COLLECTED: Oct 24, 2016 4:50am
..>   BLOOD TYPE            I 0 POSITIVE
.> ANTIBODY SCREEN          I NEGATIVE
      IS CROSSHATCH
       PACKED CELLS         I T.J202216725433 PACKED CELLS 0 POSITIVE Compatible? y <N/A>
       PACKED CELLS         I T.J202216741827 PACKED CELLS 0 POSITIVE Compatible? y <N/A>




                   NAME: EFUNNUGA,OLUTOKUNBO                 UNIT: F001250247
                                                             ACCT: FA1307223089
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                           MERCY HEALTH SYSTEM LABORATORY
                              MERCY FITZGERALD HOSPITAL
                                1500 I.ANSDOVHE AVENUE
                           DARBY. PA 19023     (610)237-4742
                        SAMU HEHIEH. 1!1.D.  MEDICAL DIRECTOR
                                    llBORATORY REPORT
HAME:EFUNNUGA..OLUTOKUHBO              DOS: 10/07/16              LOC:FI4PVA
AGE/SEX:37/M       DOB:03/06/l979      ACCT: FA1307223089         l!IR: F001250247
ATfEND DR: LITTMAN.MARIO. MD

KEY H - Abn High    *H - Critical High       * - High or Low(Alpha results)      # - Delta Check
    L - Abn Low     *L - Critical Low        * - Microbiology Abn Result

                             MERCY FITZGERALD PENDING SPECIMENS

FI1024:BB00004R RES. Coll: 10/24/16-0450 Recd: 10/24/16-0506 (R#01979230) HOWLAND.AMANDA RM
     Ordered: FFP/2. PACKED CELLS/2/-2, TYPE AND SCREEN. IS XMATCH/2
     Pending: FFP:              2 to be issued, 2 to be transfused.
FI1013:BG00001R RES. Coll: 10/13/16-0530 Recd: 10/13/16-0538 (R01965554) MALIK.AMMAR MMD
     Ordered: AEMPNL
     Pending: NA. K. CL. ICARSP. LACRSP




               Hll!IE: EFUNNUGA,OLUTOKUNBO              UNIT: F001250247
                                                        ACCT: FA1307223089
               PRIHTED:12/07/16 0001                    PAGE: 50 ** CONTINUED ON NEXT PAGE **
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                           MERCY HEALTH SYSTEM LABORATORY
                              MERCY FITZGERil.D HOSPITAL
                                1500 UNSDOVHE AVENUE
                           DARBY. PA 19023     (610)237-4742
                        SAMU HENIEN. M. D.  MEDICAL DIRECTOR
                                    LABORATORY REPORT

NAME:EFUHNUGA.OLUTOKUNBO               DOS:  10/07/l 6           LOC:FI4PVA
AGE/SEX:37/M       DOB:03/06/l979      ACCT: FA1307223089        MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD

KEY H - Abn High    *H - Critical High       * - High or Low(Alpha results)    :/t - Delta Check
    L - Abn Low     *L - Critical Low        * - Microbiology Abn Result

                         MERCY FITZGERALD CANCELED SPECIMEN LIST

FI1007:BG00018R CAN, Coll: 10/07/16-0816 Recd: -    (R01958837) BORIKAR,MADHURA S MD
     Ordered: AEMPNL
     Comment: Auto-cancelled after 3 days.
FI1007:C00179R CAN, Coll: 10/07/16-0816 Recd: -     (R01958837) BORIKAR,MADHURA S MD
     Ordered: (NO REPORTABLE TESTS)
     Comment: Auto-cancelled after 3 days.
FI1007:R00025R CAN, Coll: 10/07/16-0858 Recd: -     (R01958887) BORIKAR,MADHURA S MD
     Ordered: CD4/CD8
     Comment: Auto-cancelled after 3 days.
FI1008:BG00002R CAN, Coll: 10/08/16-0500 Recd: -    (R01959320) MALIK.AMMAR MMD
     Ordered: AEMPNL
     Comment: Auto-cancelled after 3 days.
FI1008:BF00001R CAN, Coll: 10/08/16-1254 Recd: -    (R01960210) BORIKAR,MADHURA S MD
     Ordered: CSF TOT PROTEIN
     Comment: Cancelled via OE: POM Order Edit
FI1008:R00028R CAN, Coll: 10/08/16-1254 Recd: -     (R01960210) BORIKAR,MADHURA S MD
     Ordered: TOXO CSF PANEL
     Comment: Cancelled via OE: POM Order Edit
FI16:M0021783R CAN, Coll: 10/08/16-1254 Recd: -     (R:/101960211) BORIKAR,MADHURA S MD
     Ordered: CSF CULTURE
     Comment: Cancelled via OE: POM Order Edit
FI1009:C00157S CAN, Coll: 10/09/16-1020 Recd: -     (R01960958) BORIKAR,MADHURA S MD
     Ordered: (NO REPORTABLE TESTS)
     Comment: Auto-cancelled after 3 days.
FI1010:C00037R CAN, Coll: 10/10/16-0500 Recd: -     (R01961392) BORIKAR,MADHURA S MD
     Ordered: CK
     Comment: Auto-cancelled after 3 days.
FI1010:SC00006R CAN, Coll: 10/10/16-2030 Recd: -    (R01962762) BORIKAR,MADHURA S MD
     Ordered: HEP C AB, HB S AG, HB CORE !GM
     Comment: Auto-cancelled after 3 days.
FI1011:C00015R CAN, Coll: 10/11/16-0500 Recd: -     (R01963001) BORIKAR,MADHURA S MD
     Ordered: CK
     Comment: DUPLICATE
FI1011:H00066R CAN, Coll: 10/ll/16-0500 Recd: -     (R01963076) MALIK.AMMAR MMD
     Ordered: CBCDIFF
     Comment: Auto-cancelled after 3 days.
FI101l:C00080R CAN, Coll: 10/ll/16-0500 Recd: -     (R01963076) MALIK.AMMAR M MD
     Ordered: BMP, PHOS, MG, CK




               NAME: EFUNNUGA,OLUTOKUNBO                UNIT: F001250247
                                                        ACCT: FA1307223089
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                           MERCY HEALTH SYSTEM LABORATORY
                              MERCY FITZGERALD HOSPITAL
                                1500 L\NSDOVHE AVENUE
                           DARBY. PA 19023    (610)237-4742
                        SAMU HENIEN. M.D.   MEDIC.AL DIRECTOR
                                    LABORATORY REPORT

NAME:EFUNNUGA.,OLUTOKUNBO              DOS:  10/07/16             LOC:FI4PVA
AGE/SEX:37/M       DOB:03/06/l979      ACCT: FA1307223089         MR: F001250247
ATTEND DR: LITTMAN,MARIO, MD

KEY H - Abn High    *H - Critical High        * - High or Low(Alpha results)    # - Delta Check
    L - Abn Low     *L - Critical Low         * - Microbiology Abn Result

     Comment: Auto-cancelled after 3 days.
                         MERCY FITZGERALD CANCELED SPECIMEN LIST

FilOll:SCOOOOlR CAN, Coll: 10/ll/16-0500 Recd:     - (R01963111) ZHANG,HONGYU MD
      Ordered: HB CORE !GM
      Comment: Auto-cancelled after 3 days.
FI1011:R00006T CAN, Coll: 10/ll/16-0500 Recd:      - (R01963208) ZHANG,HONGYU MD
      Ordered: CD4/CD8
      Comment: Auto-cancelled after 3 days.
FI1011:SC00002R CAN, Coll: 10/ll/16-0500 Recd:     - (R01963209) ZHANG,HONGYU MD
      Ordered: HEP C AB, HB S AG
      Comment: Auto-cancelled after 3 days.
FI1011:BG00014T CAN, Coll: 10/ll/16-0500 Recd:     - (R01963336) OLUBIYI,OLUTAYO I MD
      Ordered: AEMPNL
      Comment: Auto-cancelled after 3 days.
FI1011:BG00002R CAN, Coll: 10/ll/16-0600 Recd:     - (R01962712) MALIK.AMMAR M MD
      Ordered: AEMPNL
      Comment: Auto-cancelled after 3 days.
FI101l:R00082S CAN, Coll: 10/ll/16-1910 Recd:      - (R01964318) GOOCH, JOHN R MD
      Ordered: CD4/CD8
      Comment: Auto-cancelled after 3 days.
FI1013:C00024R CAN, Coll: 10/13/16-0500 Recd:      - (R01965942) MALIK.AMMAR M MD
      Ordered: CK
      Comment: Auto-cancelled after 3 days.
FI1015:BG00005R CAN, Coll: 10/15/16-0500 Recd:     - (R01968559) MALIK.AMMAR M MD
      Ordered: AEMPNL
      Comment: Auto-cancelled after 3 days.
FI1015:C00002R CAN, Coll: 10/15/16-0500 Recd:     - (R01968654) MALIK.AMMAR M MD
      Ordered: CK
      Comment: Auto-cancelled after 3 days.
FI1015:C00220S CAN, Coll: 10/15/16-1138 Recd:     - (R01969208) ZHANG,HONGYU MD
      Ordered: CK
      Comment: Auto-cancelled after 3 days.
FI1015:C00221R CAN, Coll: 10/15/16-1138 Recd:     - (R01969209) ZHANG.HONGYU MD
      Ordered: (NO REPORTABLE TESTS)
      Comment: Auto-cancelled after 3 days.
FI1017:R00003R CAN, Coll: 10/17/16-0600 Recd:     - (R01970498) GILBERT.MARK, MD
      Ordered: (NO REPORTABLE TESTS)
      Comment: Auto-cancelled after 3 days.




               NAME: EFUNNUGA,OLUTOKUNBO                 UNIT: F001250247
                                                         ACCT: FA1307223089
               PRINTED:l2/07/l6 0001                     PAGE: 52 **CONTINUED ON NEXT PAGE **
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                            MERCY HEALTH SYSTEM LABORATORY
                               MERCY FITZGERALD HOSPITAL
                                 1500 I.ANSDOVHE AVENUE
                            DARBY. PA 19023     (610)237-4742
                        SAMIA HENIEN. M. D.   KEDICil. DIRECTOR

                                    llBORATORY REPORT
NAHE:EFUHNUGA.OLUTOKUHBO               DOS: 10/07/16              LOC:FI4PVA
AGE/SEX:37/M       DOB:OJ/06/1979      ACCT: FA1307223089         MR: F001250247
ATTEND DR: LITTMAN.MARIO. MD

KEY H - Abn High    *H - Critical High       * - High or Low(Alpha results)    # - Delta Check
    L - Abn Low     *L - Critical Low        * - Microbiology Abn Result

                         MERCY FITZGERALD CANCELED SPECIMEN LIST

FI1018:BF00001R CAN. Coll: 10/18/16-0822 Recd: - (R01972480) BORIKAR.MADHURA S MD
     Ordered: BODY FLD TP. RATTP
     Comment: Auto-cancelled after 3 days.
FI1018:C00218R CAN. Coll: 10/18/16-0822 Recd: - (R01972480) BORIKAR.MADHURA S MD
     Ordered: TP
     Comment: Auto-cancelled after 3 days.
FI1018:C00219R CAN, Coll: 10/18/16-0822 Recd: - (R01972480) BORIKAR,MADHURA S MD
     Ordered: (NO REPORTABLE TESTS)
     Comment: Auto-cancelled after 3 days.
FI1018:R00012R CAN, Coll: 10/18/16-0822 Recd: - (R01972480) BORIKAR,MADHURA S MD
     Ordered: (NO REPORTABLE TESTS)
     Comment: Auto-cancelled after 3 days.
FI1019:C00328R CAN, Coll: 10/19/16-1038 Recd: - (R01974248) BORIKAR,MADHURA S MD
     Ordered: (NO REPORTABLE TESTS)
     Comment: Auto-cancelled after 3 days.
FI16:M0022628S CAN, Coll: 10/19/16-2104 Recd: - (R#01975061) PATEL.SANSKRUTI MD
     Ordered: BLOOD CULTURE
     Comment: Auto-cancelled after 3 days.
FI16:M0022629S CAN, Coll: 10/19/16-2104 Recd: - (R#Ol975061) PATEL.SANSKRUTI MD
     Ordered: BLOOD CULTURE
     Comment: Auto-cancelled after 3 days.
FI1019:U00064S CAN, Coll: 10/19/16-2322 Recd: - (R01975218) PATEL,SANSKRUTI MD
     Ordered: URINALYSIS
     Comment: Auto-cancelled after 3 days.
FI16:M0022665R CAN, Coll: 10/20/16-1045 Recd: - (R#01975619) MANN.RUPINDER K MD
     Ordered: GS
     Comment: Auto-cancelled after 3 days.
FI1021:BF00001R CAN, Coll: 10/21/16-0014 Recd: - (R01976565) BORIKAR.MADHURA S MD
     Ordered: pH, BODY FLUID. BODY FLD CCDIFF. BODY FLD ALB, GRADALB, BODY FLD TP, FDGLU
     Comment: Auto-cancelled after 3 days.
FI1021:C00106R CAN, Coll: 10/21/16-0014 Recd: - (R01976565) BORIKAR,MADHURA S MD
     Ordered: ALB
     Comment: Auto-cancelled after 3 days.
FI102l:BF00002R CAN, Coll: 10/21/16-0014 Recd: - (R01976566) MANN.RUPINDER K MD
     Ordered: BODY FLD ALB, GRADALB, BODY FLD TP, BODY FLD AMYL
     Comment: Auto-cancelled after 3 days.
FI102l:C00107R CAN, Coll: 10/21/16-0014 Recd: - (R01976566) MANN.RUPINDER K MD
     Ordered: ALB




               NAME: EFUNNUGA,OLUTOKUNBO                UNIT: F001250247
                                                        ACCT: FA1307223089
               PRIHTED:l2/07/16 0001                    PAGE: 53 ** CONTINUED ON NEXT PAGE **
          Case 2:18-cv-00924-PD     Document 15-11      Filed 05/03/18   Page 121 of 160

                           MERCY HEALTH SYSTEM LABORATORY
                              MERCY FITZGERALD HOSPITAL
                                1500 I.ANSDOVHE AVENUE
                           DARBY. PA 19023     (610)237-4742
                        SAMU HENIEN. M. D.   MEDICAL DIRECTOR

                                    llBORATORY REPORT
HAME:EFUHNUGA,OLUTOKUNBO               DOS: 10/07/16             LOC:FI4PVA
AGE/SEX:37/M       DOB:03/06/l979      ACCT: FA1307223089        MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD

KEY H - Abn High    *H - Critical High       * - High or Low(Alpha results)    # - Delta Check
    L - Abn Low     *L - Critical Low        * - Microbiology Abn Result

     Comment: Auto-cancelled after 3 days.
                         MERCY FITZGERALD CANCELED SPECIMEN LIST

FI102l:BF00003R CAN, Coll: 10/21/16-0015 Recd: - (R01976567) BORIKAR,MADHURA S MD
      Ordered: BODY FLD LDH, RATLDH
      Comment: Auto-cancelled after 3 days.
FI1021:C00108R CAN, Coll: 10/21/16-0015 Recd: - (R01976567) BORIKAR,MADHURA S MD
      Ordered: LDH
      Comment: Auto-cancelled after 3 days.
FI1021:BF00004R CAN, Coll: 10/21/16-0015 Recd: - (R01976568) MANN,RUPINDER K MD
      Ordered: pH, BODY FLUID, BODY FLD LDH, RATLDH, BODY FLD TRIG
      Comment: Auto-cancelled after 3 days.
FI1021:C00109R CAN, Coll: 10/21/16-0015 Recd: - (R01976568) MANN,RUPINDER K MD
      Ordered: LDH
      Comment: Auto-cancelled after 3 days.
FI16:M0022714R CAN, Coll: 10/21/16-0015 Recd: - (R#Ol976569) BORIKAR,MADHURA S MD
      Ordered: BODY FLD
      Comment: Auto-cancelled after 3 days.
FI16:M0022715R CAN, Coll: 10/21/16-0015 Recd: - (R#Ol976570) MANN,RUPINDER K MD
      Ordered: ANAER
      Comment: Auto-cancelled after 3 days.
FI16:A0000178R CAN, Coll: 10/21/16-0015 Recd: - (R#01976570) MANN,RUPINDER K MD
      Ordered: AFBCSM
      Comment: Auto-cancelled after 3 days.
FI16:MM0000966R CAN, Coll: 10/21/16-0530 Recd: - (R#Ol976646) GEVORGYAN,DAVID MD
      Ordered: LEGUR
      Comment: Auto-cancelled after 3 days.
FI1021:R00001R CAN, Coll: 10/21/16-0700 Recd: - (R01976448) GILBERT.MARK, MD
      Ordered: (NO REPORTABLE TESTS)
      Comment: Auto-cancelled after 3 days.
FI1021:R00064R CAN, Coll: 10/21/16-1459 Recd: - (R01977291) MANN,RUPINDER K MD
      Ordered: (NO REPORTABLE TESTS)
      Comment: Auto-cancelled after 3 days.
FI16:MM0000967R CAN, Coll: 10/21/16-1549 Recd: - (R#Ol977338) GEVORGYAN,DAVID MD
      Ordered: S.PNEUMO UR AG
      Comment: Auto-cancelled after 3 days.
FI16:M0022939R CAN, Coll: 10/24/16-1502 Recd: 10/24/16-1714 (R#01980039) SHARIFF.HAJI MMD
      Ordered: SURG. CULTURE
      Comment: CANCELLATION REQUEST BY OR/ ORDER OF SPECIMEN WAS OBSERVED




               NAME: EFUNNUGA,OLUTOKUNBO                UNIT: F001250247
                                                        ACCT: FA1307223089
               PRINTED:l2/07/l6 0001                    PAGE: 54 ** CONTINUED ON NEXT PAGE **
          Case 2:18-cv-00924-PD     Document 15-11      Filed 05/03/18   Page 122 of 160

                           MERCY HEALTH SYSTEM LABORATORY
                              MERCY FITZGERALD HOSPITAL
                                1500 UBSOOVHE .\VENUE
                           DARBY. PA 19023    (610)237-4742
                        SAMU HENIEN. M. D.  MEDICAL DIRECTOR
                                    L\BORATORY REPORT

NAHE:EFUHHUGA.OLUTOKUHBO               DOS: 10/07/16             LOC:FI4PVA
.\GE/SEX:37/M      DOB:03/06/l979      .\CCT: FA1307223089       MR: F001250247
ATTEND DR: LITTMAN.MARIO, MD

KEY H - Abn High    *H - Critical High       * - High or Low(Alpha results)    # - Delta Check
    L - Abn Low     •L - Critical Low        * - Microbiology Abn Result
              (BY LAB) AS A DUPLICATE OF SPECIMEN FI16:M0022945 SAME
              SOURCE
                         MERCY FITZGERALD CANCELED SPECIMEN LIST
FI16:A0000179R CAN, Coll: 10/24/16-1502 Recd:     10/24/16-1728 (R#Ol980039) SHARIFF,HAJI MMD
     Ordered: AFBCSM
     Comment: DUPLICATE ORDER
              SEE Al81 PLEURAL PEEL
FI1025:BG00004R CAN, Coll: 10/25/16-0500 Recd:    - (R01980177) IRIARTE OPORTO.BLANCA E MD
     Ordered: AEMPNL
     Comment: Auto-cancelled after 3 days.
FI1025:C00158R CAN, Coll: 10/25/16-0725 Recd:     - (R01980761) IRIARTE OPORTO.BLANCA E MD
     Ordered: (NO REPORTABLE TESTS)
     Comment: Auto-cancelled after 3 days.
FI1026:C00251S CAN, Coll: 10/26/16-1044 Recd:     - (R01982173) REGAN.JOHN E MD
     Ordered: (NO REPORTABLE TESTS)
     Comment: Auto-cancelled after 3 days.
FI1030:H00048R CAN, Coll: 10/30/16-0628 Recd:     10/30/16-0628 (R01986189) JADHAV,GAURAV P MD
     Ordered: CBC
     Comment: CLOTTED SPEC,C/MARY




               NAME: EFUNNUGA,OLUTOKUNBO                 UNIT: F001250247
                                                         ACCT: FA1307223089
               PRINTED:l2/07/l6 0001                     PA.GE: 55 ** END OF REPORT **
               Case 2:18-cv-00924-PD                      Document 15-11                        Filed 05/03/18               Page 123 of 160



Mercy Fitzgerald Hospital                            David PMayer. Mo.Ms.FACR. chairman               Fraser Brown. MD           caroline Ling, MD

Mercy Health System                                  Oleg Teytelboym. MD. Radiology Director          Stanley Chan. MD           Justin Mackey, MD

Department of Radiology                              Gerard Beny, MD                                  Malgorzata Goralciyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                                Robert Borden. MD                                Laryssa Hud. MD            Salmi Simmons. MD

Darby, PA 19023                                      Michael Brooks. MD. JD

610-237-4358

Patient:          EFUNNUGA,OLUTOKUNBO                          Acct#:               FA 1307223089               Exam Date:       10/07/16
Med Rec#:      F001250247                                      Order#'.             1007-0017                   Status:          REG ER
Date of Birth: 03/06/1979    Gender: M                         Accession#:          970624.001                  Locatiai:
Phone #:       (000)000-0000                                   Report#:             1007-0006                   RAD#'.
Ordering Physician:    HALSTEAD,JEFFREY E MD
CC:                 DOCTOR,NONE (FAMILY); HALSTEAD,JEFFREY E MD -
Order Date:         10/07/16
Procedure Reason: ams

Exam: CT Brain WO

                                                 ***Signed Status***
IMPRESSION: 1. No intracranial hemorrhage or acute infarct.


INDICATION: 37 years old; Male. Symptom/Location/Duration: Altered mental status

TECHNIQUE: Unenhanced CT of the head with axial, coronal, sagittal reformats. Comparison: None

FINDINGS:
POSTOPERATIVE CHANGES: None.
BRAIN VOLUME: Normal volume for age.
ACUTE INFARCT: No focal hypodensity to suggest acute infarct.
CHRONIC INFARCT: None.
MASS LESIONS: None.
WHITE MATTER: White matter is within normal limits.
HEMORRHAGE: No intracranial hemorrhage.
VASCULATURE: No hyperdense vascular thrombus. No calcified intracranial plaque.
MSK: No fractures or soft tissue swelling.
SINUSES/MASTOIDS: Visualized paranasal sinuses are clear. Mastoid air cells are clear. Fluid in the nasal
cavity and nasopharyngeal airway is presumably related to endotracheal intubation.
OTHER: None


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           <Electronically signed by FRASER H BROWN, MD in OV>                                                 e-Sign Pager: (610)221-1965
           Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: BROWN, FRASER H MD            Dictated: 10/07/16 0813                       Signoff: 10/07/16 0814




              PATIENT IMAGES or REPORTS: (610) 237-4358                                        SCHEDULING: (610) 237-2525
              Case 2:18-cv-00924-PD                       Document 15-11                        Filed 05/03/18               Page 124 of 160



Mercy Fitzgerald Hospital                            David P Mayer. MD.MS.FACR. chairman              Fraser Brown, MD            Ceroline Ling, MD

Mercy Health System                                  Oleg Teytelboym. MD. Radiology Direictor         Stanley Chan. MD            Justin Mackey, MD

Department of Radiology                              Gerard Berry, MD                                 Malgorzata GoralcZ)'k, MD   Scott RotGnberg, MD

1500 Lansdowne Avenue                                Robert Borden. MD                                Laryssa Hud. MD             Salmi Simmons. MD
Darby, PA 19023                                      Michaeil Brooks. MD, JD

610-237-4358

Patient:          EFUNNUGA,OLUTOKUNBO                          Acct #:               FA 1307223089               Exam Date:       10/07/16
Med Rec#:      F001250247                                      Order #:              1007-0024                  Status:           ADMIN
Date of Birth: 03/06/1979    Gender: M                         Accession#:           970623.001                 Locatiai:         506-01
Phone #:       (000)000-0000                                   Report #:             1007-0063                  RAD#:
Ordering Physician:    HALSTEAD,JEFFREY E MD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:         10/07/16
Procedure Reason: ams

Exam: CR Chest PORTABLE

                                                 *** Signed Status***
IMPRESSION: Endotracheal tube in satisfactory position. No pneumonia.

INDICATION: 37 years old; Male. Symptom/Location/Duration: Altered mental status, unresponsive.

TECHNIQUE: AP chest radiograph. Comparison: None.

FINDINGS:
LUNGS: Low lung volumes No mass, consolidation, pleural effusion, or pneumothorax.
CARDIOVASCULAR: Heart size is within normal limits.
MEDIASTINUM: No adenopathy.
MSK: No acute displaced fracture.
OTHER: Endotracheal tube is in place with the tip approximately 4.8 cm above carina.
Communication code O: ED preliminary interpretation was not recorded on PACS at the time of the final
report. Final report shows no critical finding.
This study was reviewed with the attending radiologist, Dr. Oleg Teytelboym, who was in agreement.


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           <Electronically signed by OLEG M TEYTELBOYM, MD in OV>                                              e-Sign Pager: (610)221-0257
           Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: HONARMAND, AMIR R MD Dictated: 10/07/16 0947                                 Signoff: 10/071161104




              PATIENT IMAGES or REPORTS: (610) 237-4358                                         SCHEDULING: (610) 237-2525
               Case 2:18-cv-00924-PD                      Document 15-11                         Filed 05/03/18               Page 125 of 160



Mercy Fitzgerald Hos pita I                          David P Mayer. MD.Ms.FAcR. chairman              Fraser Brown, MD             Caroline Ling, MD

Mercy Health System                                  OlegT0',telboym, MD. Radiolog;- Director         Stanley Chan. MD             Justin Mackey, MD

Department of Radiology                              Gerard Berry, MD                                 Malgorzata Goralcz,,,k, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                                Robert Borden. MD                                Laryssa Hud, MD              Salmi Simmons. MD
Darby, PA 19023                                      Michael Brooks, MD. JD

610-237-4358

Patient:          EFUNNUGA,OLUTOKUNBO                          Acct #:               FA 1307223089               Exam Date:        10/08/16
Med Rec#:      F001250247                                      Order#:               1008-0017                   Status:           ADMIN
Date of Birth: 03/06/1979    Gender: M                         Accession#:           971210.CXJ1                 Locaticn:         506-01
Phone #:       (000)000-0000                                   Report#:              1008-0043                   RAD#:
Ordering Physician:    RUSSELL,DAVID T DO
CC:                 HALSTEAD.JEFFREY E MD -
Order Date:         10/08/16
Procedure Reason: AMS

Exam: CT Brain W

                                                 ***Signed Status***
IMPRESSION: No intracranial hemorrhage, acute infarct or enhancing mass.

INDICATION: 37 years old; Male. Symptom/Location/Duration: Drug overdose. Altered mental status.

TECHNIQUE: CT of the head with and without contrast with axial, coronal, sagittal reformats. IV contrast
(lsovue-370): 100 ml. Comparison: 101712016 head CT.

FINDINGS:
Scout view demonstrates intubated patient.
POSTOPERATIVE CHANGES: None.
BRAIN VOLUME: Normal volume for age.
ACUTE INFARCT: No focal hypodensity to suggest acute infarct.
CHRONIC INFARCT: None.
MASS LESIONS: No mass or abnormal enhancement. Unchanged bilateral basal ganglia calcifications.
WHITE MATTER: White matter is within normal limits.
HEMORRHAGE: No intracranial hemorrhage. Lack of concurrently performed unenhanced CT precludes
evaluation of trace subarachnoid hemorrhage.
VASCULATURE: No calcified intracranial plaque.
MSK: No acute fractures or soft tissue swelling.
SINUSES/MASTOIDS: There is minimal paranasal sinus disease Mastoid air cells are clear
OTHER: Secretions within the nasal cavity, nasopharynx, oropharynx, presumably on the basis of intubation.
This study was reviewed with the attending radiologist, Dr. Oleg Teytelboym, who was in agreement.


                     Thank you for choosing Mercy Health System

           <Electronically signed by OLEG M TEYTELBOYM, MD in OV>                                               e-Sign Pager: (610)221-0257
           Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: STEINBERGER, AMANDA DO                              Dictated: 10/08/16 1059                       Signoff: 10/08/16 1111




              PATIENT IMAGES or REPORTS: (610) 237-4358                                         SCHEDULING: (610) 237-2525
              Case 2:18-cv-00924-PD                       Document 15-11                       Filed 05/03/18             Page 126 of 160



Mercy Fitzgerald Hospital                            David P Mayer. MD.Ms.FACR. chairman            Fraser Brown, MD           Garoline Ling, MD

Mercy Health System                                  OlegTeytelboym, MD. Radiology Director         Stanley Chan, MD           Justin Mackey, MD

Department of Radiology                              Gerard Berry, MD                               Malgorzata Goralczyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                                Robert Borden. MD                              Laryssa Hud, MD            Salmi Simmons. MD
Darby, PA 19023                                      Michael Brooks. MD, JD

610-237-4358


Patient:          EFUNNUGA,OLUTOKUNBO                          Acct #:              FA 1307223089             Exam Date:       10/08/16
Med Rec#:       F001250247                                     Order #:             1008-0002                 Status:          ADMIN
Date of Birth: 03/06/1979     Gender: M                        Accession#:          970952.001                Locatiai:        506-01
Phone #:       (000)000-0000                                   Report#:             1008-0072                 RAD#:
Ordering Physician:    MALIK,AMMAR MMD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:         10/07/16
Procedure Reason: y

Exam: CR Chest PORTABLE

                                                 ***Signed Status***
IMPRESSION: Orogastric tube placement with sidehole in the stomach.

INDICATION: 37 years old; Male. Drug overdose. Mechanical ventilation.

TECHNIQUE: AP chest radiograph. Comparison: 1017/2016 chest x-ray

FINDINGS:
LUNGS: Endotracheal tube tip is 5.3 cm above carina.
CARDIOVASCULAR: Heart size is within normal limits.
MEDIASTINUM: Orogastric tube with sidehole in the stomach.


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           <Electronically signed by OLEG M TEYTELBOYM, MD in OV>                                            e-Sign Pager: (610)221-0257
           Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: TEYTELBOYM, OLEG M MD                               Dictated: 10/08/16 1314                    Signoff: 10/08/161315




              PATIENT IMAGES or REPORTS: (610) 237-4358                                       SCHEDULING: (610) 237-2525
              Case 2:18-cv-00924-PD                        Document 15-11                       Filed 05/03/18              Page 127 of 160



Mercy Fitzgerald Hospital                            DavidPMaver. MD.Ms.FACR. chairman               Fraser Brown, MD            Caroline Ling, MD

Mercy Health System                                   OlegTe)telboym, MD, Radiology Director         Stanley Chan, MD            Justin Mackey, MD

Department of Radiology                              Gerard Berry, MD                                M algorzata Goralczyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                                Robert Borden, MD                               Laryssa Hud. MD             Salmi Simmons. MD
Darby, PA 19023                                      Michael Brooks, MD, JD
610-237-4358

Patient:          EFUNNUGA,OLUTOKUNBO                           Acct #:              FA 1307223089             Exam Date:        10/09/16
Med Rec#:      F001250247                                       Order #:             1009-0013                 Status:           ADMIN
Date of Birth: 03/06/1979    Gender: M                          Accession#:          971359.001                Location:         506-01
Phone #:       (000)000-0000                                    Report#:             1009-0057                 RAD#:
Ordering Physician:    AHANGAR,WASEEM MD
CC:                 HALSTEAD.JEFFREY E MD -
Order Date:         10/09/16
Procedure Reason: ETT tube placement

Exam: CR Chest PORTABLE

                                                 ***Signed Status***
IMPRESSION:
1. New patchy opacity within the left lower lobe, which may reflect pulmonary edema given rapid interval
development.
2. Endotracheal tube and enteric tube in satisfactory positions.

INDICATION: 37 years old; Male. Symptom/Location/Duration: Endotracheal tube placement. Drug overdose.

TECHNIQUE: AP chest radiograph. Comparison: 10/8/2016 chest radiograph.

FINDINGS:
LUNGS: There is a patchy opacity within the left lower lobe which may reflect pulmonary edema given rapid
interval development. Possible trace left pleural effusion. No pneumothorax. Endotracheal tube tip beneath
the clavicular heads, 4.9 cm above the carina.
CARDIOVASCULAR: Heart size is within normal limits.
MEDIASTINUM: Enteric tube seen coursing beneath the diaphragm, tip not captured on this exam.
MSK: No acute displaced fracture.
OTHER: None.
This study was reviewed with the attending radiologist, Dr. Oleg Teytelboym, who was in agreement.


                     Thank you for choosing Mercy Health System

           <Electronically signed by OLEG M TEYTELBOYM, MD in OV>                                             e-Sign Pager: (610)221-0257
           Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: STEINBERGER, AMANDA DO                               Dictated: 10/09/16 1033                    Signoff: 10/09/16 1143




              PATIENT IMAGES or REPORTS: (610) 237-4358                                        SCHEDULING: (610) 237-2525
                 Case 2:18-cv-00924-PD                    Document 15-11                        Filed 05/03/18                Page 128 of 160



Mercy Fitzgerald Hospital                             David PMaver. MD.Ms.FACR, chairman              Fraser Brown, MD            Caroline Ling, MD

Mercy Health System                                  Oleg Teytelboym, MD, Radiology Director          Stanley Chan, MD            Justin Mackey, MD

Department of Radiology                              Gerard Berry, MD                                 M algorzata Goralczyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                                Robert Borden, MD                                Laryssa Hud, MD             Salmi Simmons. MD
Darby, PA 19023                                      Michael Brooks, MD, JD
610-237-4358

Patient:           EFUNNUGA,OLUTOKUNBO                         Acct#:               FA 1307223089               Exam Date:        10/10/16
Med Rec#:          F001250247                                  Order#:              1010-0009                   Status:           ADMIN
Date of Birth: 0310611979    Gender: M                         Accession#:          971388.001                  Locaticn:         506-01
Phone #:       (000)000-0000                                   Report#:             1010-0215                   RAD#:
Ordering Physician:    BORIKAR,MADHURA S MD
CC:                    HALSTEAD.JEFFREY E MD -
Order Date:            10/09116
Procedure Reason: Altered mental status

Exam: MR Brain W WO

                                                 ***Signed Status***
IMPRESSION: 1. Brain within normal limits.



INDICATION: 37 years old; Male. Symptom/Location/Duration: Change in mental status. Drug overdose.
lmmunocompromised patient.

TECHNIQUE: Multiplanar MRI brain was performed with and without IV contrast (Gadavist): 10 ml.
Comparison: Head CT dated 10/8/2016.

FINDINGS:
POSTOPERATIVE CHANGES: None.
BRAIN VOLUME: Normal volume for age.
DIFFUSION WEIGHTED IMAGES: No diffusion restriction to suggest acute infarct.
CHRONIC INFARCT: None.
MASS LESIONS: No abnormal intracranial enhancement
WHITE MATTER: White matter is normal in appearance.
HEMORRHAGE: No intracranial hemorrhage.
FLOW VOIDS: There is normal flow-void in the distal vertebral and basilar arteries as well as the distal
internal carotid arteries This study cannot exclude the presence of an intracranial aneurysm.
BONE MARROW: Bone marrow signal is within normal limits.
SINUSES/MASTOIDS: No abnormal signal in the visualized paranasal sinuses. There is no abnormal signal
within the mastoid air cells.
OTHER: None


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           <Electronically signed by MICHAEL L BROOKS, MD in OV>                                               e-Sign Pager: (610)221-9213
           Clinical Associate Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: BROOKS, MICHAEL L MD         Dictated: 10110/16 1609                        Signoff: 10/10/16 1611




                 PATIENT IMAGES or REPORTS: (610) 237-4358                                     SCHEDULING: (610) 237-2525
                 Case 2:18-cv-00924-PD              Document 15-11                       Filed 05/03/18              Page 129 of 160



Mercy Fitzgerald Hos pita I                    David P Mayer. MD.Ms.FACR, chairman            Fraser Brown. MD           Ceroline Ling, MD

Mercy Health System                            OlegTeytelboym, MD, Radiology Director          Stanley Chan, MD          Justin Mackey, MD

Department of Radiology                        Gerard Berry, MD                               Malgorzata Goralczyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                          Robert Borden, MD                              Laiyssa Hud, MD            Salmi Simmons. MD
Darby, PA 19023                                Michael Brooks, MD, JD
610-237-4358

Patient:           EFUNNUGA,OLUTOKUNBO                   Acct#:               FA 1307223089              Exam Date:      10/10/16
Med Rec#:          F001250247                            Order#:              1010-0016                 Status:          ADMIN
Date of Birth:     03/06/1979     Gender: M              Accession#:          971605.001                 Location:       506-01
Phone #:       (000)000-0000                             Report #:            1010-0242                  RAD#:
Ordering Physician:    GOOCH,JOHN R MD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:            10/10/16
Procedure Reason: intubated, ett

Exam: CR Chest PORTABLE

                                              *** Signed Status***
IMPRESSION:.
1. Endotracheal tube tip is 5. 7 cm above the carina. No pneumothorax.
2. New right lower lobe airspace opacity and increase in left lower lobe airspace opacity, possibly on the basis
of pulmonary edema. Loss of left hemidiaphragm may be related to pleural effusion or atelectasis. Could
consider mucous plugging in this intubated patient as a cause of atelectasis.

INDICATION: 37 years old; Male. Symptom/Location/D.Jration: Intubated patient

TECHNIQUE: AP chest radiograph. Comparison: 10/9/2016 portable chest x-ray, 10/8/2016 portable chest x-
ray.

FINDINGS:
LUNGS: New development of patchy opacities in the right lower lobe. Increased left mid and lower lung
opacities. Loss of the left hemidiaphragm, which may be related to pleural effusion or atelectasis of the left
lower lobe.
CARDIOVASCULAR: Heart size is within normal limits.
MEDIASTINUM: No adenopathy.
MSK: No acute displaced fracture.
OTHER: NG tube coursing beneath the hemidiaphragm. The tip is not visualized. Endotracheal tube is in
place with the tip 5 7 cm above the carina.
This study was reviewed with the attending radiologist, Dr. Laryssa Hud, MD, who was in agreement.


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           <Electronically signed by LARYSSA M HUD, MD in OV>                                          e-Sign Pager: 610-221-9217


Interpreting: HONARMAND, AMIR R MD Dictated: 10/10/161529                          Signoff: 10/10/161705




                 PATIENT IMAGES or REPORTS: (610) 237-4358                              SCHEDULING: (610) 237-2525
              Case 2:18-cv-00924-PD                       Document 15-11                      Filed 05/03/18               Page 130 of 160



Mercy Fitzgerald Hos pita I                          David P Maver. MD.Ms.FACR. chairman             Fraser Brown, MD           Caroline Ling, MD

Mercy Health System                                  OlegTeytelboym, MD. Radiology Director          Stanley Chan, MD           Justin Mackey, MD

Department of Radiology                              Gorard Berry, MD                                Malgorzata Goralciyk, MD   Scott Rot<mberg, MD

1500 Lansdowne Avenue                                Robert Borden. MD                               Laryssa Hud, MD            Salmi Simmons, MD
Darby, PA 19023                                      Michael Brooks, MD, JD
610-237-4358

Patient:          EFUNNUGA,OLUTOKUNBO                          Acct #:             FA 1307223089               Exam Date:       10/11/16
Med Rec#:      F001250247                                      Order #:            1011-CJCJ03                 Status:          ADMIN
Date of Birth: 03/06/1979     Gender: M                        Accession#:         972014.001                  Locaticn:        506-01
Phone #:       (000)000-0000                                   Report#:            1011-0057                   RAD#:
Ordering Physician:    MALIK,AMMAR MMD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:         10/10/16
Procedure Reason: ett

Exam: CR Chest PORTABLE

                                                 ***Signed Status***
IMPRESSION:
1. No change in pulmonary edema and left pleural effusion.
2. Endotracheal tube is in place with the tip about 6.1 cm above the carina, repositioning is recommended.

INDICATION: 37 years old; Male. Symptom/Location/Duration: Intubated patient

TECHNIQUE: AP chest radiograph. Comparison: 10/1012016, 10/9/2016 portable chest x-rays.

FINDINGS:
LUNGS: Hypoinflated lungs. No change in bilateral diffuse patchy opacities consistent with pulmonary
edema. Left pleural effusion.
CARDIOVASCULAR: Heart size is within normal limits.
MEDIASTINUM: No adenopathy.
MSK: No acute displaced fracture.
OTHER: Endotracheal tube is in place with the tip approximately 6.1 cm above the carina. NG tube coursing
beneath the hemidiaphragm, the tip is not visualized in the film.
This study was reviewed with the attending radiologist, Dr. Dr. Michael Brooks, MD, who was in agreement.


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           <Electronically signed by MICHAEL L BROOKS, MD in OV>                                              e-Slgn Pager: (610)221-9213
           Clinical Associate Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: HONARMAND, AMIR R MD Dictated: 10/11116 0952                               Signoff: 10/11/16 1022




              PATIENT IMAGES or REPORTS: (610) 237-4358                                       SCHEDULING: (610) 237-2525
              Case 2:18-cv-00924-PD                        Document 15-11                         Filed 05/03/18             Page 131 of 160



Mercy Fitzgerald Hos pita I                           David P Mayer. MD.Ms.FACR. chairman              Fraser Brown. MD           Caroline Ling, MD

Mercy Health System                                   Oleg Teytelboym. MD. Radiology DirE>ctor          Stanley Chan. MD          Justin Mackey, MD

Department of Radiology                               Gerard Berry, MD                                 Malgorzata Goralczyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                                 Robert Borden. MD                                Laryssa Hud. MD            Salmi Simmons. MD
Darby, PA 19023                                       Michael Brooks, MD, JD
610-237-4358


Patient:          EFUNNUGA,OLUTOKUNBO                           Acct #:               FA 1307223089               Exam Date:      10/11/16
Med Rec#:      F001250247                                       Order #:              1011-0126                  Status:          ADMIN
Date of Birth: 03/06/1979     Gender: M                         Accession#:           972716.001                 Locaticn:        506-01
Phone #:       (000)000-0000                                    Report#:              1012-0093                  RAD#:
Ordering Physician:    MALIK,AMMAR MMD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:         10/11/16
Procedure Reason: verify picc tip

Exam: CR Chest PORTABLE

                                                 ***Signed Status***
IMPRESSION:
1. Interval placement of a left upper extremity PICC line with its tip in the region of the cavoatrial junction

INDICATION: 37 years old; Male. Symptom/Location/Duration: Status post PICC line placement.

TECHNIQUE: AP chest radiograph. Comparison: 10/1112016

FINDINGS:
LUNGS: Mild pulmonary edema unchanged. Small bilateral pleural effusions. There is an endotracheal tube
with its tip above the carina in good position.
CARDIOVASCULAR: Heart size is within normal limits.
MEDIASTINUM: No adenopathy.
MSK: No acute displaced fracture.
OTHER: There is an NG tube with its tip located below the left hemidiaphragm. There is a left upper
extremity PICC line with its tip in the region of the cavoatrial junction.


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           <Electronically signed by JUSTINE MACKEY, MD in OV>                                                  e-Sign Pager: (610)221-9376
           Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: MACKEY, JUSTIN E MD           Dictated: 10/121161109                          Signoff: 101121161110




              PATIENT IMAGES or REPORTS: (610) 237-4358                                          SCHEDULING: (610) 237-2525
             Case 2:18-cv-00924-PD                Document 15-11                     Filed 05/03/18                Page 132 of 160



Mercy Fitzgerald Hospital                    Om;dPMayer. MD.Ms.FACR. chairman                Fraser Brown. MD           Caroline Ltng, MD

Mercy Health System                          Oleg T~elboym. MD. Radiology Director           Stanley Chan. MD           Justin Mackey, MD

Department of Radiology                      Gerard Berry, MD                                Malgorzata Goralczyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                        Robert Borden. MD                               Laryssa Hud. MD            Salmi Simmons. MD
Darby, PA 19023                              Michael Brooks. MD. JD
610-237-4358

Patient:       EFUNNUGA,OLUTOKUNBO                     Acct#:              FA1307223089                Exam Date:       10/12/16
Med Rec#:      F001250247                              Order#:             1012-0001                   Status:          ADMIN
Date of Birth: 03/06/1979    Gender: M                 Accession#:         972318.001                  Locaticn:        506-01
Phone #:       (000)000-0000                           Report #:           1012-0094                   RAD#:
Ordering Physician:    BHARGAVA,SURBHI MD
CC:                 HALSTEAD.JEFFREY E MD -
Order Date: .       10/11116
Procedure Reason: to look for infiltrates

Exam: CR Chest PORTABLE

                                         ***Signed Status***
IMPRESSION:
1. Slight worsening of pulmonary edema.

INDICATION: 37 years old; Male. Symptom/Location/Duration: Looking for infiltrate, history of drug
overdose.

TECHNIQUE: AP chest radiograph. Comparison: 10/1112016, 10/1012016 portable chest x-rays.

FINDINGS:
LUNGS: No significant change in left lower lobe airspace opacity. Increased right lower lobe airspace opacity.
Increased small right pleural effusion. No change in moderate left pleural effusion. No pneumothorax.
CARDIOVASCULAR: Heart size is within normal limits.
MEDIASTINUM: No adenopathy.
MSK: No acute displaced fracture.
OTHER: Endotracheal tube is in place with the tip 4.6 cm above the carina. NG tube coursing below the
hemidiaphragms, side-port overlying the region of the stomach, the tip is not visualized.
This study was reviewed with the attending radiologist, Dr. Laryssa Hud, MD, who was in agreement.


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           <Electronically signed by LARYSSA M HUD, MD in OV>                                         e-Sign Pager: 610-221-9217


Interpreting: HONARMAND, AMIR R MD Dictated: 10/12/16 0926                      Sign off: 10/12/16 1111




             PATIENT IMAGES or REPORTS: (610) 237-4358                               SCHEDULING: (610) 237-2525
               Case 2:18-cv-00924-PD                       Document 15-11                        Filed 05/03/18               Page 133 of 160



Mercy Fitzgerald Hospital                            Da\id P Mayer. MD.Ms.FACR. chairman              Fraser Brown, MD           Caroline Ling, MD

Mercy Health System                                  Oleg T0'ytelboym, MD. Radiology Director         Stanley Chan, MD           Justin Mackey, MD

Department of Radiology                              Gerard Berry, MD                                 Malgorzata Goralczyk, MD   Scott Roten berg, MD

1500 Lansdowne Avenue                                Robert Borden, MD                                Laryssa Hud, MD            Salmi Simmons. MD

Darby, PA 19023                                      Michael Brooks, MD. JO
610-237-4358

Patient:          EFUNNUGA,OLUTOKUNBO                          Acct#:                FA 1307223089              Exam Date:       10/13/16
Med Rec #:      FOO 1250247                                    Order #:              1013-0001                  Status:          ADM IN
Date of Birth: 03/06/1979     Gender: M                        Accession#:           973344.001                 LocatiCl'l:      506-01
Phone#:        (000)000-0000                                   Report#:              1013-0072                  RAD#:
Ordering Physician:    MALIK,AMMAR MMD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:         10/12116
Procedure Reason: ETT placement verification

Exam: CR Chest PORTABLE

                                                 ***Signed Status***
IMPRESSION:
1. No interval change in pulmonary edema.
2. Endotracheal tube is in place with the tip 6.45 cm above the carina.

INDICATION: 37 years old; Male. Symptom/Location/Duration: Endotracheal tube placement verification.

TECHNIQUE: AP chest radiograph. Comparison: 10/1212016, 10/11/2016 portable chest x-rays.

FINDINGS:
LUNGS: No interval change in diffuse vascular markings and airspace opacities. Left lower lobe
consolidation not excluded. Small bilateral pleural effusion. No mass, consolidation, or pneumothorax.
CARDIOVASCULAR: Heart size is within normal limits.
MEDIASTINUM: No adenopathy.
MSK: No acute displaced fracture.
OTHER: Endotracheal tube is in place with the tip approximately 6.45 cm above the carina. NG tube coursing
below the hemidiaphragm, the tip is not visualized.
This study was reviewed with the attending radiologist, Dr. Dr. Michael Brooks, MD, who was in agreement


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           <Electronically signed by MICHAEL L BROOKS, MD in OV>                                               e-Slgn Pager: (610)221-9213
           Clinical Associate Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: HONARMAND, AMIR R MD Dictated: 10113/16 1008                                 Signoff: 10/13/161057




              PATIENT IMAGES or REPORTS: (610) 237-4358                                         SCHEDULING: (610) 237-2525
               Case 2:18-cv-00924-PD                       Document 15-11                        Filed 05/03/18               Page 134 of 160



Mercy Fitzgerald Hos pita I                           David P Mayer. MD.Ms.FACR. chairman             Fraser Brown. MD            Caroline Ling, MD

Mercy Health System                                   Oleg Teytelboym. MD. Radiology Director         Stanley Chan. MD            Justin Mackey, MD

Department of Radiology                               Gerard Bony, MD                                 Malgorzata Goralc:zyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                                 Robert Borden. MD                               Laryssa Hud. MD             Salmi Simmons. MD
Darby, PA 19023                                       Michael Brooks. MD. JD

610-237-4358

Patient:          EFUNNUGA,OLUTOKUNBO                           Acct #:              FA 1307223089              Exam Date:        10/14/16
Med Rec#:       F001250247                                      Order #:             1014-0002                  status:           ADMIN
Date of Birth: 03/06/1979     Gender: M                         Accession#:          974019.001                 Locaticn:         506-01
Phone #:       (000)000-0000                                    Report#:             1014-0077                  RAD#:
Ordering Physician:    MALIK,AMMAR MMD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:         10/13/16
Procedure Reason: y

Exam: CR Chest PORTABLE

                                                 ***Signed Status***
IMPRESSION: Unchanged since last exam.

INDICATION: 37 years old; Male. Drug overdose.

TECHNIQUE: AP chest radiograph. Comparison: 10/1312016 chest x-ray

FINDINGS:
LUNGS: Endotracheal tube tip is 5.3 cm above carina. Mild pulmonary vascular congestion and small pleural
effusions, unchanged.
CARDIOVASCULAR: Left-sided PICC line with tip in right atrium or ventricle
MEDIASTINUM: Orogastric tube with tip below the level of the film.


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           <Electronically signed by OLEG M TEYTELBOYM, MD in OV>                                              e-Sign Pager: (610)221-0257
           Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: TEYTELBOYM, OLEG MMD                                 Dictated: 10/14/161051                      Signoff: 10/14/16 1053




              PATIENT IMAGES or REPORTS: (610) 237-4358                                         SCHEDULING: (610) 237-2525
               Case 2:18-cv-00924-PD                       Document 15-11                        Filed 05/03/18               Page 135 of 160



Mercy Fitzgerald Hospital                             David PMayer. MD.Ms.FACR. chairman               Fraser Brown, MD           Caroline Ling, MD

Mercy Health System                                   OlegT0'jtelboym, MD. Radiology Director          Stanley Chan, MD           Justin Mackey, MD

Department of Radiology                               Gerard Beny, MD                                  Malgorzata Goralczyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                                 Robert Borden. MD                                Laryssa Hud, MD            Salmi Simmons, MD
Darby, PA 19023                                       Michael Brooks, MD, JD
610-237-4358

Patient:          EFUNNUGA,OLUTOKUNBO                           Acct#:               FA 1307223089               Exam Date:       10/14/16
Med Rec#:      F001250247                                       Order#:              1014-0047                   Status:          ADMIN
Date of Birth: 03/06/1979    Gender: M                          Accession#:          974586.001                  Location:        506-01
Phone #:       (000)000-0000                                    Report#:             1014-0224                   RAD#:
Ordering Physician:    BHARGAVA,SURBHI MD
CC:                 HALSTEAD.JEFFREY E MD -
Order Date:         10/14/16
Procedure Reason: to r/o DVT

Exam: US Duplex Venous Study Bilat

                                                 *** Signed Status***
IMPRESSION: Ultrasound of bilateral lower extremity deep veins shom no DVT.

INDICATION: 37 years old; Male. Symptom/Location/Duration: HIV, glaucoma, unconscious. Drug overdose.
Bilateral lower extremity swelling x10 days. Patient on ventilator.

TECHNIQUE: Ultrasound of bilateral common femoral, superficial femoral, popliteal veins and common
femoral/saphenous vein junctions with 2-D grayscale, color Doppler and pulsed Doppler techniques.
Comparison: None.

FINDINGS:
Vessels are patent. Normal compressibility and color flow throughout. Normal response to augmentation.
Normal respiratory phasicity.


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           <Electronically signed by DAVID P MAYER, MD in OV>                                                   e-Sign Pager: (888)966-9716
           Clinical Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: MAYER, DAVID P MD             Dictated: 10/14/161538                         Signoff: 10/14/16 1539




              PATIENT IMAGES or REPORTS: (610) 237-4358                                         SCHEDULING: (610) 237-2525
               Case 2:18-cv-00924-PD                       Document 15-11                       Filed 05/03/18                Page 136 of 160



Mercy Fitzgerald Hospital                            David P Mayer. MD.Ms.FACR. chairman              Fraser Brown. MD            Caroline Ling, MD

Mercy Health System                                  Oleg Teytelboym. MD. Radiology Director          Stanley Chan. MD            Justin Mackey, MD

Department of Radiology                              Gorerd Beny, MD                                  M algorzata Goralczyk, MD   Scott Rotenborg, MD

1500 Lansdowne Avenue                                Robert Borden. MD                                Laryssa Hud, MD             Salmi Simmons. MD
Darby, PA 19023                                      Michael Brooks. MD. JD

610-237-4358

Patient:          EFUNNUGA,OLUTOKUNBO                          Acct#:               FA 1307223089                Exam Date:       10/15/16
Med Rec#:      F001250247                                      Order#".             1015-0008                   Status:           ADMIN
Date of Birth: 03/06/1979     Gender: M                        Accession#:          974821.001                  Locaticri:        506-01
Phone#:        (000)000-0000                                   Report#:             1015-0052                   RAD#".
Ordering Physician:    MALIK,AMMAR MMD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:         10/14/16
Procedure Reason: ett placement confirmation

Exam: CR Chest PORTABLE

                                                 ***Signed Status***
IMPRESSION:
1. Small to moderate right and small left pleural effusions unchanged Right lower lung consolidation which
may be due to atelectasis or pneumonia and is unchanged.

INDICATION: 37 years old; Male. Symptom/Location/Duration: Endotracheal tube evaluation.

TECHNIQUE: AP chest radiograph. Comparison: 10/1412016

FINDINGS:
LUNGS: Small right pleural effusion unchanged. Right lower lung consolidation unchanged. Small left pleural
effusion unchanged. Endotracheal tube tip 6 to 7 cm above the carina unchanged.
CARDIOVASCULAR: Heart size is within normal limits.
MEDIASTINUM: No adenopathy.
MSK: No acute displaced fracture.
OTHER: There is a left upper extremity PICC line with its tip in the region of the right atrium. There is an NG
tube with its tip located below the left hemidiaphragm.


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           <Electronically signed by JUSTIN E MACKEY, MD in OV>                                                e-Sign Pager: (610)221-9376
           Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: MACKEY, JUSTIN E MD           Dictated: 10/15/16 1221                       Signoff: 10/15/16 1226




              PATIENT IMAGES or REPORTS: (610) 237-4358                                        SCHEDULING: (610) '237-2525
               Case 2:18-cv-00924-PD                      Document 15-11                        Filed 05/03/18               Page 137 of 160



Mercy Fitzgerald Hos pita I                          David P Mayer. MD.Ms.FACR. chairman              Fraser Brown, MD           caroline Ling. MD

Mercy Health System                                  Oleg Te)telboym, MD, Radiology Director          Stanley Chan, MD           Justin Mackey, MD

Department of Radiology                              Gerard Berry, MD                                 Malgorzata Goralczyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                                Robert Borden, MD                                Laryssa Hud, MD            Salmi Simmons, MD

0..-by, PA 19023                                     Michael Brooks, MD, JD

610-237-4358

Patient:          EFUNNUGA,OLUTOKUNBO                          Acct#:               FA 1307223089               Exam Date:       10/16/16
Med Rec#:      F001250247                                      Order#:              1016-0003                   Status:          ADMIN
Date of Birth: 03/06/1979    Gender: M                         Accession#:          975085.001                  Locatic:n:       506-01
Phc:ne #:      (000)000-0000                                   Report#:             1016-0068                   RAD#:
Ordering Physicim:     AHANGAR,WASEEM MD
CC:                 HALSTEAD.JEFFREY E MD -
Order Date:         10/15/16
Procedure Reason: right sided consolidation

Exam: CR Chest PORTABLE

                                                 *** Signed Status***
IMPRESSION:
1. Large loculated right pleural effusion unchanged. Consolidation throughout the right lung which may reflect
pneumonia is also unchanged.
2. Interval removal of ET and NG tubes.

INDICATION: 37 years old; Male. Symptom/Location/Duration: Right-sided consolidation for follow-up.

TECHNIQUE: AP chest radiograph. Comparison: 10/1512016

FINDINGS:
LUNGS: Large loculated right pleural effusion and right lung consolidation unchanged. Left lung is clear.
CARDIOVASCULAR: Heart size is within normal limits.
MEDIASTINUM: No adenopathy.
MSK: No acute displaced fracture.
OTHER: Interval removal of ET and NG tubes. There is a left upper extremity PICC line with its tip in the
region of the right atrium unchanged.


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           <Electronically signed by JUSTINE MACKEY, MD in OV>                                                 e-Sign Pager: (610)221-9376
           Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: MACKEY, JUSTIN E MD           Dictated: 10/16/16 1221                       Signoff: 10/16/16 1227




              PATIENT IMAGES or REPORTS: (610) 237-4358                                        SCHEDULING: (610) 237-2525
               Case 2:18-cv-00924-PD                       Document 15-11                        Filed 05/03/18               Page 138 of 160



Mercy Fitzgerald Hospital                             DavidPMayer. MD.Ms.FACR. chairman               Fraser Brown. MD           Caroline Ling, MD

Mercy Health System                                   Oleg Teytelboym, MD, Radiology Director         Stanley Chan, MD           Justin Mackey, MD

Department of Radiology                               Gerard Beny, MD                                 Malgorzata Goralczyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                                 Robert Borden, MD                               Laryssa Hud, MD            Salmi Simmons. MD
Darby, PA 19023                                       Michael Brooks, MD, JD

610-237-4358

Patient:          EFUNNUGA,OLUTOKUNBO                           Acct #:              FA 1307223089              Exam Date:       10/18116
Med Rec#:      F001250247                                       Order#:              1018-0119                  Status:          ADMIN
Date of Birth: 03/06/1979    Gender: M                          Accession#:          976512.001                 LocatiCJ'l:      506-01
Phone #:       (000)000-0000                                    Report#:             1018-0283                  RAD#:
Ordering Physician:    GOOCH,JOHN R MD
CC:                 HALSTEAD.JEFFREY E MD -
Order Date:         10/18/16
Procedure Reason: sip daubav

Exam: CR Chest PORTABLE

                                                 *** Signed Status***
IMPRESSION: Dobbhoff tube terminates in stomach. Large right loculated pleural effusion slightly increased
from prior imaging Associated right-sided opacities may reflect atelectasis, however, underlying pneumonia
is not excluded.

INDICATION: 37 years old; Male. Symptom/Location/Duration: Dobbhoff tube placement

TECHNIQUE: AP chest radiograph. Comparison: Chest radiograph performed 10/1612016

FINDINGS:
LUNGS: Large loculated right pleural effusion, mildly increased from prior imaging. No pneumothorax.
Additional opacities involve the right mid and lower lung. Left lung is grossly clear.
CARDIOVASCULAR: Heart size is within normal limits. The left upper extremity PICC likely terminates in
the right atrium, however, evaluation is suboptimal given patient obliquity.
MEDIASTINUM: No adenopathy.
MSK: No acute displaced fracture.
OTHER: A weighted feeding tube terminates in the stomach.


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           <Electronically signed by SCOTT E ROTENBERG, MD in OV>                                              e-Sign Pager: 610-221-0755
           Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: ROTENBERG, SCOTT E MD                                Dictated: 10/18/16 1634                     Sign off: 10/18/16 1636




              PATIENT IMAGES or REPORTS: (610) 237-4358                                         SCHEDULING: (610) 237-2525
               Case 2:18-cv-00924-PD                      Document 15-11                     Filed 05/03/18               Page 139 of 160



Mercy Fitzgerald Hospital                            David P Mayer. MD.MS,FACR. chairman           Fraser Brown, MD           caroline Ling, MD

Mercy Health System                                  OlegT0'11elboym,MD.RadiologyDirector          Stanley Chan, MD           Justin Mackey, MD

Department of Radiology                              Gerard Berry, MD                              Malgorzata Goralczyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                                Robert Borden, MD                             Laiyssa Hud, MD            Salmi Simmons. MD

Darby, PA 19023                                      Michael Brooks, MD, JD

610-237-4358

Patient:          EFUNNUGA,OLUTOKUNBO                          Acct#:             FA 1307223089              Exam Date:       10/18/16
Med Rec#:      F001250247                                      Order#".           1018-0057                  Status:          ADMIN
Date of Birth: 03/06/1979    Gender: M                         Accession#:        976548.001                 Location:        506-01
Phone #:       (000)000-0000                                   Report#:           1018-0299                  RAD#".
Ordering Physician:    LITTMAN,MARIO, MD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:         10/18/16
Procedure Reason: EVALUATE RT PLEURAL EFFUSION FOR POSSIBLE DRAINAGE

Exam: us Chest

                                                 ***Signed Status***
IMPRESSION:
1_ Ultrasound examination showed only a small to moderate-sized loculated right pleural effusion
2. The patient could not remain still. He was somewhat combative and was coughing vigorously. Therefore
thoracentesis for this small amount of effusion was deemed unsafe at this time_ If still indicated, please
reconsult and the procedure can be performed under sedation.

Procedure: Right thoracentesis.

History: 37 years old; Male. Symptom/Location/Duration: HIV, glaucoma, unconscious. Drug overdose.
Bilateral lower extremity swelling x10 days. Patient recently extubated. Chest x-ray showed a loculated right
pleural effusion as well as consolidation. Ultrasound-guided diagnostic and therapeutic right thoracentesis has
been requested.

Comments: The procedure, risks, benefits and alternatives were explained to the patients mother (Fheree
Mobley) who expressed understanding and gave witnessed, verbal/telephone informed consent.

The patient was identified and placed in the left lateral decubitus position. The patient was noted to be
somewhat combative and coughing vigorously. Real-time ultrasound examination was performed over the
right hemithorax showing only a small to moderate-sized loculated pleural effusion. In view of the patient's
inability to hold still and the small size of the effusion, thoracentesis was not performed If still indicated, it
can be performed with sedation. Permanent ultrasound images were recorded.



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           <Electronically signed by SALMI SIMMONS, MD in OV>                                               e-Sign Pager: (610)221-0007
           Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: SIMMONS, SALMI MD            Dictated: 10/181161656                      Signoff: 10/18/16 1705




              PATIENT IMAGES or REPORTS: (610) 237-4358                                     SCHEDULING: (610) 237-2525
               Case 2:18-cv-00924-PD             Document 15-11                        Filed 05/03/18                Page 140 of 160



Mercy Fitzgerald Hospital                   David P Mayer. MD.Ms.FACR. chairman               Fraser Brown, MD           Caroline Ling, MD

Mercy Health System                         Oleg Teytelboym. MD. Radiology Director           Stanley Chan. MD           Justin Mackey, MD

Department of Radiology                     Gerard Berry, MD                                  Malgorzata Goralczyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                       Robert Borden. MD                                 Laryssa Hud. MD            Salmi Simmons. MD
Darby, PA 19023                             Michael Brooks, MD, JD

610-237-4358


Patient:        EFUNNUGA,OLUTOKUNBO                   Acct#:               FA 1307223089                Exam Date:       10/19/16
Med Rec#:      F001250247                             Order#:              1019-0018                    Status:          ADMIN
Date of Birth: 03/06/1979    Gender: M                Accession#:          976198.001                   Locatiai:        506-01
Phone #:       (000)000-0000                          Report#:             1019-0169                    RAD#:
Ordering Physician:    GOOCH,JOHN R MD
CC:                HALSTEAD.JEFFREY E MD -
Order Date:        10/18/16
Procedure Reason: abd pain, elv lft

Exam: us Liver

                                         ***Signed Status***
IMPRESSION:
1 Technically difficult, bedside study performed in a bright room. There is no sonographic evidence of
cholecystitis or gallstones.
2. A subcentimeter echodense lesion within the anterior segment of the right hepatic lobe, probably
hemangioma measuring 6 x 7 x 7 mm. This can be confirmed with routine outpatient abdominal MRI.
3. No right hydronephrosis.

INDICATION: 37 years old; Male. Symptom/Location/DJration: Abdominal pain. Elevated LFTs. HIV.

TECHNIQUE: A limited right upper quadrant ultrasound was performed at bedside with real-time 2-D
grayscale and color Doppler techniques. COMPARISON: None

FINDINGS:
Right pleural effusion is present.
LIVER: Measures 181 mm in length which is within normal limits. Overall echotexture of the liver is within
normal limits.. The liver surface is smooth without nodularity. There is a round echodense lesion in the
anterior segment of the right hepatic lobe measuring 6 x 7 x 7 mm. No bile duct dilatation.
GALLBLADDER: Wall- 2 mm (normal is 3 mm or less). No shadowing stone, sludge, or pericholecystic fluid.
The performing sonographer reported a negative sonographic Murphy's sign.
Common duct: 2 mm. No filling defect in the visualized CBD
PANCREAS: No masses are seen in the head or the body of the pancreas. Pancreatic tail not visualized ..
RIGHT KIDNEY: Measures 118 x 57 x 44 mm. No hydronephrosis.


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           <Electronically signed by ROBERT F BORDEN, DO in OV>                                        e-Sign Pager: (610)221-0286


Interpreting: BORDEN, ROBERT F DO   Dictated: 10/19/161238                       Sign off: 10/19116 1258




              PATIENT IMAGES or REPORTS: (610) 237-4358                               SCHEDULING: (610) '237-2525
               Case 2:18-cv-00924-PD                      Document 15-11                        Filed 05/03/18              Page 141 of 160



Mercy Fitzgerald Hos pita I                          David P Mayer. MD.Ms.FAcR. chairman             Fraser Brown. MD           caroline Ling, MD

Mercy Health System                                  Oleg Teytelboym, MD. Radiology Director         Stanley Chan. MD           Justin Mackey, MD

Department of Radiology                              Gerard Berry, MD                                Malgorzata Goralczyk, MO   Scott Rotenberg, MD

1500 Lansdowne Avenue                                Robert Borden. MD                               Laryssa Hud. MD            Salmi Simmons, MD
Darby, PA 19023                                      Michael Brooks. MD. JD
610-237-4358

Patient:          EFUNNUGA,OLUTOKUNBO                          Acct#:               FA 1307223089              Exam Date:       10/19/16
Med Rec#:      F001250247                                      Order#:              1019-0153                  Status:          ADMIN
Date of Birth: 03/06/1979    Gender: M                         Accession#:          977474.001                 Locaticri:       506-01
Phone#:        (000)000-0000                                   Report#:             1020-0133                  RAD#:
Ordering Physician:    PATEL,SANSKRUTI MD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:         10/19/16
Procedure Reason: dobhoff tube placement

Exam: CR Chest PORTABLE

                                                 ***Signed Status***
IMPRESSION:
1Oobbhoff tube coursing below the left hemidiaphragm and projecting along the greater curvature of the
stomach with the tip at the pyloric antrum.
2. Unchanged hazy opacities in the right mid and lower lung, likely atelectasis; however underlying
pneumonia is not excluded. Both lung apices are not excluded including the field-of-view.

INDICATION: 37 years old; Male. Symptom/Location/Duration: Dobbhoff tube placement.

TECHNIQUE: AP chest radiograph. The apices of both lungs are not included in the field-of-view.
Comparison: Multiple chest radiographs, most recent one dated 10/18/2016.

FINDINGS:
LUNGS: Large loculated right pleural effusion, similar to prior chest x-ray. Hazy opacities in the right mid and
lower lung. No pneumothorax in the visualized lung.
CARDIOVASCULAR: Heart size is within normal limits. Left upper extremity PICC line projects over the right
atrium.
MEDIASTINUM: No adenopathy.
MSK: No acute displaced fracture.
OTHER: Dobbhoff tube coursing below the left hemidiaphragm and projecting along the greater curvature of
the stomach with the tip at the pyloric antrum. This is appropriately positioned
The preliminary results of the study were discussed with intern/resident taking care of the patient in the ICU
at 10/19/2016 11 :21 PM. The study was reviewed with the attending radiologist Dr. Dr. Michael Brooks, MD,
who is in agreement. .


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           <Electronically signed by MICHAEL L BROOKS, MD in OV>                                              e-Sign Pager: (610)221-9213
           Clinical Associate Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: SCHULER!, KARL HEINZ MD                             Dictated: 10120/16 0432                     Signoff: 10120/16 1141




              PATIENT IMAGES or REPORTS: (610) 237-4358                                        SCHEDULING: (610) 237-2525
             Case 2:18-cv-00924-PD               Document 15-11                      Filed 05/03/18               Page 142 of 160



Mercy Fitzgerald Hospital                   David P Maver. MD.Ms.FACR. chairman            Fraser Brown. MD           caroline Ling, MD

Mercy Health System                         OlegTeytelboym,MD,Radioloffi/Director          Stanley Chan. MD           Justin Mackey, MD

Department of Radiology                     Gerard Berry, MD                               Malgorzata Goralczyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                       Robert Borden. MD                              Laryssa Hud, MD            Salmi Simmons. MD
Darby, PA 19023                             Michael Brooks, MD. JD
610-237-4358

Patient:       EFUNNUGA,OLUTOKUNBO                    Acct#:              FA 1307223089              Exam Date:       10/20/16
Med Rec #:      FOO 1250247                           Order #:            1020-0008                  Status:          ADMIN
Date of Birth: 03/06/1979    Gender: M                Accession#:         977911.001                 Locatiai:        50&01
Phone#:        (000)000-0000                          Report#:            1020-0305                  RAD#:
Ordering Physician:    LITTMAN,MARIO, MD
CC:                 HALSTEAD.JEFFREY E MD -
Order Date:         10/20116
Procedure Reason: RT PLEURAL EFFUSION

Exam: Drainage Proc Pere Major

                                        *** Signed Status***
Impression: Ultrasound-guided right thoracentesis yielding 2 ml of serous fluid. A small pleural effusion was
present and complete drainage is not possible due to loculation.

Procedure: Ultrasound guided right thoracentesis.

History: 37 year-old male patient with right pleural effusion

Comments: The patient was identified. The procedure, risks, benefits and alternatives were explained to the
patient who expressed understanding and signed an informed consent.

The patient was placed in the left decubitus position. Timeout verification was performed. Real-time
ultrasound examination over the right hem ithorax confirmed a small loculated pleural effusion. A permanent
ultrasound image was recorded.

Maximum sterile barrier technique including cap, mask. goon and gloves, as well as a large sterile sheath
was used. Appropriate hand hygiene was performed. The right side of the posterior chest wall was prepped
using 2% chlorhexidine for cutaneous antisepsis and draped in the usual sterile fashion.

2% lidocaine was used for local anesthesia. Under ultrasound guidance, the right pleural effusion was
accessed using an 18 gauge Yueh needle 2 m L of serous fluid were drained. Specimens were submitted for
laboratory analysis. The patient tolerated the procedure well.



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           <Electronically signed by GERARD T BERRY, MD in OV>                                      e-Sign Pager: (610) 221-5967


Interpreting: BERRY, GERARD T MD   Dictated: 10120/16 1637                     Signoff: 10/20/16 1638




            PATIENT IMAGES or REPORTS: (610) 237-4358                               SCHEDULING: (610) 237-2525
              Case 2:18-cv-00924-PD                        Document 15-11                       Filed 05/03/18             Page 143 of 160



Mercy Fitzgerald Hos pita I                           Da>id P Mayer. MD.Ms.FACR. chairman            Fraser Brown, MD           caroline Ling, MD

Mercy Health System                                   OlegTeytelboym, MD, Radiology Director         Stanley Chan, MD           Justin Mackey, MD

Department of Radiology                               Gerard Berry, MD                               Malgorzata Goralczyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                                 Robert Borden, MD                              Laryssa Hud, MD            Salmi Simmons. MD
Darby, PA 19023                                       Michael Brooks, MD, JD

610-237-4358

Patient:          EFUNNUGA,OLUTOKUNBO                           Acct#:              FA 1307223089              Exam Date:       10/20/16
Med Rec#:      F001250247                                       Order#.             1020-0034                  Status:          ADMIN
Date of Birth: 03/06/1979    Gender: M                          Accession #:        ensso.001                  Locatiai:        506-01
Phone #:       (000)000-0000                                    Report#:            1020-0317                  RAD#:
Ordering Physician:    CHOWDHURY,JUNAD MD
CC:                 HALSTEAD.JEFFREY E MD -
Order Date:         10/20/16
Procedure Reason: fevers, rule out empyema

Exam: CT Chest W

                                                 ***Signed Status***
IMPRESSION:
1. Extensive consolidation throughout bilateral lower lobes most concerning for aspiration
2. Small cavitary component in left lower lobe. Large cavitary component in superior segment of the right
lower lobe measuring up to 6.4 cm. Underlying bronchopleural fistula is not excluded. Recommend short-
term follow-up with chest CT.
3. Small to moderate loculated right effusion with underlying hydropneumothorax from recently performed
thoracentesis. The pleural effusion could be parapneumonic or could represent em pyema. Correlate with the
result of recently performed thoracentesis.

INDICATION: 37 years old; Male. Symptom/Location/Duration: Right-sided chest pain and fever, suspect
empyema. Past medical history of HIV. Patient is status post right thoracentesis performed today.

TECHNIQUE: CT CHEST; axial, coronal, sagittal, MIP reformats. Contrast IV (lsovue-370): 64 ml.
Comparison: Multiple prior chest x-rays dating back to 1017/2016, the most recent 10/19/2016.

FINDINGS:
LOWER NECK: No thyroid nodule or adenopathy.
MEDIASTINUM: Right upper paratracheal adenopathy measuring 2.2 x 1.4 cm (series 3 image 16).
PULMONARY ARTERIES: No central PE. Main PA: Normal size, 2.9 cm (normal <3 cm).
THORACIC AORTA: Normal size, 2.2 cm max diameter (normal male ascending <4 cm; descending <3 cm).
Aortic valve: No leaflet calcifications.
HEART: Coronary arteries: No calcified plaque. Left atrium: Normal size, 6 cm transverse diameter (normal
<7.3 cm). Trace pericardia! effusion. Left-sided PICC line terminates in right atrium.
LUNGS/AIRWAYS/PLEURA: Mild emphysema. Small to moderate right loculated pleural effusion with gas
within the pleural space representing hydropneumothorax from recently performed thoracentesis. Extensive
consolidation throughout bilateral lower lobes most concerning for aspiration. There is a small cavitary
component in left lower lobe measuring 2.6 cm. There is a larger cavitary component involving the superior
segment of the right lavver lobe measuring up to 6.4 cm. Few scattered nodules throughout both lungs likely
part of the same process.
UPPER ABOOMEN: No free air or ascites in visualized abdomen. Partially visualized feeding tube with the
tip below the diaphragm.
MSK: No fracture or malalignment. No lytic or blastic lesions.
This study was reviewed with the attending radiologist Dr. Justin Mackey, who is in agreement.


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           <Electronically signed by JUSTINE MACKEY, MD in OV>                                                e-Sign Pager: (610)221-9376
           Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine
              PATIENT IMAGES or REPORTS: (610) 237-4358                                        SCHEDULING: (610) 237-2525
               Case 2:18-cv-00924-PD            Document 15-11                       Filed 05/03/18               Page 144 of 160


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Mercy Fitzgerald Hospital                  David PMayer. MD.Ms.FACR. chairman              Frazier Brown, MD          Caroline Ling, MD

Mercy Health System                        01e0Teytelbovm. MD. RadioloOY Director           Stanley Chan. MD          Justin Mackey. MD

Department of Radiology                    Gerard Berry, MD                                Malgorzata Goralczyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                      Robert Borden. MD                                Laryssa Hud, MD           Salmi Simmons, MD
Dwby, PA 19023                             Michael Brooks, MD, JD

610-237-4358


Patient:        EFUNNUGA.OLUTOKUNBO                  Acct#:               FA 1307223089               Exam Date:      10/20/16
Med Rec#:      F001250247                            Ordertt.             1020-0034                  Status:          ADM IN
Date of Birth: 03/06/1979    Gender: M               Accession#:          977850.001                 Location:        506-01
Phone #:       (000)000-0000                         Report#:             1020-0317                   RAD#t.
Ordering Physician:    CHOWDHURY,JUNAD MD
CC:                 HALSTEAD.JEFFREY E MD -
Order Date:         10/20116


Interpreting: ZIAI, POUYA MD      Dictated: 10120/16 1558                      Sign off: 10120/16 1700




            PATIENT IMAGES or REPORTS: (610) 237-4358                               SCHEDULING: (610) 237-2525
               Case 2:18-cv-00924-PD                      Document 15-11                        Filed 05/03/18               Page 145 of 160



Mercy Fitzgerald Hospital                            ~d P Mayer. MD.Ms.FACR. chairman                 Fraser Brown, MD           Caroline Ling, MD

Mercy Health System                                  Oleg Teytelboym, MD, Radiology Director          Stanley Chan, MD           Justin Mackey, MD

Department of Radiology                              Gerard Berry, MD                                 Malgorzata Goralczyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                                Robert Borden, MD                                Laryssa Hud, MD            Salmi Simmons. MD
Darby, PA 19023                                      Michael Brooks, MD, JD
610-237-4358

Patient:          EFUNNUGA,OLUTOKUNBO                          Acct#:               FA 1307223089               Exam Date:       10/21/16
Med Rec#:      F001250247                                      Order#:              1021-CJ044                  status:          ADM IN
Date of Birth: 03/06/1979    Gender: M                         Accession #:         978461.001                  Locaticn:        506-01
Phone #:       (000)000-0000                                   Report#:             1021-0137                   RAD#:
Ordering Physicim:     HOWLAND,AMANDA R MD
CC:                 HALSTEAD.JEFFREY E MD -
Order Date:         10/21/16
Procedure Reason: bilateral puolmonary infiltrate and right pleural effusion

Exam: CR Chest PORTABLE

                                                 *** Signed Status***
IMPRESSION: Large partially loculated right pleural effusion with dense consolidation in the right lung and
consolidative change of the left lung base.

INDICATION: 37 years old; Male. Symptom/Location/Duration: Pleural effusions and pneumonia

TECHNIQUE: AP chest radiograph. Comparison: 10/1812016 and CT chest 10/20/2016

FINDINGS:
LUNGS: Large partially loculated right pleural effusion. Described air within the pleural space on CT is not
appreciated on this x-ray. There is again consolidative change in the right lung and at the left lung base.
CARDIOVASCULAR: Heart size is within normal limits.
MEDIASTINUM: There is a feeding tube with its tip located below the left hemidiaphragm.
MSK: No acute displaced fracture.
OTHER: None.


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           <Electronically signed by FRASER H BROWN, MD in OV>                                                 e-Sign Pager: (610)221-1965
           Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: BROWN, FRASER H MD            Dictated: 10/21/16 1326                       Signoff: 10/21/16 1329




              PATIENT IMAGES or REPORTS: (610) 237-4358                                        SCHEDULING: (610) 237-2525
               Case 2:18-cv-00924-PD               Document 15-11                       Filed 05/03/18               Page 146 of 160



Mercy Fitzgerald Hospital                    Da'.id P Mayer. MD,MS.FACR. chairman             Fraser Brown, MD           Caroline Ling, MD

Mercy Health System                          Oleg Teytelboym, MD, Radiology Director          Stanley Chan, MD           Justin Mackey, MD

Department of Radiology                      Gerard Beny, MD                                  Malgo12ata Goralczyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                        Robert Borden, MD                                Laryssa Hud, MD            Salmi Simmons. MD
Darby, PA 19023                              Michael Brooks, MD, JD

610-237-4358

Patient:        EFUNNUGA,OLUTOKUNBO                    Acct #:              FA 1307223089               Exam Date:       10122/16
Med Rec#:      F001250247                              Order#:              1022-0021                   Status:          ADMIN
Date of Birth: 03/06/1979    Gender: M                 Accession#:          978935.001                  Locaticn:        506-01
Phone#:        (000)000-0000                           Report#:             1022-0088                   RAD#:
Ordering Physician:    CHOWDHURY,JUNAD MD
CC:                 HALSTEAD.JEFFREY E MD -
Order Date:         10/22/16
Procedure Reason: respiratory distress

Exam: CR Chest PORTABLE

                                         ***Signed Status***
IMPRESSION:
1_ Left-sided PICC line terminates approximately 3_5 cm within the right atrium
2. Probably moderate right pleural effusion, possible left pleural effusion, and patchy pulmonary infiltrates
bilaterally, grossly similar to the most recent previous chest x-ray. Considerations include cardiogenic
pulmonary edema, ARDS, multifocal perhaps aspiration pneumonia.

INDICATION: 37 years old; Male. Symptom/Location/D..Jration: Respiratory distress.

TECHNIQUE: AP chest radiograph. Comparison: Previous day.

FINDINGS:
LUNGS: Patchy bilateral lung infiltrates and probably moderate right pleural effusion, similar to the previous
chest x-ray. No pneumothorax. Trachea midline_
CARDIOVASCULAR: Cardiopericardial silhouette appears top normal in size_
MEDIASTINUM: Unchanged.
MSK: No acute displaced fracture.
OTHER: Left-sided PICC line terminates about 3.5 cm within the right atrium. Feeding tube extends into the
stomach, below the inferior margin of the film.


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           <Electronically signed by ROBERT F BORDEN, DO in OV>                                        e-Sign Pager: (610)221-0286


Interpreting: BORDEN, ROBERT F DO   Dictated: 101221161641                        Signoff: 10122116 1645




            PATIENT IMAGES or REPORTS: (610) 237-4358                                  SCHEDULING: (610) 237-2525
             Case 2:18-cv-00924-PD                Document 15-11                       Filed 05/03/18               Page 147 of 160



Mercy Fitzgerald Hospital                   Da\-id p Mayer. MD.MS.FACR. chairman             Fraser Brown. MD           Caroline Ling, MD

Mercy Health System                         Oleg Teytelboym. MD. Radiology Director          Stanley Chan. MD           Justin Mackey, MD

Department of Radiology                     Gerard Berry, MD                                 Malgorzata Goralczyk, MO   Scott Rotenberg, MD

1500 Lansdowne Avenue                       Robert Borden. MD                                Laryssa Hud, MD            Salmi Simmons. MD
Darby, PA 19023                             Michael Brooks. MD. JD
610-237-4358

Patient:       EFUNNUGA,OLUTOKUNBO                    Acct#:               FA 1307223089               Exam Date:       10123/16
Med Rec#:      F001250247                        Order#:                   1023-0011                   Status:          ADMIN
Date of Birth: 03/06/1979    Gender: M          Accession#:                979140.001                  Locatiai:        506-01
Phone #:       (000)000-0000                     Report #:                 1023-0063                   RAD#:
Ordering Physician:    THUMMALAPENT A,SIRISHA MD
CC:                 HALSTEAD.JEFFREY E MD~
Order Date:         10/23/16
Procedure Reason: tachypnea

Exam: CR Chest PORTABLE

                                        *** Signed Status***
IMPRESSION: No interval change in bilateral pleural effusions, right greater than left and bilateral patchy
airspace opacities, consistent with pneumonia or aspiration

INDICATION: 37 years old; Male. Symptom/Location/Duration: Tachypnea
TECHNIQUE: AP chest radiograph. Comparison: Multiple prior chest x-rays, most recently on 10/23/2016.
Chest CT on 10/20/2016.

FINDINGS:
LUNGS: There are bilateral pleural effusions, right greater than left, and patchy consolidation in the bilateral
lower lobes, similar in appearance to prior exams. There is no pneumothorax.
CARDIOVASCULAR: Heart is enlarged.
MEDIASTINUM: No adenopathy.
MSK: No acute displaced fracture.
OTHER: There is a left-sided PICC, which terminates at the superior vena cava. There is a Dobbhoff tube,
which courses extends at least to the level of the stomach.


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           <Electronically signed by CAROLINE M LING, MD in OV>                                       e-Sign Pager: 610-221-9333


Interpreting: LING, CAROLINE MMD   Dictated: 10123/16 1435                       Signoff: 10123/16 1439




             PATIENT IMAGES or REPORTS: (610) 237-4358                                SCHEDULING: (610) 237-2525
               Case 2:18-cv-00924-PD                       Document 15-11                      Filed 05/03/18               Page 148 of 160



Mercy Fitzgerald Hos pita I                          David P Mayer. MD.MS.FACR. chairman             Fraser Brown, MD           Caroline Ling, MD

Mercy Health System                                  OlegTe;1elboym, MD. Radiolo!N Director          Stanley Chan. MD           Justin Mackey, MD

Department of Radiology                              Gerard Beny, MD                                 Malgorzata Goralczyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                                Robert Borden. MD                               Laryssa Hud, MD            Salmi Simmons, MD

Darby, PA 19023                                      Michael Brooks. MD. JD

610-237-4358

Patient:          EFUNNUGA,OLUTOKUNBO                          Acct#:               FA 1307223089              Exam Date:       10/24/16
Med Rec#:      F001250247                                      Order#:              1024-0004                  Status:          ADMIN
Date of Birth: 03/06/1979    Gender: M                         Accession#:          979278.001                 Location:        506-01
Phone #:       (000)000-0000                                   Report#:             1024-0053                  RAD#:
Ordering Physician:    RAO,SANDHYA R MD
CC:                 HALSTEAD.JEFFREY E MD -
Order Date:         10/23/16
Procedure Reason: empyema

Exam: CR Chest PORTABLE

                                                 *** Signed Status***
IMPRESSION: Again seen are unchanged patchy opacities in the lungs most prominent in the lower lobes
reflecting residual pneumonia. The cavitary lesion in the right lung is better seen on the chest CT A very tiny
right-sided pneumothorax seen at the right lung apex is better seen on the chest CT.

INDICATION: 37 years old; Male. Symptom/Location/Duration: Patient with HIV and empyema and history of
right-sided thoracentesis

TECHNIQUE: AP chest radiograph. Comparison: Chest CT 10/20/2016 and a chest x-ray 10/23/2016

FINDINGS:
LUNGS: Again seen are unchanged patchy opacities in the lungs most prominent in the lower lobes reflecting
residual pneumonia. The cavitary lesion in the right lung is better seen on the chest CT. A very tiny right-
sided pneumothorax seen at the right lung apex is better seen on the chest CT.
CARDIOVASCULAR: Heart size is within normal limits.
MEDIASTINUM: There is a enteric tube identified with its distal tip projecting off the film.
MSK: No acute displaced fracture.
OTHER: None.


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           <Electronically signed by STANLEY U CHAN, MD in OV>                                                e-Sign Pager: (610)221-4559
           Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: CHAN, STANLEYU MD             Dictated: 10124/16 0935                      Signoff: 10/24/16 0940




              PATIENT IMAGES or REPORTS: (610) 237-4358                                       SCHEDULING: (610) '237-2525
               Case 2:18-cv-00924-PD                        Document 15-11                     Filed 05/03/18               Page 149 of 160



Mercy Fitzgerald Hospital                            D<Md PMaver. MD.Ms.FACR. chairman               Fraser Brown, MD           Caroline Ling, MD

Mercy Health System                                  OlegTeytelboym, MD. Radiology Director          Stanley Chan, MD           Justin Mackey, MD

Department of Radiology                               Gerard Beny, MD                                Malgorzata Goralciyk, MD   Scott Rotoenberg, MD

1500 Lansdowne Avenue                                Robert Borden. MD                               Laryssa Hud, MD            Salmi Simmons, MD
Darby, PA 19023                                       Michael Brooks, MD, JD

610-237-4358

Patient:          EFUNNUGA,OLUTOKUNBO                           Acct#:              FA 1307223089              Exam Date:       10/24/16
Med Rec#:      F001250247                                       Order#:             1024-0105                  Status:          ADMIN
Date of Birth: 03/06/1979    Gender: M                          Accession#:         979798.001                 Locatiai:        506-01
Phone #:       (000)000-0000                                    Report#:            1024-0257                  RAD#:
Ordering Physician:    MARCOE,JEFFREY P MD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:         10/24116
Procedure Reason: Post mini thoracotomy, chest tube placement

Exam: CR Chest PORTABLE

                                                 *** Signed Status***
IMPRESSION:
1. Placement of 2 right-sided chest tube with improvement in aeration of the right lung No visible
pneumothorax. Patchy opacities in the upper to mid right lung may be sequela of chest tube placement.
2. Persistent small left-sided pleural effusion.

INDICATION: 37 years old; Male. Symptom/Location/Duration: Thoracotomy and chest tube placement

TECHNIQUE: AP chest radiograph. Comparison: 10/2412016

FINDINGS:
LUNGS: There are 2 right-sided chest tubes with no visible pneumothorax. Patchy residual opacities in the
right midlung may be related to the chest tube placement. There is a small left-sided pleural effusion.
Endotracheal tube is identified 4 cm above the carina.
CARDIOVASCULAR: Heart size is within normal limits. There is a left-sided PICC line with its tip in the
superior vena cava.
MEDIASTINUM: No adenopathy. Feeding tube identified with its tip in the distal stomach
MSK: No acute displaced fracture.
OTHER: None.


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           <Electronically signed by STANLEY U CHAN, MD in OV>                                                e-Sign Pager: (610)221-4559
           Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: CHAN, STANLEYU MD             Dictated: 10/24/16 1531                      Sign off: 10/24/16 1534




              PATIENT IMAGES or REPORTS: (610) 237-4358                                       SCHEDULING: (610) 237-2525
               Case 2:18-cv-00924-PD                       Document 15-11                       Filed 05/03/18               Page 150 of 160



Mercy Fitzgerald Hospital                            0m1d P Mayer. MD.Ms.FACR. chairman               Fraser Brown, MD           Caroline Ling, MD

Mercy Health System                                  Oleg Teytelboym, MD, Radiology Director          Stanley Chan, MD           Justin Mackey, MD

Department of Radiology                              Gerard Berry, MD                                 Malgorzata Goralczyk, MD   Scott Rotoenberg, MD

1500 Lansdowne Avenue                                Robert Borden, MD                                Laryssa Hud, MD            Salmi Simmons. MD
Darby, PA 19023                                      Michael Brooks, MD, JD

610-237-4358


Patient:          EFUNNUGA,OLUTOKUNBO                          Acct#:               FA 1307223089               Exam Date:       10/25/16
Med Rec #:      FOO 1250247                     Order #:                            1025-0004                   Status:          ADMIN
Date of Birth: 03/06/1979     Gender: M         Accession#:                         979845.001                  Locatiai:        506-01
Phone #:       (000)000-0000                    Report#:                            1025-0076                   RAD#:
Ordering Physician:    IRIARTE OPORTO,BLANCA E MD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:         10/24/16
Procedure Reason: INTUBATED

Exam: CR Chest PORTABLE

                                                 ***Signed Status***
IMPRESSION:
1. No change in right-sided chest tubes Improvement in right upper lobe consolidation No gross residual
pneu mothorax.
2. Decrease without resolution left pleural effusion.
3. Endotracheal tube above the carina.

INDICATION: 37 years old; Male. Symptom/Location/Duration: Intubated.

TECHNIQUE: AP chest radiograph. Comparison: Chest x-ray dated 10/24/2016.

FINDINGS:
LUNGS: Improvement in right upper lobe consolidation and atelectasis. No change in chest tube position on
the right. No gross residual pneumothorax is seen. There is improvement without resolution of left pleural
effusion.
CARDIOVASCULAR: Heart size is within normal limits.
MEDIASTINUM: No adenopathy.
MSK: No acute displaced fracture.
OTHER: Endotracheal tube has been advanced. Its tip is now present 3.34 cm above the carina.


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           <Electronically signed by MICHAEL L BROOKS, MD in OV>                                               e-Sign Pager: (610)221-9213
           Clinical Associate Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: BROOKS, MICHAEL L MD         Dictated: 10/25/16 1050                        Signoff: 10/25/16 1051




              PATIENT IMAGES or REPORTS: (610) 237-4358                                        SCHEDULING: (610) 237-2525
               Case 2:18-cv-00924-PD                        Document 15-11                      Filed 05/03/18               Page 151 of 160



Mercy Fitzgerald Hospital                             David p Mayer. MD.Ms.FACR. chairman             Fraser Brown, MD           Caroline Ling, MD

Mercy Health System                                   OlegTeytelboym, MD, Radiology Director          Stanley Chan, MD           Justin Mackey, MD

Department of Radiology                               Gerard Berry, MD                                Malgorzata Goralczyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                                 Robert Borden. MD                               Laryssa Hud, MD            Salmi Simmons. MD
Darby, PA 19023                                      Michael Brooks, MD, JD
610-237-4358

Patient:          EFUNNUGA,OLUTOKUNBO                           Acct#:              FA1307223089                Exam Date:       10/26/16
Med Rec#:      F001250247                       Order ft.                           1026-0002                   Status:          ADM IN
Date of Birth: 03/06/1979     Gender: M         Accession#:                         980466.001                  Locaticn:        506-01
Phone #:       (610)622-4387                    Report#:                            1026-0029                   RAD#t.
Ordering Physician:    IRIARTE OPORTO,BLANCA E MD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:         10/25/16
Procedure Reason: lung infiltrates

Exam: CR Chest PORTABLE

                                                 ***Signed Status***
IMPRESSION: The endotracheal tube has been removed. There are 2 right-sided chest tubes unchanged in
position No visible pneumothorax. There are patchy opacities in both lungs which are grossly unchanged
given smaller lung volumes.

INDICATION: 37 years old; Male. Symptom/Location/Ctlration: Patient was extubated after drug overdose

TECHNIQUE: AP chest radiograph. Comparison: 10/25/2016

FINDINGS:
LUNGS: The endotracheal tube has been removed. There are 2 right-sided chest tubes unchanged in
position. No visible pneumothorax. There are patchy opacities in both lungs which are grossly unchanged
given smaller lung volumes.
CARDIOVASCULAR: Heart size is within normal limits. There is a left-sided PICC line with its tip in the
superior vena cava.
MEDIASTINUM: No adenopathy.
MSK: No acute displaced fracture.
OTHER: Enteric tube is identified with its tip projecting off the film.


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           <Electronically signed by STANLEY U CHAN, MD in OV>                                                 e-Slgn Pager: (610)221-4559
           Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: CHAN, STANLEYU MD             Dictated: 10126/16 0859                       Signoff: 10/26/16 0904




              PATIENT IMAGES or REPORTS: (610) 237-4358                                        SCHEDULING: (610) 237-2525
               Case 2:18-cv-00924-PD             Document 15-11                       Filed 05/03/18                   Page 152 of 160



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Mercy Health System                        Oleg Teytelboym, MD. Radiology Director          Stanley Chan. MD              Justin Mackey, MD

Department of Radiology                    Gerard Berry, MD                                 Malgorzata Goralczyk, MD      Scott Rot<>nberg, MD

1500 Lansdowne Avenue                      Robert Borden. MD                                Laryssa Hud. MD               Salmi Simmons. MD
Darby, PA 19023                            Michael Brooks, MD, JD

610-237-4358

Patient:        EFUNNUGA,OLUTOKUNBO                  Acct#:               FA 1307223089               Exam Date:          10/26/16
Med Rec#:      F001250247                            Order#:              1026-0071                   Status:             ADMIN
Date of Birth: 03/06/1979    Gender: M               Accession#:          981171.001                  Locatiai:           506-01
Phone#:        (610)622-4387                         Report#:             1027-0012                   RAD#:
Ordering Physician:    MANN,RUPINDER K MD
CC:                 HALSTEAD.JEFFREY E MD -
Order Date:         10/26/16
Procedure Reason: Chest tube under water seal

Exam: CR Chest PORTABLE

                                       ***Signed Status***
IMPRESSION: Stable position of 2 right-sided chest tubes. Decrease in bilateral pleural effusions. No
pneu mothorax

INDICATION: 37 years old; Male. Symptom/Location/Duration: Chest tube underwater seal. Jugular
overdose.

TECHNIQUE: AP chest radiograph. Comparison: Chest x-ray dated 10/26/2016. CT chest dated 10/20/2016.

FINDINGS:
LUNGS: 2 right-sided chest tubes are unchanged. Small bilateral pleural effusions, likely decreased. No
definite pneumothorax.
CARDIOVASCULAR: Heart size is within normal limits. Left-sided PICC line, tip overlying the right atrium,
unchanged.
MEDIASTINUM: No adenopathy.
MSK: No acute displaced fracture.
OTHER: Dobbhoff tube coursing below diaphragm, tip not visualized.


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           <Electronically signed by LARYSSA M HUD, MD in OV>                                        e-Sign Pager: 610-221-9217


Interpreting: HUD, LARYSSA MMD    Dictated: 10127/16 0835                       Signoff: 10127/16 0837




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               Case 2:18-cv-00924-PD             Document 15-11                       Filed 05/03/18                   Page 153 of 160



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Mercy Health System                        Oleg Teytelboym, MD, Radiology Director          Stanley Chan, MD              Justin Mackey, MD

Department of Radiology                    Gerard Berry, MD                                 Malgorzata Goralczyk, MD      Scott Rotenberg, MD

1500 Lansdowne Avenue                      Robert Borden, MD                                Laryssa Hud, MD               Salmi Simmons. MD
Darby, PA 19023                            Michael Brooks, MD, JD
610-237-4358


Patient:        EFUNNUGA,OLUTOKUNBO                  Acct#:               FA 1307223089               Exam Date:          10127/16
Med Rec#:      F001250247                       Order#:                   1027-0003                   Status:             ADMIN
Date of Birth: 03/06/1979     Gender: M         Accession#:               981177.001                  Location:           506-01
Phone#:        (610)622-4387                    Report#:                  1027-0065                   RAD#:
Ordering Physician:    IRIARTE OPORTO.BLANCA E MD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:         10/26/16
Procedure Reason: chest tubes

Exam: CR Chest PORTABLE

                                       *** Signed Status***
IMPRESSION: No change in 2 right-sided chest tubes. No pneumothorax. Small bilateral pleural effusions.

INDICATION: 37 years old; Male. Symptom/Location/Duration: Chest tubes. Drug overdose.

TECHNIQUE: AP chest radiograph. Comparison: Chest x-ray 10/26/2016. CT chest 10/20/2016.

FINDINGS:
LUNGS: Low lung volumes. There are 2 right-sided chest tubes, unchanged in position. There is no
pneumothorax seen. Small bilateral pleural effusions.
CARDIOVASCULAR: Heart size is within normal limits. Left-sided PICC line, tip overlying the proximal right
atrium, unchanged.
MEDIASTINUM: No adenopathy.
MSK: No acute displaced fracture.
OTHER: Dobbhoff tube coursing below the diaphragm, tip overlying the distal stomach/proximal duodenum.


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           <Electronically signed by LARYSSA M HUD, MD in OV>                                        e-Sign Pager: 610-221-9217


Interpreting: HUD, LARYSSA MMD    Dictated: 10127/16 1017                       Signoff: 10127/16 1019




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               Case 2:18-cv-00924-PD             Document 15-11                       Filed 05/03/18                    Page 154 of 160



Mercy Fitzgerald Hospital                 David PMayer. MD.Ms.FACR. chairman              Fraser Brown. MD                 Caroline Ling, MD

Mercy Health System                       Oleg Te'ytelboym. MD. Radiology Director         Stanley Chan. MD                Justin Mackey, MD

Department of Radiology                   Gerard BefTY, MD                                 M algorzata Goralc:zyk, MD      Scott Rotenberg, MD

1500 Lansdowne Avenue                     Robert Borden. MD                               Laryssa Hud. MD                  Salmi Simmons. MD

Darby, PA 19023                           Michael Brooks, MD. JD

610-237-4358

Patient:        EFUNNUGA,OLUTOKUNBO                 Acct#:                FA 1307223089               Exam Date:           10/27/16
Med Rec#:      F001250247                           Order#:               1027-0030                   Status:              ADMIN
Date of Birth: 03/06/1979    Gender: M              Accession #:          981530.001                  Locaticn:            417-02
Phone #:       (610)622-4387                        Report#:              1027-0153                   RAD#:
Ordering Physician:    REGAN,JOHN E MD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:         10/27/16
Procedure Reason: persistent tachycardia, concern for PE

Exam: CT Chest Angiography

                                       ***Signed Status***
IMPRESSION:
1. No central pulmonary em bolus Evaluation of segmental and subsegmental branches of pulmonary
arteries is limited due to suboptimal opacification of the vessels.
2. Bilateral small pleural effusions, right effusion has decreased in volume. Left effusion has mildly
increased.
3. Increasing airspace consolidations throughout the right lung. stable airspace consolidation in the left lower
lobe. Decrease in air containing cavitary component of right lung consolidation. Unchanged cavitation in the
left lower lung.
4. Following placement of 2 right-sided chest tubes there has been resolution of pneumothorax

INDICATION: 37 years old; Male. Persistent tachycardia, suspicion for pulmonary em bolus.

TECHNIQUE: CTA CHEST pulmonary artery phase; axial, coronal, sagittal, MIP, 3-D reformats. Contrast IV
(lsovue-370): 56 ml. Comparison: CT scan of the chest on October 20, 2016.

FINDINGS:
LOWER NECK: No thyroid nodule or adenopathy.
MEDIASTINUM: Enlarged right paratracheal lymph node measuring approximately 2.8 x 1.7 cm. Increased in
number nonenlarged mediastinal lymph nodes, mildly increasing in size since the prior study.
PULMONARY ARTERIES: No central pulmonary embolus Evaluation of segmental and subsegmental
branches is difficult due to heterogeneous contrast bolus. Main PA: Normal size, 2.7 cm (normal <3 cm).
THORACIC AORTA: Normal size, 2.8 cm max diameter (normal male ascending <4 cm; descending <3 cm).
Aortic valve: No leaflet calcifications.
HEART: Coronary arteries: No calcified plaque. Left atrium: Normal size, 4.5 cm transverse diameter (normal
<7.3 cm). No pericardia! effusion.
LUNGS/AIRWAYS/PLEURA: Small bilateral pleural effusions. The right pleural effusion is partially loculated
and has decreased in size since prior study. The left pleural effusion has mildly increased in volume since
prior study. The more posterior right-sided chest tube terminates in the air pockets in the right upper lobe.
This air component of right-sided consolidation has decreased in size in size since prior study. Worsening
consolidation in the right upper and right lower lobes and unchanged consolidation in the left lower lobe with
stable cavitary component.. Bronchi are normal.
UPPER ABDOMEN: No free air or ascites in visualized abdomen. Dobbhoff tube terminates in the stomach.
Left PICC line terminates in the right atrium. 2 right-sided chest tubes terminate in the right upper lung. The
more posterior tube terminates in cavitary component of the right upper lobe consolidation.
MSK: No fracture or malalignment. No lytic or blastic lesions.
Bilateral mildly enlarged axillary lymph nodes. These are likely reactive.
Small amount of air along the right-sided chest wall. Diffuse infiltration of right-sided chest wall, including
subcutaneous soft tissues is likely related to placement of chest tubes

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                                                                                                                                 Page 2 of 2
Mercy Fitzgerald Hos pita I                         Dmid P Maver. MD.MS.FACR. chairman              Frazier Brown, MD          caroline Ling, MD

Mercy Health System                                 Oleo Teytelboym, MD. RadioloOY Director         Stanley Chan. MD           Justin Mackey. MD

Department of Radiology                             Gerard Berry, MD                                Malgorzata Goralczyk, MD   Scott Rotenberg, MD

1500 Lansdowne Avenue                               Robert Borden, MD                               Laryssa Hud, MD            Salmi Simmons. MD
Darby, PA 19023                                     Michael Brooks, MD, JD

610-237-4358


Patient:         EFUNNUGA,OLUTOKUNBO                          Acct#:               FA1307223089               Exam Date:       10/27/16
Med Rec#:      F001250247                                     Ordertf::            1027-0030                  Status:          ADMIN
Date of Birth: 03/06/1979    Gender: M                        Accession #:         981530.001                 Locatiai:        417-02
Phone#:        (610)622-4387                                  Report#:             1027-0153                  RADtf::
Ordering Physician:    REGAN,JOHN E MD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:         10/27/16




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           <Electronically signed by MALGORZATA E GORALCZVK, MD in OV>                                                            e-Sign Pager:
610-221-9302
         Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: GORALC2YK, MALGORZATA E MD                         Dictated: 10/27/16 1246                     Signoff: 10127/16 1319




             PATIENT IMAGES or REPORTS: (610) 237-4358                                        SCHEDULING: (610) 237-2525
               Case 2:18-cv-00924-PD                      Document 15-11                       Filed 05/03/18                  Page 156 of 160



Mercy Fitzgerald Hos pita I                         Da\-id P Mayer. MD.Ms.FACR. chairman            Fraser Brown, MD              Caroline Ling, MD

Mercy Health System                                 Oleg Teytelboym, MD. Radiology Director         Stan Iey Ch an, MD            Justin Mackey, MD

Department of Radiology                             Gerard Berry, MD                                Malgorzata Goralczyk, MD      Scott Rotenberg, MD

1500 Lansdowne Avenue                               Robert Borden. MD                               Laiyssa Hud. MD               Salmi Simmons, MD
Darby, PA 19023                                     Michael Brooks. MD, JD

610-237-4358

Patient:         EFUNNUGA,OLUTOKUNBO                          Acct#:               FA 1307223089               Exam Date:         10/28/16
Med Rec#:      F001250247                                     Order#:              1028-0006                   Status:            ADMIN
Date of Birth: 03/06/1979    Gender: M                        Accession#:          981866.001                  Locatiai:          417-02
Phone #:       (610)622-4387                                  Report#:             1028-0209                   RAD#:
Ordering Physician:    RAO,SANDHYA R MD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:         10/27/16
Procedure Reason: pneumothorax

Exam: CR Chest Routine 2 Views

                                                ***Signed Status***
IMPRESSION:
1. Unchanged aeration of the lungs. No pneumothorax.
2. Dobbhoff tube has been discontinued. Unchanged left PICC line.

INDICATION: 37 years old; Male. Follow-up for pneumothorax.

TECHNIQUE: PA and Lateral chest radiographs. Comparison: Chest radiograph on October 27, 2016. Chest
CT on October 27, 2016.

FINDINGS:
LUNGS: Unchanged bilateral small pleural effusions. Unchanged opacities at the lung bases. No
pneu mothorax.
CARDIOVASCULAR: Heart size is within normal limits.
MEDIASTINUM: No adenopathy.
MSK: No acute displaced fracture.
OTHER: Dobbhoff tube has been discontinued. Left PICC line projects over the right atrium ..


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           <Electronically signed by MALGORZATA E GORALCZVK, MD in OV>                                                              ~Sign Pager:
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         Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: GORALCZVK, MALGORZATA E MD                         Dictated: 10128/16 1547                      Signoff: 10/28/16 1550




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               Case 2:18-cv-00924-PD                        Document 15-11                      Filed 05/03/18                  Page 157 of 160



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Mercy Health System                                   OlegTeytelboym, MD, Radiology Director         Stanley Chan. MD              Justin Mackey, MD

Department of Radiology                               Gerard Berry, MD                               Malgorzata Goralczyk, MD      Scott Rotenberg, MD

1500 Lansdowne Avenue                                Robert Borden. MD                               Laryssa Hud. MD               Salmi Simmons. MD
Darby, PA 19023                                       Michael Brooks. MD, JD
610-237-4358

Patient:          EFUNNUGA,OLUTOKUNBO                           Acct#:              FA 1307223089              Exam Date:          10/27/16
Med Rec#:      F001250247                                       Order#:             1027-0119                  Status:             ADMIN
Date of Birth: 03/06/1979    Gender: M                          Accession#:         981819.001                 Locatiai:           417-02
Phone #:       (610)622-4387                                    Report#:            1028-0210                  RAD#:
Ordering Physician:    MARCOE,JEFFREY P MD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:         10/27/16
Procedure Reason: chest tubes removed

Exam: CR Chest PORTABLE

                                                 ***Signed Status***
IMPRESSION:
1 Interval removal of 2 right-sided chest tubes. No pneumothorax.
2. Small bilateral pleural effusions, unchanged.
3. Hazy right lower lobe consolidation better seen on 10/27/2016 chest; consistent with known aspiration
pneumonia.

INDICATION: 37 years old; Male. Symptom/Location/Duration: Interval removal of chest tube. Status post
suicide attempt. Aspiration pneumonia.

TECHNIQUE: AP chest radiograph. Comparison: Multiple chest radiograph, most recent one dated 10/27/
2016. Chest CT angiography 10/27/2016

FINDINGS:
LUNGS: Interval removal of 2 right-sided chest tubes. No pneumothorax. Small bilateral pleural effusions,
unchanged. Hazy right lower lobe consolidation better seen on 10/27/2016 chest CT.
CARDIOVASCULAR: Heart size is within normal limits. Left sided PICC line with tip overlying the proximal
right atrium, unchanged
MEDIASTINUM: No adenopathy.
MSK: No acute displaced fracture.
OTHER: Dobbhoff tube coursing below the right hemidiaphragm, unchanged.
The study was reviewed with the attending radiologist Dr. Malgorzata Goralczyk, who is in agreement.


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610-221-9302
           Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: SCHULER!, KARL HEINZ MD                              Dictated: 10128/16 0936                    Signoff: 10/28/16 1551




              PATIENT IMAGES or REPORTS: (610) 237-4358                                        SCHEDULING: (610) 237-2525
                 Case 2:18-cv-00924-PD              Document 15-11                       Filed 05/03/18                  Page 158 of 160



Mercy Fitzgerald Hospital                    Om-id P Mayer. MD.Ms.FACR. chairman              Fraser Brown, MD              Ceroline Ling, MD

Mercy Health System                          Oleg Teytelboym. MD, RadioloQ\' Director         Stanley Chan, MD              Justin Mackey. MD

Department of Radiology                      Gerard Beny, MD                                  Malgorzata Goralczyk, MO      Scott Rotienberg, MD

1500 Lansdowne Avenue                        Robert Borden. MD                                Laryssa Hud, MD               Salmi Simmons. MD
Darby, PA 19023                              Michael Brooks, MD, JD

610-237-4358

Patient:           EFUNNUGA,OLUTOKUNBO                 Acct #:               FA 1307223089              Exam Date:          10/27/16
Med Rec#:          F001250247                          Order#:               1027-0001                  Status:             DISIN
Date of Birth:     03/06/1979   Gender: M              Accession#:           981114.001                 Locatiai:           411-02
Phone #:       (610)622-4387                            Report#:             1107-0264                  RAD#:
Ordering Physician:    MANN,RUPINDER K MD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:         10/26/16
Procedure Reason: Dysphagia

Exam: CR Barium Swallow W Video

                                            ***Signed Status***
IMPRESSION: Mild-moderate oral dysphagia/moderate-severe pharyngeal dysphagia with silent aspiration
with thin liquids

The attending radiologist Dr. Goralczyk and the radiology resident Dr.Schuleri concurred with the above
radiographic findings.
Fluoroscopy time : 6.3 minutes; 2 spot films taken.
Linda Sheehan, CCC-SLP

RECOM MEN DAT IONS:

1. Moist puree/nectar thick liquid diet level; no ice chips allowed.
2. strict aspiration/GER precautions with 1 :1 assist for verbal cueing to remind patient to place his head down
when swallowing all textures, alternate food with liquid and to take a single cup sip of nectar thick liquid-no
consecutive sips. Patient with short-term memory cognitive deficit.
3. Speech to follow closely to ensure diet tolerance; will see at dinner tonight.

A videofluoroscopic swallowing function study was conducted jointly by speech pathology and radiology to
determine the risk or presence of dysphagia induced aspiration, identify etiology of dysphagia symptoms, and
delineate treatment plan as indicated.

HISTORY: This 37 years-old Male LP.was referred for a video swallow study in order to further assess oral/
pharyngeal/esophageal functioning during P.O.intake related to coughing at meals per nursing and probable
vocal cord dysfunction characterized by dysphonia.
    Patient with complicated hospital course which included 8 days of intubation secondary to drug overdose,
delirium and agitation, R lung empyema status post decortication and drainage with chest tube placement
and persistent elevated WBC with recurrent elevated temperature. other previous medical history includes
HIV, glaucoma.
VIEWED PROJECTIONS: The patient was viewed in a seated upright position in the lateral and A-P planes.

SUBSTANCES: The following barium-impregnated consistencies were given: Puree, nectar thick liquid, thin
liquids, banana, cake, diced chicken salad.

RESULTS OF TESTING: The following documentation is a summary of the full report placed in Meditech 10/
27/2016.

ORAL STAGE: Mild-moderate oral dysphagia characterized by reduced bolus formation with all consistencies
with pre-swallow transfer to the pharynx, prolonged mastication with soft solids with piecemeal deglutition,
WFL-mild delay in oral transit time and oral residue.

                 PATIENT IMAGES or REPORTS: (610) 237-4358                              SCHEDULING: (610) 237-2525
               Case 2:18-cv-00924-PD                      Document 15-11                        Filed 05/03/18                 Page 159 of 160


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Mercy Fitzgerald Hospital                           David P Mayer. MD.Ms.FACR. chairman             Frazier Brown. MD             Caroline Lrng, MD

Mercy Health System                                 Oleo Teytelbovm. MD. RadioloOY Director         Stanley Chan. MD              Justin Mackey. MD

Department of Radiology                             Gerard Beny, MD                                 Malgorzata Goralczyk, MD      Scott Rotenberg, MD

1500 Lansdowne Avenue                               Robert Borden. MD                               Laryssa Hud, MD               Salmi Simmons, MD
Darby, PA 19023                                     Michael Brooks, MD, JD

610-237-4358


Patient:         EFUNNUGA,OLUTOKUNBO                          Acct#:               FA 1307223089              Exam Date:          10/27/16
Med Rec#:      F001250247                                     Ordertt.             1027-0001                  Status:             DIS IN
Date of Birth: 03/06/1979    Gender: M                        Accession#:          981114.001                 Locaticn:           411-02
Phone #:       (610)622-4387                                  Report#:             1107-0264                  RADtt.
Ordering Physician:    MANN,RUPINDER K MD
CC:                 HALSTEAD,JEFFREY E MD -
Order Date:         10/26/16

PHARYNGEAL STAGE: Moderate-severe pharyngeal dysphagia with silent aspiration x1 with thin liquid and
trace penetration x2 with nectar liquid. SWallow initiation: WFL-mild delay, reduced pharyngeal constriction,
and vallecular and pyriform sinus retention with soft solids (moderate-severe and severe) requiring a nectar
"chaser' to clear. Pre-swallow leakage to the pyriform sinus and retention in the pyriform sinus were
contributing factors of aspiration/penetration on thin and nectar liquids respectively.
    During the A-P plane suspected right vocal cord paralysis noted characterized by no adduction to median
during phonation of the right vocal fold.

ESOPHAGEAL STAGE: Screening revealed hold up with redirection of soft solid boluses with clearance
following a nectar thick liquid "chaser'.



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           <Electronically signed by MALGORZATA E GORALCZVK, MD in OV>                                                              e-Sign Pager:
610-221-9302
         Clinical Assistant Professor of Radiology, Drexel Univ. College of Medicine

Interpreting: SHEEHAN, LINDA CCC-SLP                             Dictated: 11/07/16 1447                     Slgnoff: 11/07/16 1659




             PATIENT IMAGES or REPORTS: (610) 237-4358                                        SCHEDULING: (610) 237-2525
                      Case 2:18-cv-00924-PD                    Document 15-11                     Filed 05/03/18         Page 160 of 160

                       •••                       • •
                                          Surgical/ Invasive Procedure Site Verification
                                                                                                             •                        •
        Loc6Uon of Procedure
           Operating Room            O lnterventional Radiology                       O Endoscopy Suite            O Cardiac Cath Lab          D Other
                                                           D SPU                     O Nursing Unit                              OOther _ _ __

                                                      (~ Pt.v)'                       Allergies


                 Verified correct site:   O Left                                           D Right        D Bilateral            Level-----
                 Verified correct procedure as stated by atlenUfamily/guardian

                 Ve~fied .operative conAm~lg~
        RN/Technlcian S1gnature                                                      ""                 Any discrepancy   eall physician
        Verification #2                                         Site Verification and Marking
                                                               Holding Area/Pre-Procedure Area
        D a t e - - - - - - - - Time - - - - - - - -
             Verified correct patient
                 Verified correct procedure
                 Verified all relevant documents are available and matched to the patient's identifiers
                 Verified operative consent accurately completed and signed
                 Verified correct diagnostic and radiology test results are available and properly labeled
                 Proceduralist marked: Site                       D Left              D No Laterality     D Right      D Bilateral Level _ __
                 Verfied blood products, equipment/implants or special equipment are available, labeled and matched to
                 patient's Identifiers appropriate
        RN/Technician Signature                                                                         Any discrepancy call physician

        Verification #2
                                                         Final Verification {Patient Is on procedure table)
        Date                           Time "Final Time Out•
                 Attending Procedurallst verified correct paUent
                 Procedure consent Ts accurate and signed            •
                 Correct side and site marking visible after draping and confirmed
                 All in agreement of procedure to be done
                 Correct patient positioning
                 Radiographic images and results are properly labeled and displayed as appropriate
                 Antibiotic administered prior to incision as appropriate
                 Fluids for irrigation available If appropriate
   .;
                 Safety precautions addressed as appropriate (allergies /implants)
                 SequenUal device present as appropriate
                 Surgical/Procedure Team Conflnns ·"Does anyone have any questions or concerns before
                 proceeding?• •is everyone In agreement?•                                                                    -

        Signature RN Technician                                                           AddiUonal procedure ''Time Out" if applicable
V Mercy Fitzgerald Hospital
  A member Q( Metcy Heallll system                                                        EPUNNUGA, OLUTOKUNBO
                                                                                          DOB: 03/06/1979           37Y          M
                                                                                          Adm: 10/7/2016
SURGICAL/INVASIVE PROCEDURE SITE VERIFICATION
                                                                                          Ace: FA1307223089              MRI: F001250247



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